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                       No. 2023-1880




CODA DEVELOPMENT S.R.O., CODA INNOVATIONS S.R.O.,
             FRANTISEK HRABAL,
                                              Plaintiffs-Appellants,
                               v.
         GOODYEAR TIRE & RUBBER COMPANY,
                ROBERT BENEDICT,
                                              Defendants-Appellees.


            On Appeal from the U.S. District Court
                for the Northern District of Ohio
          No. 5:15-cv-01572 | The Honorable Sara Lioi


CORRECTED OPENING BRIEF OF PLAINTIFFS-APPELLANTS


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                LANGUAGE OF THE PATENT CLAIM AT ISSUE

Claim 1 of US Patent No. 8,042,586:

1. A self-inflating tire assembly comprising:

[a] a rim having a tire mounting surface extending between first and second rim

flanges;

[b] a tire mounted to the rim tire mounting surface, the tire having a tire cavity,

first and second sidewalls extending respectively from first and second tire bead

regions to a tire tread region;

[c] the first sidewall having at least one bending region operatively bending within

a rolling tire footprint responsive to a bending strain, whereby the bending region

in a bending condition within said rolling tire footprint having a bending strain

neutral axis, a compression side of the neutral zone, and an elongation side of the

neutral zone;

[d] a sidewall groove positioned within the compression side of the neutral axis of

the one said bending region of the first tire sidewall;

[e] an air tube positioned within the sidewall groove in contacting engagement

with opposite groove Surfaces at least partially surrounding the air tube, the

sidewall groove operatively bending within the bending region responsive to the

bending strain within the rolling tire footprint to compress the air tube from an
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expanded diameter to a flat diameter adjacent the rolling tire foot print, whereby

forcing evacuated air from a flattened air tube segment along the air passageway.
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-1880
   Short Case Caption Coda Development s.r.o v. Goodyear Tire & Rubber Co.
   Filing Party/Entity Coda Development s.r.o, Coda Innovations s.r.o & Frantisek Hrabal



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        10/18_____
              /2023_______                  Signature:    /s/ Boyd Cloern
  Date: _____

                                            Name:         Boyd Cloern
               Case: 23-1880          Document: 15      Page: 5       Filed: 10/18/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




Coda Development s.r.o

Coda Innovations s.r.o

Frantisek Hrabal




                                  ‫܆‬      Additional pages attached
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FORM 9. Certificate of Interest                                                               Form 9 (p. 3)
                                                                                               March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                   ‫܆‬
                                                ✔           Additional pages attached
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 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No           ✔
                                                                  ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
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 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                   ‫܆‬           Additional pages attached
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Answer to Question 4 (Form 9). Legal Representatives (Continued)

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                                 RELATED CASES

      This Court resolved an earlier appeal in this action, reversing the dismissal of

the complaint. Coda Development s.r.o. v. Goodyear Tire & Rubber Co., No. 18-

1028, 916 F.3d 1350 (Fed. Cir. 2019) (Prost, C.J., joined by Wallach & Hughes, JJ.).

No other appeal in this action has been before this Court or any other court.

      Counsel is unaware of any pending case in this or any other tribunal that will

directly affect or be directly affected by this Court’s decision in this appeal.

                                  JURISDICTION

      The district court had jurisdiction because this case includes a patent claim.

28 U.S.C. §§ 1331, 1338. The court had supplemental jurisdiction over Plaintiffs’

Ohio-law trade secret claim because it formed part of the same case or controversy.

Id. § 1367(a). Additionally, the court had jurisdiction over all claims because the

parties are completely diverse and the amount in controversy exceeds $75,000. Id.

§ 1332(a).

      This Court has appellate jurisdiction because this is an appeal from a final

decision of a district court in an action arising under federal patent law. See id.

§ 1295(a)(1). The district court entered judgment on March 31, 2023, and Plaintiffs

filed a timely notice of appeal on April 28, 2023. Appx1, Appx18818-18819. This

appeal is from a final judgment that disposes of all parties’ claims. Appx1.




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                                 INTRODUCTION

      This case came on for trial after seven years of litigation, including a prior

appeal in which this Court reversed the district judge’s dismissal of the complaint.

Following a two-week trial, the jury returned a special verdict finding that Plaintiffs

(“Coda”) had established that seven asserted trade secrets were valid and that

Defendants (“Goodyear”) had maliciously misappropriated five of them, in violation

of the Ohio Uniform Trade Secrets Act (OUTSA). The jury awarded $2.8 million

in compensatory damages and $61.2 million in punitive damages—though the

district court had erroneously refused to allow the jury to consider Coda’s reasonable

royalty theory of damages, which would have supported a far higher compensatory

damages figure.

      The district judge then threw out the jury’s verdict and entered judgment for

Goodyear under Federal Rule of Civil Procedure 50(b). Despite having instructed

the jury on the standard for definiteness in trade secret cases, the judge decided that

definiteness is actually a question of law for the judge alone, applied de novo review,

and set aside the verdict, acknowledging that she was giving the jury’s verdict no

deference whatsoever. The judge went on to rule against Coda on equitable issues

including correction of inventorship and injunctive relief, again acknowledging that

the jury saw the facts in a very different light and that she was giving its findings no

weight.



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      This Court should again reverse the district court, remanding for a new

damages trial at which Coda could seek a reasonable royalty. To preserve the

appearance of justice, any remand should be to a new district judge.

                         STATEMENT OF THE ISSUES

      1.     Did the district court err in rejecting the jury’s finding that five asserted

trade secrets were valid and had been misappropriated?

      2.     Did the district court err in refusing to allow Coda to present its

reasonable royalty theory of damages to the jury?

      3.     Did the district court err in rejecting Coda’s equitable claims for

injunctive relief and correction of inventorship?

      4.     Did the district court err in suggesting that laches barred Coda’s claims?

      5.     Should this case be reassigned to a new judge on remand?

                           STATEMENT OF THE CASE

      A.     Factual background

      The jury found that Goodyear maliciously misappropriated five Coda trade

secrets. Appx17996-18002. The trial evidence must be construed “in the light most

favorable to the verdict.” Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754,

770 (2011); see also Patrick v. Burget, 486 U.S. 94, 98 n.3 (1988); Potti v. Duramed

Pharmaceuticals, Inc., 938 F.2d 641, 645 (6th Cir. 1991).




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      This case concerns Goodyear’s theft of Coda trade secrets about how to make

self-inflating tires. Self-inflating tire technology involves embedding a peristaltic

pump in a tire. Peristaltic pumps operate by gradually compressing a tube to force

a fluid through the tube. Appx15453. For instance, peristaltic pumps are commonly

used to pump fluids from an intravenous bag. Appx15458. These pumps operate

using a set of rollers that pinch the tube, then roll the pinch down a portion of the

length of the tube, thereby pushing fluid in front of the pinch and pulling fluid behind

it. In the illustration below, there are three rollers and a tube filled with blue liquid.

The rollers move counter-clockwise, causing the fluid to be pulled from the bottom

opening on the bottom and pushed through the top opening.




Appx1613.

      Self-inflating tires employ this same principle, except that the “pinch” comes

from the compression of the tire under load and the movement of the pinch is caused




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by the tire’s rotation. Appx15456-15459. This pinching force can be used to push

air into the tire and keep it properly inflated. Id.




Appx21583.

       Plaintiff František Hrabal is an engineer from Prague who spent years

developing a novel self-inflating tire technology. Appx15450, Appx15468-15469,

Appx15501-15526. In 2007, Hrabal finally succeeded in inventing the world’s first

true self-inflating tire, which could autonomously maintain air pressure through an

integrated system driven by the tire’s rotation. Appx15462-15463. He was not the

first to attempt this—only the first to succeed. Appx15459, Appx15462-15463.

Goodyear itself had tried to develop a self-inflating tire, but it was a disastrous

failure, and Goodyear abandoned its attempts. Appx15976, Appx16930-16931.

       General Motors learned of Hrabal’s invention in 2008 and encouraged

Goodyear to meet with him to explore commercializing his technology.

Appx15527-15528. Before meeting, Goodyear and Coda executed a Goodyear-



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drafted non-disclosure agreement in which they promised not to “use the

Confidential Information except for discussing a possible cooperation in the field of

self inflating tires.” Appx15530-15533, Appx23508.

      Coda and Goodyear representatives first met in January 2009. Appx15533-

15535.   The Goodyear representatives, including Defendant Robert Benedict,

expressed skepticism about the feasibility of Hrabal’s invention, but Hrabal

addressed their concerns. Appx15536-15539.

      In June 2009, Goodyear engineers traveled to Prague to “pick [Coda’s]

brains,” collect more information, and examine Hrabal’s functional prototype.

Appx15585-15588, Appx21188, Appx23790. Coda shared confidential information

including the placement of the pump tube on the tire, the design of the pressure

management system, the efficiency of the leakage compensation, and the interface

(i.e., air passage) between the outside and interior of the tire. Appx15588-15591,

Appx15595-15599. The Goodyear team was so enamored of the prototype that they

requested time alone with it—and used that opportunity to take unauthorized photos

of it. Appx16046-16047, Appx15731, Appx21287.

      In November 2009, having heard nothing further from Goodyear, Hrabal

emailed Benedict to ask for another meeting.         Appx15674-15675.        Benedict

responded that a “meeting would be premature at this point.”            Appx15676,

Appx21222. The following month, however, Goodyear applied for the first of



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numerous patents on self-inflating tires, falsely claiming that Coda’s trade secrets

were actually Goodyear inventions. Appx15470-15472, Appx64-83. Benedict was

listed as the named inventor. Appx15472. With its wrongfully obtained patent,

Goodyear achieved a virtual monopoly in the field while pushing Coda out of the

market. Appx15694-15695, Appx15707-15710, Appx16214-16215. This litigation

followed.

      B.     Procedural history

      Goodyear moved to dismiss the complaint, and Judge Lioi granted the motion.

Appx1082-1109. She based her decision on (a) the asserted trade secrets’ supposed

similarity with prior art that Goodyear had introduced for the first time in its motion-

to-dismiss reply brief; (b) abrogated case law that limited correction-of-inventorship

claims to cases of inadvertent (rather than intentional) error; and (c) a statute-of-

limitations theory of the judge’s own creation. Id. Judge Lioi also denied Coda’s

motion for leave to strike the prior art attached to Goodyear’s reply or file a brief

addressing it; Coda’s motion for leave to file an amended complaint; and Coda’s

motion for reconsideration.       Appx1082-1109, Appx1769-1783.            Judge Lioi

acknowledged that Coda’s proposed amended complaint set forth its claims with

“amazing clarity,” but she treated this as a ground to deny amendment, accusing

Coda of “gamesmanship” because, in her view, factual details in the proposed

amended complaint should have been included in the original complaint. Appx1780.



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      Coda appealed, and this Court reversed on every point. See 916 F.3d at 1362.

This Court explained that Judge Lioi erred by issuing a ruling based on prior art

“without converting Defendants’ motion into one for summary judgment and

without giving Plaintiffs a reasonable opportunity to present all pertinent material”;

by basing her ruling on “an inference adverse to Plaintiffs when there were other

reasonable inferences to draw in their favor”; and by dismissing the trade secret

claim based on “a different theory” than Goodyear had advanced—“one to which

Plaintiffs never had an opportunity to respond.” Id. at 1360-61 & n.7. In short, “the

original complaint sufficiently stated the claims on appeal.” Id. at 1362.

      As for Judge Lioi’s denial of leave to amend, this Court noted that “leave to

amend should be freely given” and added: “We find this [denial of leave] troubling,

particularly given the previously described errors.” Id. This Court remanded the

case to Judge Lioi.

      During discovery, Goodyear complained that Coda’s descriptions of its trade

secrets were not concrete enough. Appx2313-2317. Judge Lioi ordered Coda to

“supply a ‘closed’ response to [the interrogatories], supplying sufficient specificity

and description to permit defendants to know what discovery will be relevant and

what specific claims of trade secret misappropriation they must defend against.”

Appx2343-2350. Coda did so. Appx6445-6646.




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      At trial, Judge Lioi instructed the jury on what Coda had to show to establish

valid trade secrets, including Coda’s burden to identify sufficiently definite trade

secrets (Appx17873-17884), to show that the secrets were not generally known or

readily ascertainable (Appx17874-17875), and to establish that Goodyear

misappropriated the secrets (Appx17876-17877). She directed the jury to fill out a

special verdict form that required it to apply these liability requirements separately

to each trade secret. Appx17997-17998. However, she rejected Coda’s request that

she instruct the jury on the “reasonable royalty” method for calculating

compensatory damages. Appx17854-17855.

      The jury found that Coda had carried its burden to establish that seven of the

asserted trade secrets were indeed valid, protected trade secrets, and that Goodyear

had misappropriated five of these—the ones designated as Trade Secrets 7, 11, 20,

23, and 24.    Appx17997-17998.       After being instructed on punitive damages

(Appx17886), the jury also found that Coda had proved by clear and convincing

evidence that Goodyear acted with actual malice. Appx18001. The jury awarded

$2.8 million in compensatory damages and $61.2 million in punitive damages.

Appx18000-18001.

      Next, the parties filed briefs in lieu of a bench trial to address the equitable

issues remaining for decision by the court. These issues included Coda’s claim for

correction of inventorship, Coda’s request for injunctive relief, and Goodyear’s



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assertion of laches as an affirmative defense to the trade secret claim. Goodyear also

challenged the jury verdict through a motion for judgment as a matter of law under

Federal Rule of Civil Procedure 50(b).

      Judge Lioi granted Goodyear’s motion and threw out the jury verdict. Appx2-

31. She concluded that four of the five trade secrets that the jury found were

misappropriated (trade secrets 24, 7, 11, and 20) were fatally indefinite as a matter

of law and should never have been submitted to the jury in the first place. Appx11-

26. She also found that all five secrets were also invalid because they existed in the

prior art and, with respect to trade secrets 7, 11, 20, and 23, that Goodyear had never

used them. Appx18-28. Finally, she found that trade secret 23 was not “secret”

because Hrabal failed to mark the email in which he shared it with Goodyear

“Confidential.” Appx27-28.

      Judge Lioi also stated that even if she had not ruled for Goodyear on liability,

she would reduce the jury’s punitive damages award from $61.2 million to $8.4

million under Ohio law’s statutory punitive damages cap for trade secret claims.

Appx28-30. She acknowledged, however, that “if any of the trade secrets had been

definitive enough to be presented to the jury then there would have been sufficient

evidence presented to the jury to support the jury’s finding of actual malice.”

Appx28.




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      Judge Lioi issued a separate opinion resolving the equitable issues. Appx32-

63. She denied Coda’s inventorship claim and its injunction request. In a footnote,

she added that while “laches need not be addressed” because she had already ruled

for Goodyear, she “finds merit in Goodyear’s assertion of this defense” because just

under four years elapsed between when Coda learned of Goodyear’s patents on Coda

trade secrets and when Coda filed suit. Appx35. As this Court noted when it

reversed Judge Lioi’s pleading-stage dismissal of the trade secret claim on timeliness

grounds, the statute of limitations is four years. 916 F.3d at 1361.

      Coda appealed, bringing this case before this Court for the second time.

                           SUMMARY OF ARGUMENT

      1.     This Court should reinstate the jury’s finding that Goodyear

maliciously misappropriated five Coda trade secrets. The district judge threw that

verdict out, mainly based on her conclusion that the “definiteness” of a trade secret

is a question of law for the court and that, contrary to the jury’s explicit findings,

Coda’s trade secrets were indefinite. The law is clear, though, that the existence of

a trade secret is a question of fact, including the question of whether the information

in question meets the “definiteness” requirement of trade secret law. Indeed, the

Sixth Circuit has squarely held that, under OUTSA, “whether [a plaintiff] adequately

specified what information related to its products are trade secrets” is a “fact

question[].” AtriCure, Inc. v. Jian Meng, 842 F. App’x 974, 979 (6th Cir. 2021). In



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any event, the five trade secrets that the jury found were misappropriated satisfy the

definiteness requirement under any plausible standard.            Goodyear’s contrary

arguments turn on wordplay while ignoring the detailed factual record that was

before the jury. That factual record likewise supports the jury’s finding that the five

trade secrets met the other statutory requirements and that Goodyear

misappropriated them.

      2.     After reinstating the jury’s verdict on liability, this Court should

remand for a new trial on damages based on Coda’s “reasonable royalty” theory.

The district judge only permitted the jury to assess Coda’s damages based on its

evidence of the “actual loss” that it suffered. And Goodyear argued that Coda could

not establish substantial losses with the “reasonable certainty” required under the

“actual loss” case law—largely for reasons attributable to Goodyear itself, which

stole Coda’s innovations but then killed the project in the wake of Coda’s successful

prior appeal to this Court, with the result that there is no historical record of sales of

tires incorporating Coda’s trade secrets. The jury ultimately awarded $2.8 million

in compensatory damages and $61.2 million in punitive damages, making clear that

it did not believe that the $2.8 million in “actual loss” damages was adequate. Yet,

unbeknownst to the jury, OUTSA restricts punitive damages to three times

compensatory damages.




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      But OUTSA does provide an alternative solution, by expressly authorizing the

jury to award damages on a “reasonable royalty” theory in cases where the evidence

does not allow an adequate award based on the plaintiff’s actual loss or the

defendant’s wrongful profits. The reasonable royalty metric requires the jury to

estimate the value that the defendant placed on the trade secret at the time of

misappropriation, thereby placing the risk that the secret would not ultimately lead

to commercial success on the misappropriator rather than on its victim. Coda sought

to present a reasonable royalty theory, but the district judge held that the evidence

was insufficient for that theory to go to the jury. That was a serious error, for the

evidence here is more than sufficient.        Crucially, the trial evidence includes

Goodyear’s own internal analysis, which valued Goodyear’s profits from the first

five years selling self-inflating tires made with Coda’s trade secrets at some $411

million—a far more concrete figure than in other cases where courts of appeals have

upheld reasonable royalty awards. The evidence would clearly support a reasonable

royalty award far in excess of the $2.8 million that the jury awarded under an “actual

loss” theory. Coda should be permitted to seek a reasonable royalty on remand.

      3.     This Court should also remand Coda’s equitable claims for injunctive

relief and correction of inventorship. The district judge assessed the key evidence

and witnesses in a manner diametrically opposed to the findings of the jury, which

she disregarded because she had thrown out its verdict. Since the verdict must be



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reinstated, the equitable claims must be remanded for the district court to reach a

judgment consistent with the facts found by the jury.

      4.     This Court should disavow the district judge’s footnote suggestion that

Coda’s claims may be barred by Goodyear’s affirmative defense of laches. It is

undisputed that Coda filed its claims within the statute of limitations. Indeed,

Goodyear chose not to present a statute-of-limitations defense to the jury. Nor can

Goodyear overcome the strong presumption against laches where a plaintiff files suit

within the time limit set by the legislature, both because it cannot satisfy the elements

of the defense and because its own unclean hands deprive it of recourse to the

equitable defense. Additionally, the Court should make clear that the equitable

defense of laches, even if it were meritorious here, would have no possible effect on

Coda’s legal claim for damages in any event.

      5.     Finally, this Court should order that the case be reassigned to a new

judge on remand.       The district judge’s errors at the outset of this litigation

necessitated Coda’s first appeal and this Court’s reversal of the district court’s

rulings. Yet the judge continued to make serious errors in rulings against Coda and

to adhere to her previously expressed negative view of Coda and its supposed

“gamesmanship.” These errors necessitated this second appeal and require yet

another remand and further trial proceedings on damages. The Court should now




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order the case reassigned to preserve the appearance of justice and reduce the serious

risk that a third appeal and remand will be necessary.

                            STANDARD OF REVIEW

      “For nonpatent issues,” this Court “appl[ies] the law of the circuit in which

the district court sits”—here, the Sixth Circuit. Fujifilm Corp v. Benun, 605 F.3d

1366, 1370 (Fed. Cir. 2010). The Sixth Circuit applies de novo review to questions

of law, including matters of constitutional and statutory interpretation. Consumers’

Research v. FCC, 67 F.4th 773, 783 (6th Cir. 2023).

      The Sixth Circuit reviews the grant of judgment as a matter of law “de novo,

applying the same deferential standard as the district court: The motion may be

granted only if in viewing the evidence in the light most favorable to the non-moving

party, there is no genuine issue of material fact for the jury, and reasonable minds

could come to but one conclusion, in favor of the moving party.” Hurt v. Commerce

Energy, Inc., 973 F.3d 509, 522 (6th Cir. 2020) (quotation marks omitted).

      As for equitable matters tried to the district court, like the inventorship and

laches issues in this appeal, the Sixth Circuit reviews the district court’s findings of

fact for clear error, its equitable determinations for abuse of discretion, and its

conclusions of law de novo. Garza v. Everly, 59 F.4th 876, 880 (6th Cir. 2023);

Mitchell v. Rees, 651 F.3d 593, 595 (6th Cir. 2011).




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                                    ARGUMENT

I.    The district court erred in throwing out the jury’s finding that five of
      Coda’s trade secrets were valid and had been misappropriated.

      The jury found that five of Coda’s asserted trade secrets were valid trade

secrets and had been misappropriated by Goodyear. Appx17997-17998. The district

court threw out the verdict and entered judgment as a matter of law for Goodyear.

Appx2-31. Because it viewed the question of whether Coda had defined the trade

secrets with sufficient particularity as a question of law for the court, the court

acknowledged that it was giving no deference to the jury’s finding that Coda satisfied

that requirement. Appx11-26. The court proceeded to hold that four of the five trade

secrets actually had not been defined with sufficient particularity. Id. It also held,

though with little analysis, that no reasonable jury could find for Coda on certain

other elements with respect to each of the five trade secrets. Appx18-28.

      The district court erred at every step.         First, the question of whether

information constitutes a trade secret—including the question of whether the

asserted secret has been defined with sufficient particularity—is a question of fact

for the jury. Second, the five trade secrets meet that requirement under any plausible

standard, as the jury found. Third, ample evidence supported the jury’s findings on

the other elements of the claim. This Court, which reviews the district court de novo

on all these issues, should reverse and reinstate the jury’s finding of liability.




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      A.     Governing law

      Coda’s claim arises under OUTSA, which is Ohio’s version of the Uniform

Trade Secrets Act (UTSA). OUTSA’s provisions “shall be applied and construed to

effectuate their general purpose to make uniform the law with respect to their subject

among states enacting them.” Ohio Rev. Code § 1333.68. Thus, cases under other

jurisdictions’ UTSAs are highly relevant. See Avery Dennison Corp. v. Four Pillars

Enterprise Co., 45 F. App’x 479, 486 (6th Cir. 2002); Caudill Seed & Warehouse

Co. v. Jarrow Formulas, Inc., 53 F.4th 368, 381 n.2, 383-84 (6th Cir. 2022).

      The elements of an OUTSA claim are “(1) the existence of a trade secret;

(2) acquisition of the trade secret as the result of a confidential relationship or

through improper means; and (3) an unauthorized use of the trade secret.” Novus

Group, LLC v. Prudential Financial, Inc., 74 F.4th 424, 427-28 (6th Cir. 2023).

      With respect to the first element, OUTSA defines “trade secret” as

“information” that “derives independent economic value … from not being generally

known to, and not being readily ascertainable by proper means by, other persons

who can obtain economic value from its disclosure or use” and that “is the subject

of efforts that are reasonable under the circumstances to maintain its secrecy.” Ohio

Rev. Code § 1333.61(D).

      Though the statutory text includes no such requirement, courts agree that “a

trade-secrets plaintiff must ‘defin[e] the information for which protection is sought



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with sufficient definiteness to permit a court to apply the criteria for protection

described in [the statute] and to determine the fact of an appropriation.’” Caudill

Seed, 53 F.4th at 380-81 (quoting Restatement (Third) of Unfair Competition § 39

cmt. d)). “The trade secret must be defined with ‘reasonable particularity,’” which

“must be particular enough as to separate the trade secret from matters of general

knowledge in the trade or special knowledge of persons skilled in the trade.” Id. at

381 (quotation marks omitted). This requirement is variously referred to in the case

law as “definiteness,” “particularity,” “concreteness,” or “specificity.”

      B.     The “definiteness” of a trade secret is a fact question for the jury.

      The district court erred at the outset by holding that the question of whether a

trade secret has been defined with sufficient particularity is a question of law for the

judge. Appx14 (“the question of definiteness is one for the Court to make”).

      As noted above, the definiteness requirement is an aspect of the first element

of a trade secret claim, which asks whether the plaintiff has established “the

existence of a trade secret” or, put differently, whether the information in question

satisfies the law’s requirements to receive trade secret protection. And “[w]hether

information constitutes a trade secret [under OUTSA] is a question of fact.”

AtriCure, 842 F. App’x at 979 (quoting In re Review of Alternative Energy Rider

Contained in Tariffs of Ohio Edison Co., 106 N.E.3d 1, 9 (Ohio 2018)); see Caudill

Seed, 53 F.4th at 381. It follows that definiteness is a question of fact for the jury.



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      The Sixth Circuit said as much explicitly when applying OUTSA in AtriCure:

“The key disputes are whether AtriCure adequately specified what information

related to its products are trade secrets, and whether AtriCure proffered evidence

to show that [the defendant] received and used the trade secrets. These are fact

questions.” 842 F. App’x at 979 (emphases added). Thus, the determination “that

the enumerated pieces of information were sufficiently specific trade secrets” was a

“factual finding[],” just like the finding that the defendant acquired and used the

trade secrets. Id. at 979-80. And, as factual findings, the factfinder’s determinations

were entitled to deference from the court. See id. at 980-81. Since this Court follows

Sixth Circuit law on this non-patent issue, AtriCure is dispositive.

      Other precedents confirm the point. In Caudill Seed, as in this case, the jury

found the defendant liable and the defendant sought judgment as a matter of law. 53

F.4th at 377-78. The “main event” on appeal was “whether Caudill defined Trade

Secret 1 with ‘sufficient definiteness’ at trial.” Id. at 379. In addressing that

“reasonable particularity” issue (id. at 380-82), the Sixth Circuit held that “[w]hether

a particular type of information constitutes a trade secret is a question of fact.” Id.

at 381. It affirmed the jury verdict because “[s]ubstantial evidence presented at trial”

supported it on the reasonable particularity issue.       Id.   Holding that “Caudill

sufficiently defined Trade Secret 1 at trial,” the Sixth Circuit concluded: “The jury

agreed, and evidence presented at trial supports the jury’s finding.” Id. at 382



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(brackets and quotation marks omitted). The Sixth Circuit rejected the defendant’s

argument that “Caudill failed to define its trade secret properly,” because trial

testimony supported Caudill and “[t]he jury could credit this and similar testimony

to understand Trade Secret 1 as containing all of Caudill’s process, regardless of [the

defendant’s] contentions that Caudill concealed Trade Secret 1’s true definition.”

Id. Like AtriCure, Caudill Seed expressly treats definiteness as an issue of fact to

be resolved by the jury and reviewed deferentially. See also id. at 383.

      While Sixth Circuit precedent is controlling here, further confirmation comes

from this Court’s decision in Olaplex, Inc. v. L’Oréal USA, Inc., 855 F. App’x 701

(Fed. Cir. 2021). The jury there “returned a verdict for plaintiffs,” finding that

Olaplex “possessed specific, identifiable Trade Secret(s).” Id. at 703. This Court

noted that “[w]hether a trade secret exists is generally a question of fact” and

therefore reviewed the jury’s conclusion under the deferential “no reasonable jury”

standard. Id. at 705-06. Olaplex confirms that trade secret particularity at the Rule

50 stage is a jury question. See also InteliClear, LLC v. ETC Global Holdings, Inc.,

978 F.3d 653, 660 (9th Cir. 2020) (applying DTSA and California UTSA) (“We hold

that there is at least a genuine dispute as to whether InteliClear was successful in

identifying at least one trade secret with sufficient particularity. … [T]he case must

go to the jury.” (quotation marks omitted)).




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      The district court did not spell out its reasoning on whether “reasonable

particularity” is a question of fact or of law. See Appx14, Appx15301. Apparently

the court was persuaded by Goodyear’s argument that “there are at least three bases

from which to determine who decides the definiteness question, and each supports

that the Court should decide.” Appx14977. All three are wrong.

      First, Goodyear urged that Olaplex “endorsed the propriety of the court

deciding the issue.” Id. That is true but misleading: As just shown, this Court merely

endorsed the propriety of the court deciding this issue under the highly deferential

“no reasonable jury” standard that courts apply to all findings of fact by juries.

That ruling supports Coda, not Goodyear. So do the Sixth Circuit’s decisions in

AtriCure and Caudill Seed, which (unlike Olaplex) are controlling here.

      Second, Goodyear stated that the district court’s discovery rulings “requiring

a particularized, definite list of trade secrets align with trade secret law, and a trial

court decides whether a party failed to comply with its discovery orders, and may

impose sanctions for any such failure, including striking claims in whole or in part.”

Id. (citing Fed. R. Civ. P. 37(b)(2)(A) and a case about “sanction[ing] parties who

fail to comply with discovery orders”). But the district court did not strike Coda’s

claim as a discovery sanction under Rule 37(b)(2)(A), so no such ruling is before

this Court. And while a court’s discovery rulings necessarily depend on the court’s




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view of the facts, it does not follow that the court’s view of the facts prevails over

the jury’s at the post-trial stage.

       Indeed, Goodyear’s argument would leave no role for the jury in any case. A

district court may assess virtually any fact issue in the discovery context, such as by

ruling that a given claim is too factually weak to justify further costly discovery or,

as here, ordering a plaintiff to answer an interrogatory with more detail to enable the

defendant to put together its defense. There is nothing unique about trade secrets in

this regard.    A plaintiff in a simple personal injury case could be asked by

interrogatory for his account of the accident or of his injuries. And the court could

compel a more detailed response. The court could then assess compliance with its

order and sanction any violation. But none of this would turn the elements of a

negligence case into questions of law for the court to decide at trial.

       Third, Goodyear argued that patent indefiniteness is generally a question of

law. Appx14978. But the classes of intellectual property—patents, copyrights,

trademarks, and trade secrets—differ in many respects, and the definiteness

requirement in patent law does not parallel the trade secret requirement that is

sometimes called by that name (and sometimes instead called “particularity” or

“specificity”). Goodyear itself argued in the same brief that trade secret law is

“unlike patent law” in other respects. Appx14976. Certainly the tenuous analogy

to patent law cannot override the clear statements of the Sixth Circuit.



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      C.     The jury reasonably found that Goodyear misappropriated five
             Coda trade secrets.

      Considered under the appropriate “no reasonable jury” standard, the jury’s

finding that Coda adequately defined the five misappropriated trade secrets must

stand. Indeed, even if the question were a legal one for the court, the evidence at

trial satisfies the particularity requirement. As for the district court’s other grounds

for granting the Rule 50(b) motion, the court acknowledged that those grounds are

subject to the “no reasonable jury” standard. Appx18-28. Under that standard, the

court’s ruling must be reversed and the verdict reinstated.

             1.     Trade Secret 24

      The trade secret designated as Trade Secret 24 covers Hrabal’s insight that the

optimal location for a self-inflating tire’s pump is in the tire sidewall close to and

above the rim where the tire cyclically deforms in response to deformation.

Appx17881-17882. Goodyear’s strategy at trial was to conflate TS 24 with an

earlier innovation that Hrabal published and argue that TS 24 is indefinite and non-

confidential. But as Coda explained and as the jury understood, Goodyear’s word

games notwithstanding, the earlier innovation placed the pump in a distinct place in

the tire from TS 24, which represented a major (and confidential) advance.

      TS 24 places the pump in the tire sidewall close to, and above, the rim.

Hrabal’s earlier innovation, by contrast, placed the pump in a “flap” located between

the tire and the wheel rim—for instance, in a separately inserted “flap” between the


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tire and the rim or in a “lug boss” built into the tire at that same location. As the jury

found, Coda distinguished TS 24 from the “flap solution,” showing that they place

the pump in different parts of the tire.

       Goodyear’s own trial demonstrative clearly illustrates, with depictions of the

cross-section of a wheel rim and tire, the distinction between an ordinary tire (Figure

2A) and a tire with a flap (2B) or lug boss (2C) between the rest of the tire and the

rim.




Appx24873.

       As Hrabal testified, he first developed the “flap solution” that “allows you to

insert the peristaltic pump between the tire and the rim.” Appx15493. Because the

flap was placed between the tire and the rim, Hrabal explained, “this pump is being



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crushed against the rim by the tire motion” as the vehicle drives, pumping air through

the pump as in this figure. Id.




Appx21643-21644.

      Hrabal learned, however, that the flap solution was not marketable to tire

manufacturers because rims vary in ways that can hurt the pump’s performance.

Appx15496-15498. It therefore made “more sense” to offer a solution that would

not depend on the rim. Id. This new solution was a pump in the tire sidewall itself

where the tire cyclically deforms, and where it would be “pinched by … both sides

of the tire” as opposed to between the tire and the wheel rim. Appx15493-94,

Appx15498. Hrabal conducted years of research and development to find this

optimal location, which, Hrabal testified, is his TS 24. Appx15561, Appx15466-

15569, Appx15450-15451. This TS 24 location was memorialized in the following

drawing. Appx15474-15476, Appx15485-15486, Appx23674-23749.




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Appx23688. The jury was entitled to credit this testimony to understand TS 24 and

find that it was sufficiently definite. See Caudill, 53 F.4th at 382.

      Goodyear argued that TS 24 was publicly disclosed in two earlier publications

by Coda and Hrabal: a 2007 Patent Cooperation Treaty (PCT) application

(Appx23424-23468) and a 2008 article (Appx23863-23867). As Hrabal explained,

however, those publications disclosed the flap solution, not the TS 24 solution.

Appx15493-15494, Appx15498, Appx15951-15958.

      Goodyear’s case rested on its attempt to conflate the flap solution and TS 24

by taking snippets of testimony out of context.           Goodyear argued that both

innovations place the pump in the tire sidewall near and above the rim and are

therefore one and the same. But Hrabal made clear to the jury that a “lug boss” is



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not part of a conventional tire sidewall. Rather, a lug boss is an additional layer of

rubber added to the outside layer of the sidewall “so it forms the new sidewall

location between the tire and the rim.” Appx15748. Only in this sense could the lug

boss be considered “part of the tire sidewall.” Id. The flap solution, whether

implemented as a separate “ancillary” piece (as in Figure 2B of Appx24873, above)

or as a rubber “lug boss” attached to the tire (Figure 2C) was always located in

between the tire and the wheel rim and reliant on the rim to actuate the pump. As

Hrabal testified, “[w]ithout this crush against the rim, it will not seal.” Appx15953.

This was the solution that was publicly disclosed. And TS 24 is “simply a different

location.” Appx15494.

      Goodyear’s counsel tried to get Hrabal to testify that the flap solution was

“near and above the rim,” rather than “on the rim,” in an effort to conflate it with

TS 24. Despite numerous questions to that effect, however, Hrabal made clear over

and over that the flap solution required the force of the rim itself to actuate the pump,

and thus was “on the rim.” Appx15784, Appx15785 (“It’s within this structure. The

structure is sitting on the rim.”), Appx15791 (“The lug boss needs to be on the rim.

It’s needs to be on the rim. It’s between the tire and the rim, and that’s the place for

the lug boss. … The lug boss itself is on the rim, yes.”), Appx15792 (“Lug boss is

on the ri[m].”), id. (same), id. (“Lug boss is sitting on the rim.”), id. (same). The




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jury was entitled to credit this testimony and understand the distinction between the

prior art and TS 24.

      Indeed, the jury heard that Goodyear itself repeatedly distinguished between

Coda’s prior-art flap solution and the sidewall location where the pump did not rely

on the rim to actuate it (i.e., TS 24, which Goodyear and Benedict misappropriated).

Defendant Benedict’s August 2009 invention disclosure uses the tire cross-section

image below to contrast the two locations, describing the one where the pump tube

is “between tire and rim” as “prior art” and the one where the “Tube [is] closed by

compression due to tire sidewall bending,” with “No rim contact,” as “new.”

Appx20800.




Id.; see also Appx15470-15471.


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      Similarly, a 2010 memorandum by the Goodyear engineer that Benedict

assigned to study the TS 24 location distinguishes Coda’s prior-art “tube located

between the [tire] & rim” from the “brand new concept that utilizes the cyclic

deformations of a lower side wall,” noting that the old “rim crush concept is

impractical due to the lack of robustness accommodating the real world tire & rim

variations” while the new sidewall location “not only circumvents this problem but

makes the self inflating tire concept reasonably closer to practical reality.

Appx21767-21769. In other words, TS 24 was novel and valuable.

      And, as shown in the figure below, Goodyear’s application to the U.S.

Department of Energy seeking federal funding for its program likewise references

Coda’s prior-art flap solution as relying on rim crush in an effort to distinguish what

Goodyear claimed was its brand-new pump tube location—i.e., Coda’s TS 24. See

Appx21661. The application states that the concept was “innovative due to the

placement of the peristaltic pump. Prior peristaltic pump efforts (e.g. CODA [in the

2007 PCT application]) rely on the rim flange to provide a pinch point,” so

“variations [in the rim] can render the pump inoperable. … The difference between

prior art and the [Goodyear] proposal is given in Figure 3 [below]. We believe that

this innovative pump location results in a solution that is more robust.” Id.




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Id.; see also Appx15472-15473.

      The jury was entitled to credit all this evidence of how Goodyear itself

capitalized on the distinction and thus to find that TS 24 was a valid trade secret not

disclosed in the prior art.      See also Appx15492-15494, Appx16729-16730

(distinctions between TS 24 and Coda’s 2007 PCT application).

      At bottom, Goodyear’s argument turns on wordplay. It asserts that the term

“tire sidewall” can be understood broadly to encompass a lug boss and that Coda’s

prior-art publications therefore disclosed TS 24. But Coda explained that TS 24 puts

the pump tube in the sidewall of a “standard tire … as they look today,” as shown in

Figure 2A of the Goodyear demonstrative above, rather than in an added flap or lug

boss on the rim. Appx15956-15958. It is common for a given term to bear both an


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expansive meaning and a narrower one that excludes parts of the more expansive

one—like “drink” being used to refer to all beverages or only to alcoholic ones.

Goodyear’s questioning on this point was like asking a bartender, “You’re telling

me that water is not a drink?” The jury was entitled to accept Coda’s distinction

between the flap solution and TS 24. The district judge’s contrary ruling—based on

her erroneous view that trade secret definiteness is a question of law (Appx16-18)—

should be reversed.

             2.     Trade Secret 7

      Trade Secret 7 covers the “interface” in Coda’s design—that is, the passage

where the end of the peristaltic pump tube connects to the inside of the tire such that

air can enter the tire from the pump tube. Appx17879. The district judge held that

TS 7 is indefinite because Coda’s interrogatory description of the secret used so-

called “functional terms” in identifying its details.       Appx19-20.      But Hrabal

explained the secret’s specific value when he testified that Coda’s secret multi-

purpose interface allows for integration of separate functions into a single unit

(Appx15559-15561), reducing part counts for self-inflating tire products and

allowing anchoring of a regulator to combat high centrifugal forces within a tire

(Appx15591). The jury was entitled to find that TS 7 is sufficiently definite.

      Alternatively, the district court reasoned (with little elaboration) that “there is

no evidence of use or disclosure by Goodyear” of TS 7 because the testimony of



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Coda’s expert “fails to identify all ten of the claimed functions in Goodyear’s

supposedly offending patent.”         Appx21.     But, as the jury was instructed

(Appx17877), “[t]he unauthorized use need not extend to every aspect or feature of

the trade secret; use of any substantial portion of the secret is sufficient.”

Restatement (Third) of Unfair Competition § 40 cmt. c; see Caudill Seed, 53 F.4th

at 385 (“We begin by considering—and rejecting—[defendant’s] argument that

trade-secrets law requires showing acquisition of each atom of a combination trade

secret”); Mangren R&D Corp. v. National Chemical Co., 87 F.3d 937, 944 (7th Cir.

1996) (protection extends to “products that are substantially derived from the trade

secret”). The jury was entitled to credit evidence including the expert testimony that

“Goodyear patented a configuration that is essentially a concept of [TS 7’s]

concept”—a “perfect knock-off of that technology.” Appx16248-16250.1

             3.     Trade Secret 11

      Trade Secret 11 covers considerations for designing the groove of a tube-in-

groove-type self-inflating tire. Appx17879-17880. The district judge ruled that TS

11 is indefinite and, in the alternative, that “there is neither evidence of secrecy on

Hrabal’s part nor of use/disclosure by Goodyear of Hrabal’s eight-element solution


1
 In a footnote, the district judge added that Goodyear “argues in its reply brief that
TS 7 is not secret and the [sic] ‘Coda offers nothing to the contrary in its opposition.’
Presumably, Coda concedes this point.” Appx21 (citation omitted). There plainly
was no such concession. See Appx18674-18675.


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… Nor does Coda refute Goodyear’s argument that Hrabal testified that he disclosed

only one of the eight elements in TS 11 (the second one) and also admitted that this

one element was in his prototype.” Appx23; see also Appx21-23. The jury’s

contrary findings should be reinstated.

      TS 11 is definite. Appx17879-17880, Appx6469. It covers:

      Coda’s knowledge of how to design and develop self-inflating tire
      pump and groove solutions, consisting of [1] round pump tubing in an
      outward-facing groove with straight, angled interior geometry;
      [2] pump tubing with geometry that interlocks with its seat; [3] pump
      tubing with elliptical interior cross-section; [4] variant pump tube,
      groove and chamber dimensions, size and materials; [5] pump tube and
      groove design to minimize internal friction; [6] a “tubeless” pump
      solution, (i.e., a pump that may compose an integral part of tire);
      [7] cross-section designs that minimize stress on compression in order
      to improve durability; and [8] tubing with [reinforced] wall.

Id. (numbering added). Moreover, Hrabal testified at length about a key hurdle he

overcame—the problem of the pump tube “walking away.” Appx15565-15567,

Appx15590-15591, Appx15595, Appx15767.

      Goodyear used and disclosed substantial aspects of TS 11 in its patents

(Appx16763, Appx80-81, App71-75, Appx20017-20100 (disclosing “passageway”

pump, i.e., a tubeless solution)); in its Department of Energy grant application

(Appx16766-16767, Appx21664 (“an elliptical cross section was easiest to pinch”));

and in its AMT project (Appx20163, Appx20257 (Figure 5-1), Appx22193,

Appx22262 (Figure 5-2) (AMT Built-In project report showing tubeless solution)).




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      The district judge’s conclusion that “Hrabal testified that he disclosed only

one of the eight elements in TS 11 (the second one)” (Appx23) distorts the

referenced testimony, where Hrabal described “one of the examples” of what he

disclosed without suggesting that it was the only one, and ignores relevant testimony

discussing, for example, Hrabal’s disclosure of solutions to the “walking away”

problem (Appx15595, Appx15590-15591, Appx15589-15590, Appx15565-15567),

the June 2009 meeting (Appx17417), and the tubeless solution and different pump

lengths (Appx15524-15525, Appx15562-15563, Appx15593-15594, Appx15932-

15933, Appx15940-15941), as well as the fact that the jury was shown the entirety

of the trade secret (Appx25002) while Hrabal was testifying about it.               See

Appx15555, Appx15565-15566, Appx15613. Hrabal gave examples of what the

trade secret relates to and specifically mentioned that it is shown in the bullet points

on the jurors’ screens. See Appx15565-15566. Sufficient evidence supports the

jury’s verdict.

      As for secrecy, Hrabal testified about the years and resources he spent

developing the trade secrets and the efforts he took to keep them secret. Appx15501,

Appx15584, Appx15672, Appx15674. The judge dismissed this as insufficient to

“pinpoint evidentiary proof as to the secrecy of TS 11 in particular.” Appx23. But

there is no requirement that secrecy be proved through separate testimony for each

secret rather than general testimony by the inventor that he keeps his secrets



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confidential. Finally, the judge’s statement that Hrabal “admitted that this one

element was in his prototype” (Appx23) ignores that the prototype alone does not

disclose the trade secrets without the explanations that Hrabal provided to Goodyear

under their NDA.         Appx15730-15731, Appx15469-15470, Appx15465-15466,

Appx17417, Appx16249-16251, Appx15531-15532.

            4.     Trade Secret 20

      Trade Secret 20 concerns the design considerations for constructing the

overall assembly for a self-inflating tire. Appx17880-17881; Appx24 (quoting

Appx6470). The district court held that TS 20 is indefinite and that there is “no

evidence” either that Hrabal disclosed it to Goodyear or that Goodyear used it.

Appx24-26. This was error.

      TS 20 compiles aspects that were secret at the time of the 2009 meetings (such

as recirculation through the pump tube) along with non-secret aspects (such as dead

volume). One overall approach for designing a self-inflating tire is through the use

of recirculation. Another uses a non-recirculating system (i.e., a dead volume or

dead space).     Hrabal testified about both.     Appx15515-15516, Appx15560,

Appx15597. He also testified about his development and observations, valves, and

pressure   regulation.      Appx15515-15516,      Appx15528,    Appx15541-15542,

Appx15593-15594, Appx15597, Appx15835. The jury reasonably found that TS 20

is a definite trade secret. See also Appx15583.



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      Hrabal and another witness testified about the secret nature of TS 20. E.g.,

Appx15550, Appx15583. The district court reasoned that testimony “regarding

some—but not all—of the seven required elements of TS 20 … is insufficient to

prove secrecy as to the entire combination.” Appx25. The court was factually

mistaken. See Appx15541 (discussing circulation and three-way valve), Appx15597

(same), Appx15621 (identifying disclosure in Goodyear patent), Appx15671,

Appx15832, Appx16737-16738. And, legally, trade secret protection applies to a

unique combination even if none of the elements is itself secret: “Because all of a

combination trade secret’s elements may individually be publicly known, the

uniqueness of the combination is critical to establishing trade-secret protection.”

Caudill Seed, 53 F.4th at 380. Naturally, if some elements are not publicly known

(as the district court apparently acknowledged), then the combination that

encompasses them will be unique.

      Finally, Hrabal shared TS 20 with Goodyear through his explanations and

demonstrations during their visual inspection of Coda’s prototype pressure

regulating valves (Appx23659, Appx23660), which valves Goodyear disassembled

and inspected during the June 2009 meeting and to which the jury had access during

its deliberations. Appx15595-15596, Appx17413-17414. And, despite having no

“know-how” about pressure management (Appx21976-21978, Appx16761-16762),

Goodyear used both the dead space and the recirculation concepts in its patents and



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AMT project, further confirming both disclosure and use. Appx15621, Appx16762-

16763.

             5.    Trade Secret 23

      Trade Secret 23 concerns Coda’s testing of its self-inflating tire innovations

and the results of those tests. Appx17881; Appx26. Hrabal invested time and money

to build testing rigs (Appx23505), special wheels (Appx23506) to learn how tires

behave and the efficacy of his pump tubes, and a wireless sensor system

(Appx23470-23500) to gather testing data. Appx15501-15511, Appx15512-15513,

Appx15517-15520. Hrabal’s testing gave concrete confirmation of the success of

his innovation.    Appx15546-15547.       It is undisputed that TS 23 meets the

definiteness requirement. Appx26-27. But the district judge apparently agreed with

Goodyear’s arguments that no reasonable jury could find that Coda kept TS 23 secret

or that Goodyear used it. Appx27-28.

      As for secrecy, Goodyear argued that an email in which Hrabal conveyed

TS 23 to Goodyear “was not marked ‘confidential,’ which the non-disclosure

agreement between the parties required.” Appx27. But the claim at issue here is for

violation of OUTSA, not for breach of the NDA. See Thermodyn Corp. v. 3M Co.,

593 F. Supp. 2d 972, 982 (N.D. Ohio 2008) (“Trade secret is defined by law, not by

the parties to a contract.”); Appx17877. OUTSA merely requires that a trade secret

be “the subject of efforts that are reasonable under the circumstances to maintain its



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secrecy.” Ohio Rev. Code § 1333.61(D). It does not require perfect compliance

with an NDA; it does not even require that there be an NDA in the first place. The

district judge insisted that “Coda has consistently relied upon the non-disclosure

agreement and it cannot now disregard one of its key requirements.” Appx28. This

reasoning is illogical. The fact that the use of NDA provides evidentiary support for

certain elements, such as secrecy, does not imply that the failure to follow a term of

the NDA in a single instance disproves secrecy as a matter of law, regardless of the

other evidence. The jury heard all the relevant evidence and reasonably concluded

that Coda satisfied the secrecy requirement.       Appx15671-15674, Appx16727,

Appx16873, Appx16875.

      The district judge added that “it appears clear that TS 23 actually reveals no

secret at all,” because “the concept of a self-inflating tire was not new” and “TS 23

is merely a bald declaration that Coda developed such a tire that is ‘functional.’”

Appx28. This is plainly erroneous. TS 23 relates to confidential numerical testing

results showing that Coda’s self-inflating tire solutions could pump pressures

sufficient to inflate both consumer and commercial truck tires. Appx15546-15547,

Appx155844. The jury heard that prior to Coda disclosing this trade secret to

Goodyear, the industry expressed skepticism of the technical feasibility of self-

inflating tires using peristaltic pumps or that a market even existed for them.

Appx15536-15537. Indeed, a significant portion of the January 2009 meeting



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between Coda and Goodyear was dedicated to explaining the market potential for

self-inflating tires to Goodyear’s marketing team, and Goodyear’s own engineers

expressed skepticism. Appx15536-15537, Appx15539-15540. Technical proof of

the ability to inflate commercial truck tires provided reassurance for the possibility

of quickly capturing a large market share in the commercial truck tire market.

Appx15539-15540. The jury heard this evidence and concluded that TS 23 was in

fact a trade secret.

       The district judge also apparently accepted Goodyear’s argument that there

was no evidence of “use” beyond “an email … that disclosed a single test result …

that … does not even match the prototype test result in TS 23.” Appx27. But

numerous other reasonable inferences support the jury verdict. Specifically, Coda’s

testing results gave Goodyear further reason to believe in the technology—so much

so that it “[i]nitiate[d] next steps from a technology point of view” just one week

after receiving Hrabal’s test results and internally confirmed that the project was a

“GO” less than two months later, all without having conducted any testing of its

own. Appx22170-22171. Indeed, Goodyear did not even have a prototype of any

kind at this early stage of its program. Appx16075, Appx17071, Appx21192-21193.

The jury was entitled to infer that Goodyear relied heavily on Coda’s testing data.

Finally, it is irrelevant that the specific testing results described in an email and those

in TS 23 do not exactly match, because Hrabal testified that he disclosed TS 23 to



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Goodyear, and Goodyear plainly relied on Coda’s testing data. Appx15546-15547,

Appx15584.

                            *             *              *

      This Court should reinstate the verdict finding Goodyear liable for trade secret

misappropriation.

II.   The district court erred in rejecting Coda’s “reasonable royalty” theory
      of damages.

      At trial, Goodyear sought Rule 50(a) judgment as a matter of law on Coda’s

“reasonable royalty” theory of damages. Appx16802. The judge granted that aspect

of the Rule 50(a) motion from the bench. Appx17854-17855. As a result, the jury

was only allowed to award damages on an “actual loss” theory.

      This Court reviews the Rule 50(a) ruling de novo. Karam v. Sagemark

Consulting, Inc., 383 F.3d 421, 426-27 (6th Cir. 2004). “District courts should grant

judgment as a matter of law only if a complete absence of proof exists on a material

issue in the action, or if no disputed issue of fact exists on which reasonable minds

could differ.” Id. at 427 (quotation marks omitted). Here, the law clearly authorizes

reasonable royalty awards, and the evidence at trial was more than sufficient to

support such an award. This Court should remand for a new damages trial in which

Coda could ask the jury to award a reasonable royalty.




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      A. Trade secret law authorizes the award of a reasonable royalty based
         on the value of the secret to the defendant at the time it was stolen.

      The statutory text and case law make clear that a reasonable royalty award

should be available as an alternative to actual loss and defendant’s profits in cases

where those measures do not result in an equitable award. OUTSA expressly

authorizes damages based on (1) the plaintiff’s actual loss, (2) the defendant’s unjust

gain, or (3) a reasonable royalty method:

      Damages may include both the actual loss caused by misappropriation
      and the unjust enrichment caused by misappropriation that is not taken
      into account in computing actual loss. In lieu of damages measured by
      any other methods, the damages caused by misappropriation may be
      measured by imposition of liability for a reasonable royalty that is
      equitable under the circumstances considering the loss to the
      complainant, the benefit to the misappropriator, or both.

Ohio Rev. Code § 1333.63(A) (emphasis added).

      The leading case on reasonable royalty awards in trade secret cases is

University Computing Co. v. Lykes-Youngstown Corp., 504 F.2d 518 (5th Cir. 1974).

The Sixth Circuit follows University Computing, including in OUTSA cases. See,

e.g., Mid-Michigan Computer Systems, Inc. v. Marc Glassman, Inc., 416 F.3d 505,

510-12 (6th Cir. 2005); Avery Dennison Corp. v. Four Pillars Enterprise Co., 45

F. App’x 479, 486 (6th Cir. 2002).

      University Computing explains the three methods for measuring damages for

trade secret misappropriation. See 504 F.2d at 535-39. The plaintiff there could not

prove a “specific injury” (i.e., actual loss). Id. at 536. And, “[b]ecause the


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defendants failed in their marketing efforts, no actual profits exist[ed]” that could be

disgorged. Id.

      Nonetheless, the Fifth Circuit held that “the lack of actual profits does not

insulate the defendants from being obliged to pay for what they have wrongfully

obtained in the mistaken belief their theft would benefit them.”           Id.   “[T]he

defendants must bear the risk of failure [of their wrongful venture] themselves.” Id.

Therefore, “the law looks to the time at which the misappropriation occurred to

determine what the value of the misappropriated secret would be to a defendant who

believes he can utilize it to his advantage.” Id.

      This is the “reasonable royalty” approach. The Fifth Circuit drew it from an

earlier Sixth Circuit case, Egry Register Co. v. Standard Register Co., 23 F.2d 438

(6th Cir. 1928). Egry, as quoted by University Computing, explains:

      To adopt a reasonable royalty as the measure of damages is to adopt
      and interpret, as well as may be, the fiction that a license was to be
      granted at the time of beginning the infringement, and then to determine
      what the license price should have been. In effect, the court … creates
      and applies retrospectively a compulsory license. … [T]he primary
      inquiry … is what the parties would have agreed upon, if both were
      reasonably trying to reach agreement.

University Computing, 504 F.2d at 537 (quoting Egry Register, 23 F.2d at 443); see

also Mid-Michigan Computer, 416 F.3d at 510 (same).

      A “reasonable royalty” can be a lump-sum fee for a compulsory license and

need not be a “running royalty” applied to actual sales: “While in certain cases the



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reasonable royalty would be a percentage of profits on actual sales,” courts reject

“the view that this need be the measure in all cases.” University Computing, 504

F.2d at 540.

      Following University Computing, the Sixth Circuit’s rule for OUTSA cases is

that, “because the precise value of a trade secret may be difficult to determine, ‘the

proper measure is to calculate what the parties would have agreed to as a fair price

for licensing the defendant to put the trade secret to the use the defendant intended

at the time the misappropriation took place.’” Mid-Michigan Computer, 416 F.3d at

510-11 (quoting University Computing, 504 F.2d at 539); see Avery Dennison, 45

F. App’x at 486 (same).

      The reasonable royalty measure exists for cases—like this one—where

recovering adequate damages under an “actual loss” theory is difficult or impossible.

In this case, Coda’s “actual loss” theory was based on the profits that it would have

made on tires that would have been manufactured and sold if not for Goodyear’s

misappropriation. But Goodyear argued that, since there had not in fact been any

sales, Coda’s projected sales figures were unduly speculative and Coda could not

establish its losses caused by Goodyear’s wrongdoing with the requisite “reasonable

certainty.” See, e.g., Allied Erecting & Dismantling Co. v. Genesis Equipment &

Manufacturing, Inc., 511 F. App’x 398, 403 (6th Cir. 2013). The jury’s award of

substantial punitive damages—more than twenty times the compensatory damages



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awarded—shows that the jury understood that compensatory damages under an

“actual loss” theory were insufficient to compensate Coda and punish Goodyear.

The remedy of a lump-sum “reasonable royalty” based on a hypothetical transaction

exists for cases like this one, where the defendant’s wrongdoing has made it

practically impossible to establish adequate actual loss damages with certainty.

      A jury has broad discretion in awarding a reasonable royalty. In particular,

when the jury awards a reasonable royalty, “[t]he sole question [for the court] is

whether, viewing the evidence in the light most favorable to [the plaintiff],” the

award “constitutes a clearly excessive estimation of what [the defendant] would have

paid.” Mid-Michigan Computer, 416 F.3d at 511 (emphasis added; citation and

quotation marks omitted). This is a “deferential standard.” Id.

      Because the reasonable royalty approach calls on the jury to estimate the

licensing fee that the parties would have agreed to in a hypothetical scenario where

the defendant followed the law, a degree of speculation is inherent in any reasonable

royalty award. That is not a valid reason to rule out such an award. To the contrary,

“[w]here the damages are uncertain, … that uncertainty should [not] preclude

recovery; the plaintiff should be afforded every opportunity to prove damages once

the misappropriation has been shown.” University Computing, 504 F.2d at 539.

“[E]very case requires a flexible and imaginative approach.” Id. at 538. “The

plaintiff fulfills its burden of proving damages by showing the misappropriation



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[and] the subsequent commercial use, and introduc[ing] evidence by which the jury

can value the rights the defendant has obtained.” Id. at 545. “While a certain amount

of speculation is involved in this highly theoretical reconstruction of a sale which

never took place, the aggrieved plaintiff must be permitted to present its best

evidence on damages and not be foreclosed from seeking damages it deserves due

to difficulty in measurement.” Id. at 544.

      Relying on Mid-Michigan Computer and Avery Dennison, the OUTSA model

jury instruction on the reasonable royalty measure instructs the jury as follows:

      If you decide that the compensatory damages provided by actual loss
      and unjust enrichment are insufficient under the circumstances, you
      may then consider an award of damages based on a reasonable royalty
      as an alternative. You may not issue an award based on actual loss and
      unjust enrichment plus a reasonable royalty.

      A royalty is a license to use the trade secret and measures the value of
      the trade secret to the defendant at the time that it was misappropriated,
      regardless of the commercial success of the enterprise. You should
      calculate what the parties would have agreed to as a fair price for
      licensing the defendant to put the trade secret to the use the defendant
      intended at the time the misappropriation took place. The royalty must
      be fair and reasonable under the circumstances, and you should
      consider the loss to the plaintiff, the benefit to the defendant, or both.

Instruction No. 18, The Ohio Judicial Conference Ohio Jury Instructions, 1 OJI CV

537.11 (Trade Secrets).2



2
 The Ohio Jury Instructions are the work of the Ohio Judicial Conference, an official
body of Ohio judges. Ohio Rev. Code § 105.91. The Ohio Supreme Court relies on
them, e.g., Cleveland Electric Illuminating Co. v. Astorhurst Land Co., 480 N.E.2d

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      B.     The jury should have been allowed to consider awarding a
             reasonable royalty.

      Coda requested that the jury be given the model instruction. Appx14789. The

district court rejected that request and refused to send the reasonable royalty issue to

the jury. Appx17854-17855. In its oral ruling, the court concluded that Coda had

presented evidence only to show damages as measured by its actual loss, not to

support a reasonable royalty. Id. The court reasoned that “there would be no

guidance for the jury here as to how should [the jury] decide to go with a reasonably

royalty calculation, how that would ever be calculated, given the lack of evidence

relative to some of that portion of that damage calculation in the Court’s estimation.”

Id. This Court should reverse.

      To begin, Coda’s proposed jury instruction is consistent with the statute and

the case law and would have provided sufficient guidance to the jury. Again, it

directs the jury to determine “the value of the trade secret to the defendant at the

time that it was misappropriated,” before it was known whether the defendant’s

intended use would be a commercial success or not, and to come up with a “fair price

for licensing the defendant to put the trade secret to the use the defendant intended




794, 798 (Ohio 1985), and the Sixth Circuit treats them as “codif[ying]” case law,
Hayward v. Cleveland Clinic Foundation, 759 F.3d 601, 611 n.3 (6th Cir. 2014).


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at the time the misappropriation took place.” The parties could also have provided

argument on the issue during their closing arguments.

      While determining a reasonable royalty is not an exact science, that

inexactitude results from the counterfactual nature of the exercise, which in turn

results from the defendant’s decision to steal the trade secret rather than negotiate

for a license. That is why “uncertainty should [not] preclude recovery” and “the

aggrieved plaintiff must be permitted to present its best evidence on damages and

not be foreclosed from seeking damages it deserves due to difficulty in

measurement.” University Computing, 504 F.2d at 539, 544.

      There was more than sufficient evidence from which the jury could have

arrived at a price that would have been fair and reasonable as of the time of the

misappropriation, considering the perceived value of the trade secrets to Goodyear

at that time, before Goodyear knew whether it would achieve commercial success.

See id. at 536 (“defendants must bear the risk of failure [of their wrongful venture]

themselves”). In particular, there was compelling evidence of Goodyear’s own

assessment, as of the time of the misappropriation, of the financial value of a self-

inflating tire that used Hrabal’s pump location reflected in TS 24.

      Goodyear itself projected that its self-inflating tire concept using Hrabal’s

pump location had a net present value of $411,464,000 over just the next five years.

Appx23757-23758.      The jury thus had a very specific, concrete figure from



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Goodyear itself showing the value of the project to Goodyear at the relevant time.

As noted above, Goodyear itself also asserted at the time, including to the U.S.

Department of Energy, that the project was “innovative due to the placement of the

peristaltic pump,” which was not “on the rim flange” as in the prior-art flap solution

but rather within “the tire cross-section” itself—in other words, Coda’s TS 24 pump

location in the tire sidewall. Appx21661. This evidence from Goodyear’s own

mouth would have enabled the jury to award Coda a fair and reasonable licensing

fee for the crucial TS 24 pump location.3

      The leading cases affirmed reasonable royalties awarded based on far less

compelling evidence than the $411 million internal valuation by the defendant here.

      In University Computing, for instance, “[t]he only evidence introduced by

either side on the question of damages for the AIMES III misappropriation was the

expert testimony of one Stan Josephson, who estimated the value of a sale of

unrestricted rights to AIMES III at $220,000.” 504 F.2d at 543. The jury awarded

that precise amount. Id. at 544. Josephson was the plaintiff’s “Vice President of



3
  Goodyear had concrete support for its valuation. An internal Goodyear report
concluded, based on a survey of 150 respondents in the trucking industry, that “Fleet
Managers are willing to pay approximately 50% more for a tire equipped with AMT”
(Goodyear’s term for its planned self-inflating tire product using Coda’s pump
location). Appx21366. And Goodyear informed the DOE that “58% [of potential
buyers in the trucking industry] probably or definitely would buy” its self-inflating
tire product. Appx23591.


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Technical Services, … responsible for developing software systems, pricing them

for marketing, and then assisting as technical expert at sales presentations.” Id. at

543. While Josephson “had no prior transaction upon which to base his opinion,”

the Fifth Circuit held that “it wasn’t improper for [the plaintiff] to prove its best

estimate of the proper sales price” through his testimony. Id. at 544. The Fifth

Circuit thus upheld the award. Id.

      In this case, by contrast, the jury had the defendant’s own valuation. The

evidence here is far stronger than the testimony that the Fifth Circuit deemed

sufficient as a “best estimate” in University Computing.

      In Mid-Michigan, the Sixth Circuit affirmed a $2 million reasonable royalty

under OUTSA. 416 F.3d at 506, 509. “The basis for the $2 million reasonable

royalty award was the parties’ 1997 Source Code Agreement, in which [the

defendant] agreed to pay liquidated damages in the amount of $50,000 per pharmacy

[that used the plaintiff’s software] in the event it wrongfully accessed the source

code stored in escrow.” Id. at 511. The $2 million was simply $50,000 times the 40

pharmacies then in operation. Id. Notably, the defendant had not actually violated

the Source Code Agreement; the district court had dismissed the plaintiff’s breach-

of-contract claim. Id. And a party’s agreement to a contractual liquidated damages

provision in the event that it improperly accessed the trade secret is a questionable

proxy for what the party would have been willing to pay to license the trade secret,



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since a party agreeing to a liquidated damages provision does not intend to breach

the contract and pay the damages. Yet the Sixth Circuit concluded: “Under the

deferential standard of review that controls here, we decline to hold that the $2

million figure used by the jury was a clearly excessive estimation of the price [the

defendant] would have paid for such a ‘suppositious license.’”            Id. (citations

omitted).

       Goodyear’s own projection of the value of its self-inflating tire project is a far

better gauge of what it was willing to pay than the liquidated damages provision in

Mid-Michigan or the plaintiff’s valuation in University Computing.              Like the

measures upheld in those cases, Goodyear’s own projection surely is not a “clearly

excessive estimation of the price [that Goodyear] would have paid” for a license. Id.

Coda is entitled to a new damages trial at which it could ask the jury for a reasonable

royalty award.

III.   The district court erred in rejecting Coda’s equitable claims for
       injunctive relief and correction of inventorship.

       In addition to its trade secret damages claim, Coda sought injunctive relief

under OUTSA and correction of inventorship under 35 U.S.C. § 256, asking that

Hrabal be recognized as the inventor of U.S. Patent 8,042,586. See Appx32. These

are equitable issues for the court to decide. See Ultra-Precision Manufacturing, Ltd.

v. Ford Motor Co., 411 F.3d 1369, 1376 (Fed. Cir. 2005). This Court’s law governs




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correction of inventorship, and the Court reviews the district court’s findings of fact

for clear error and its conclusions of law de novo. Id.

      The district court’s rejection of Coda’s equitable claims turned on a legal

error: the court’s legally erroneous decision to throw out the jury verdict under Rule

50(b). As the district court acknowledged, “when a party has a right to a jury trial

on an issue involved in a legal claim, the judge is … bound by the jury’s

determination of that issue as it affects [the court’s] disposition of an accompanying

equitable claim.” Appx40 (quoting Kitchen v. Chippewa Valley Schools, 825 F.2d

1004, 1014 (6th Cir. 1987)). The court was thus “constrained by any relevant fact-

finding of the jury when deciding the [remaining] equitable matters.” Id.

      Instead, the court reasoned that it could disregard the jury’s findings entirely

because it had thrown out the verdict under Rule 50(b). Id. The court concluded

that “because all those verdicts have been set aside, [Coda’s] arguments [based on

the jury’s findings] are summarily rejected.” Id. The court proceeded to make

factual findings that starkly conflict with the jury’s view of the case, including

dismissing Hrabal’s testimony as “unconvincing[],” “vague,” “evasive,” and “at

times incomprehensible,” while lauding Defendant Benedict—who the jury found

had maliciously stolen Hrabal’s innovations—for his “credible and convincing

testimony.”     Appx9, Appx28, Appx30; but see Appx28 (Judge Lioi’s




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acknowledgement that the evidence supported the jury’s finding that any

misappropriation by Benedict was done with actual malice).

      Because the district court’s rejection of the claims for injunctive relief and

correction of inventorship was premised on its erroneous grant of Goodyear’s Rule

50(b) motion, this Court should reverse and remand.

IV.   The district court erred in suggesting that Coda’s claims were barred by
      laches.

      Laches is an affirmative defense available in equity where a plaintiff’s

unreasonable delay in filing suit has prejudiced the defendant. See SCA Hygiene

Products Aktiebolag v. First Quality Baby Products, LLC, 580 U.S. 328, 331 (2017).

“A finding that a suit is barred by laches is reviewed for an abuse of discretion,”

which “may be found when the decision rests on an erroneous interpretation of the

law or on clearly erroneous factual underpinnings, or absent such errors, when the

court’s decision represents an unreasonable judgment in weighing relevant factors.”

Intirtool, Ltd. v. Texar Corp., 369 F.3d 1289, 1294 (Fed. Cir. 2004).

      Here, Goodyear argued laches, but the district court reasoned that, in light of

its rejection of both the jury’s trade secret verdict and Coda’s equitable inventorship

claim, “laches need not be addressed.” Appx35. Nonetheless, the court stated in a

brief footnote that it “finds merit in Goodyear’s assertion of this defense” because

“Goodyear asserts, correctly in the Court’s view, that ‘Coda intentionally, and




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unreasonably, delayed in asserting its claims, to Goodyear’s prejudice.’”            Id.

(quoting Appx18078).

      As the district court apparently recognized, it did not issue an actual ruling on

laches. See id. It is not clear whether the court meant that it would certainly have

ruled for Goodyear had it reached the issue or merely that it would have been

inclined to do so. Regardless, because it did not reach the issue, the court did not

“find the facts specially and state its conclusions of law separately” to enable

appellate review, as required for issues “tried on the facts without a jury.” Fed. R.

Civ. P. 52(a)(1). And the court’s suggestion that laches may apply was wrong.

      As an initial matter, laches has no application to the jury’s damages award,

for the equitable defense of “laches may not be invoked to bar damages relief if the

action was brought within the limitations period.” Operating Engineers Local 324

Health Care Plan v. G&W Construction Co., 783 F.3d 1045, 1054 (6th Cir. 2015).

That is the holding of SCA Hygiene, 580 U.S. at 331-46. Here, Coda learned of

Goodyear’s self-inflating tire program on August 14, 2011, and filed suit on August

9, 2015—within OUTSA’s four-year statute of limitations. See Ohio Rev. Code §

1333.66;    Appx15618-15619,       Appx15687,      Appx15846-15850,       Appx23548,

Appx23553, Appx24095-24101, Appx235-250.                  While Goodyear initially

persuaded the district court to dismiss the case on statute-of-limitations grounds, this

Court reversed (916 F.3d at 1361-62), and Goodyear ultimately chose not to pursue



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a statute-of-limitations defense at trial (Appx18709), where the jury would doubtless

have rejected it. It follows that Goodyear—which bears the burden on both the

equitable affirmative defense of laches and the legal affirmative defense of the

statute of limitations—cannot establish that Coda filed its OUTSA claim outside the

statute of limitations.4

       Thus, as cases like SCA Hygiene and Operating Engineers make clear, even a

successful laches defense here could not affect the jury’s legal damages award.

Laches has potential application only to Coda’s equitable inventorship and

injunction claims.

       Even as to those equitable matters, laches is inapplicable here. First, because

Coda filed within the statute of limitations, there is a strong presumption against

laches, which requires a showing of “extraordinary circumstances.” Petrella v.

MGM, Inc., 572 U.S. 663, 685 (2014); see also Chirco v. Crosswinds Communities,

Inc., 474 F.3d 227, 233 (6th Cir. 2007). Goodyear cannot possibly rebut the

presumption. The district court offered no basis for suggesting that it could.




4
  Bizarrely, Goodyear argued in its post-trial brief below that it “showed [at the
pleading stage] that Coda’s claim was time-barred under the 4-year statute of
limitations” and that the district court’s dismissal of the case based on that argument
constituted “findings … on a less-developed record”—even though this Court
reversed that pleading-stage ruling. Appx18082, Appx18087-18088; see 916 F.3d
at 1361-62.


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      Second, “laches is an equitable defense and, putting to one side the fact that

this is a legal action for damages, it can certainly be raised only by one who comes

into equity with clean hands.” United States v. Weintraub, 613 F.2d 612, 619 (6th

Cir. 1979); see also Elliott v. First Federal Community Bank, 821 F. App’x 406, 420

(6th Cir. 2020) (“it is fundamental that he who seeks equity must do equity, and that

he must come into Court with clean hands” (quoting Christman v. Christman, 168

N.E.2d 153, 154 (Ohio 1960))). “A knowing violation of applicable law would

certainly preclude a party from asserting the affirmative, equitable defense of

laches.” State ex rel. Mallory v. Public Employees Retirement Board, 694 N.E.2d

1356, 1363 (Ohio 1998); see, e.g., TWM Manufacturing Co. v. Dura Corp., 592 F.2d

346, 349 (6th Cir. 1979) (if the jury finds that the defendant committed “deliberate,

calculated plagiarism,” then “the district court should not sustain the defense of

laches”); Board of Supervisors v. Smack Apparel Co., 550 F.3d 465, 490 (5th Cir.

2008) (“A defendant who intentionally infringes a trademark with the bad faith intent

to capitalize on the markholder’s good will lacks the clean hands necessary to assert

the equitable [laches] defense.”).

      Here, the jury found by clear and convincing evidence that Goodyear

knowingly and, indeed, maliciously broke the law by stealing Coda’s trade secrets—

and even the district court acknowledged that there was “sufficient evidence

presented to the jury to support the jury’s finding of actual malice.” Appx28. So



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laches would be unavailable as a matter of law even if Goodyear could establish the

elements of the defense.

V.    If this Court remands to the district court, it should also order that the
      case be reassigned to another district judge.

      Judge Lioi’s repeated serious errors in this action render implausible the

notion that Coda could receive a fair hearing on remand. This Court should therefore

order that the case be reassigned to preserve the appearance of justice.

      “Because reassignment is not an issue unique to patent law,” this Court

“follow[s] regional circuit law.” Healthier Choices Management Corp. v. Philip

Morris USA, Inc., 65 F.4th 667, 678 (Fed. Cir. 2023). The Court “possesses the

power, under appropriate circumstances, to order the reassignment of a case on

remand pursuant to 28 U.S.C. § 2106.” Rorrer v. City of Stow, 743 F.3d 1025, 1049

(6th Cir. 2014).    Relevant factors include “whether the original judge would

reasonably be expected to have substantial difficulty in putting out of his or her mind

previously expressed views or findings” and “whether reassignment is advisable to

preserve the appearance of justice.” Lavin v. Husted, 764 F.3d 646, 652 (6th Cir.

2014).

      For instance, reassignment is appropriate “if the judge made statements or a

one-sided ruling that predicts a substantial difficulty in putting aside previously

expressed views,” Gabrion v. United States, 43 F.4th 569, 590 (6th Cir. 2022), or

where “the district court’s opinion reflects a distinct hostility toward the [party]” or


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“creates the appearance that the district court was biased,” Lavin, 764 F.3d at 652.

See also United States v. Domenech, 63 F.4th 1078, 1084 (6th Cir. 2023) (ordering

reassignment where “[t]he district judge’s failure to engage with the [appellants’]

arguments … raises significant concern as to whether the judge can be reasonably

expected to reevaluate her earlier views and findings”).           Reassignment is

appropriate, for example, where a district court’s orders “contain[ed] increasingly

accusatory language directed at [one party].” John B. v. Goetz, 626 F.3d 356, 364

(6th Cir. 2010).

      Reassignment is necessary to preserve the appearance of justice in this case in

light of the district judge’s numerous serious errors and unfair pronouncements

about Coda and its counsel, all of which suggest that the judge would have

substantial difficulty putting those previously expressed opinions out of mind.

      This case first came up to this Court on appeal following the district judge’s

dismissal of Coda’s complaint, in its entirety, and denial of leave to amend. As this

Court explained in its ruling reversing those decisions, Judge Lioi departed from the

usual course of federal practice at the motion-to-dismiss stage by (1) considering

extraneous material that Goodyear supplied with its reply in support of its motion to

dismiss, while denying Coda leave to respond to that material; (2) drawing

inferences against Coda, the non-movant, when reasonable inferences existed in

Coda’s favor; and (3) ruling against Coda based on the statute of limitations—an



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affirmative defense—based on a theory of her own devising, which Goodyear never

raised and Coda had no opportunity to refute. See 916 F.3d at 1360-62. The judge

then strayed even further from ordinary practice by rejecting Coda’s motion to file

a first amended complaint—not because the amendment was futile, but, rather,

because it addressed the supposed flaws that she had identified in the original

complaint with such “amazing clarity” that she accused Coda of “gamesmanship.”

Id. at 1362; Appx1780.

      This Court disagreed, reversing the district judge on every point, holding that

the original complaint should never have been dismissed and that the denial of leave

to amend was “troubling, particularly given the previously described errors” with

the dismissal of the original complaint. 916 F.3d at 1362.

      On remand, however, the district judge evinced substantial difficulty in

putting her previously expressed views of Coda and its supposed “gamesmanship”

out of her mind. Rather, doubling down on her accusations, she accused Coda’s

counsel of unethical behavior for withholding certain material under a claim of

privilege—even though the magistrate judge who ruled on the matter in the first

instance had likewise determined that the material was properly withheld.

Appx19256-19258 (questioning the “honesty, integrity, [and] professionalism” of

Coda’s counsel and pronouncing counsel’s conduct “very troubling to me”). There

was no legitimate basis for such accusations when the magistrate judge determined



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not merely that Coda’s position was within the field of reasonable legal disagreement

but that Coda was actually correct to withhold the material. Appx5803-5808.

      The district judge’s apparent commitment to her previously expressed dim

view of Coda and its counsel persisted at trial—and stands in stark contrast to the

view of the nine impartial jurors who watched the same trial but came to a

diametrically opposed conclusion about the relevant individuals and their actions.

Appx17986. The jury found that Hrabal was credible and had made major advances

in the field of self-inflating tires, while Goodyear and Benedict were not credible

and had maliciously stolen Hrabal’s ideas, meriting substantial punitive damages.

The district judge did not deny that the evidence sufficed for the jury to find that

Goodyear and Benedict acted willfully.        See Appx28.     Yet she declared that

Benedict’s testimony was “credible and convincing” (Appx39) while “Hrabal

offered no testimony that convinced [the judge] that he was the inventor of any of

the claims of the ’586 Patent” or that “in the 2009 meetings Hrabal disclosed to

Goodyear an actual ‘optimal location’ that he alone had discovered before anyone

else, much less where such location might have been in a tire.” Appx49, Appx62

(emphasis    added);   see   also   Appx58-59     (branding    Hrabal’s      testimony

“unconvincing[]” while praising Benedict’s as “coherent[] and convincing[]”);

Appx63 (dismissing Hrabal’s trial testimony as “evasive”); Appx33 (accusing Coda

of an “apparent strategy of evasiveness”).



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      Contrary to the jury’s findings, the judge insisted that “Hrabal did not

conceive of (or even understand)” the “novel feature of the ’586 Patent” (i.e., the

pump location in the tire sidewall) that Benedict applied for based on Hrabal’s own

stolen trade secrets. Appx59. Indeed, the judge declared that “Hrabal’s description

of what he disclosed to Goodyear during two meanings in January and June of 2009

[was] vague, evasive, and at times incomprehensible, demonstrating a lack of

understanding of key concepts in the ’586 Patent.” Appx60. Again, the jury

necessarily found that Hrabal was an innovator in the field of tire design, that he

conveyed his innovations to Benedict at their meetings, and that Benedict and

Goodyear maliciously misappropriated them.

      In further contrast with her dim view of Coda, the judge pronounced with next

to no analysis that she “f[ound] merit in Goodyear’s assertion” of the affirmative

defense of laches—even though Goodyear’s evidence was so weak that Goodyear

did not even try to present its statute-of-limitations defense to the jury. Appx35.

      A judge who has repeatedly and publicly professed such strong negative views

about Coda, Hrabal, and their counsel cannot reasonably be expected to give Coda

a fair trial, nor would remand to that judge preserve the appearance of justice.

      Additionally, just as at the motion-to-dismiss stage, the positions adopted by

the district judge during and after the trial are contrary to controlling law, including

as shown above with respect to definiteness, reasonable royalties, and laches.



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      The district judge’s errors have again compelled Coda to appeal to this Court,

and this Court must again reverse and remand. The judge’s repeated serious errors

and apparent inability to set aside her long-expressed dim view of Coda and its

counsel strongly suggest that yet another appeal and remand may be necessary if the

case is not reassigned. Both the appearance of justice and justice itself would be ill-

served by such protracted proceedings. The case should be reassigned now.




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                                 CONCLUSION

      This Court should reverse the decision below and remand for a new damages

trial. On remand, the case should be reassigned to a new district judge.



                                           Respectfully submitted,

                                           /s/ Boyd T. Cloern

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October 18, 2023                           Counsel for Plaintiffs-Appellants




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                            STATUTORY ADDENUM

Ohio Uniform Trade Secrets Act (OUTSA), Ohio Revised Code 1333.61 et seq.

Section 1333.61. Definitions

As used in sections 1333.61 to 1333.69 of the Revised Code, unless context requires
otherwise:

(A) “Improper means” includes theft, bribery, misrepresentation, breach or
inducement of a breach of a duty to maintain secrecy, or espionage through
electronic or other means.

(B) “Misappropriation” means any of the following:

  (1) Acquisition of a trade secret of another by a person who knows or has reason
  to know that the trade secret was acquired by improper means;

  (2) Disclosure or use of a trade secret of another without the express or implied
  consent of the other person by a person who did any of the following:

     (a) Used improper means to acquire knowledge of the trade secret;

     (b) At the time of disclosure or use, knew or had reason to know that the
     knowledge of the trade secret that the person acquired was derived from or
     through a person who had utilized improper means to acquire it, was acquired
     under circumstances giving rise to a duty to maintain its secrecy or limit its use,
     or was derived from or through a person who owed a duty to the person seeking
     relief to maintain its secrecy or limit its use;

     (c) Before a material change of their position, knew or had reason to know that
     it was a trade secret and that knowledge of it had been acquired by accident or
     mistake.

(C) “Person” has the same meaning as in division (C) of section 1.59 of the Revised
Code and includes governmental entities.




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(D) “Trade secret” means information, including the whole or any portion or phase
of any scientific or technical information, design, process, procedure, formula,
pattern, compilation, program, device, method, technique, or improvement, or any
business information or plans, financial information, or listing of names, addresses,
or telephone numbers, that satisfies both of the following:

  (1) It derives independent economic value, actual or potential, from not being
  generally known to, and not being readily ascertainable by proper means by, other
  persons who can obtain economic value from its disclosure or use.

  (2) It is the subject of efforts that are reasonable under the circumstances to
  maintain its secrecy.



Section 1333.63. Damages

(A) Except to the extent that a material and prejudicial change of position prior to
acquiring knowledge or reason to know of misappropriation renders a monetary
recovery inequitable, a complainant in a civil action is entitled to recover damages
for misappropriation. Damages may include both the actual loss caused by
misappropriation and the unjust enrichment caused by misappropriation that is not
taken into account in computing actual loss. In lieu of damages measured by any
other methods, the damages caused by misappropriation may be measured by
imposition of liability for a reasonable royalty that is equitable under the
circumstances considering the loss to the complainant, the benefit to the
misappropriator, or both, for a misappropriator’s unauthorized disclosure or use of
a trade secret.

(B) If willful and malicious misappropriation exists, the court may award punitive
or exemplary damages in an amount not exceeding three times any award made
under division (A) of this section.




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35 U.S.C. § 256. Correction of named inventor

(a) Correction.—Whenever through error a person is named in an issued patent as
the inventor, or through error an inventor is not named in an issued patent, the
Director may, on application of all the parties and assignees, with proof of the facts
and such other requirements as may be imposed, issue a certificate correcting such
error.

(b) Patent Valid if Error Corrected.—The error of omitting inventors or naming
persons who are not inventors shall not invalidate the patent in which such error
occurred if it can be corrected as provided in this section. The court before which
such matter is called in question may order correction of the patent on notice and
hearing of all parties concerned and the Director shall issue a certificate accordingly.



28 U.S.C. § 2106. Determination

The Supreme Court or any other court of appellate jurisdiction may affirm, modify,
vacate, set aside or reverse any judgment, decree, or order of a court lawfully brought
before it for review, and may remand the cause and direct the entry of such
appropriate judgment, decree, or order, or require such further proceedings to be had
as may be just under the circumstances.




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CIRCUIT RULE 28(c)
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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


    CODA DEVELOPMENT s.r.o., CODA                        )        CASE NO. 5:15-cv-1572
    INNOVATIONS s.r.o., and FRANTISEK                    )
    HRABAL,                                              )
                                                         )
                                                         )
                           PLAINTIFFS,                   )        JUDGE SARA LIOI
                                                         )
    vs.                                                  )        JUDGMENT ENTRY
                                                         )
    GOODYEAR TIRE & RUBBER                               )
    COMPANY and ROBERT BENEDICT,                         )
                                                         )
                                                         )
                           DEFENDANTS.                   )


            For the reasons set forth in the Memorandum Opinion and Order on Defendants' Renewed

Rule 50 Motion (Doc. No. 393) and the separately issued Findings of Fact, Conclusions of Law,

and Order (Doc. No. 394) judgment is entered in favor of defendants Goodyear Tire & Rubber

Company and Robert Benedict on Counts One, Two, and Four of the First Amended Complaint.

Count Five of the First Amended Complaint is dismissed. 1 This case is dismissed in its entirety.

            IT IS SO ORDERED.

    Dated: March 31, 2023                                   ~          oe:·
                                                      HONORABLESIARA LIOI
                                                      UNITED STATES DISTRICT JUDGE




1
 The parties jointly stipulated to dismissal of Count Three of the First Amended Complaint and defendant Robert
Allen Losey. The Court confirmed this partial dismissal with prejudice by Order dated February 2, 2021. (Doc. No.
218.)




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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 CODA DEVELOPMENT s.r.o., CODA                     )       CASE NO. 5:15-cv-1572
 INNOVATIONS s.r.o., and FRANTISEK                 )
 HRABAL,                                           )
                                                   )
                                                   )
                        PLAINTIFFS,                )       JUDGE SARA LIOI
                                                   )
 vs.                                               )       MEMORANDUM OPINION
                                                   )       AND ORDER ON DEFENDANTS'
 GOODYEAR TIRE & RUBBER                            )       RENEWED RULE 50 MOTION
 COMPANY and ROBERT BENEDICT,                      )
                                                   )
                                                   )
                        DEFENDANTS.                )


         Before the Court is the renewed Rule 50(b) motion for judgment as a matter of law

("JMOL") filed by defendants Goodyear Tire & Rubber Company and Robert Benedict

("Benedict") (collectively, "Goodyear" or "defendants"). (Doc. No. 376; see also Doc. No. 360,

original JMOL Motion; Doc. No. 363, Supplement.) Goodyear's JMOL seeks judgment entered

in its favor as to liability on each of plaintiffs' remaining claimed trade secrets as well as,

alternatively, seeking remittitur as to the jury's punitive damages award. Plaintiffs Coda

Development s.r.o., Coda Innovations s.r.o., and Frantisek Hrabal ("Hrabal") (collectively, "Coda"

or "plaintiffs") filed a brief in opposition. (Doc. No. 385.) Goodyear filed a reply brief. (Doc. No.

387.) For the reasons set forth herein, Goodyear's motion is granted.




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I.       Procedural Summary 1

         On August 9, 2015, Coda filed its complaint against Goodyear, Benedict, and a third

defendant (who has since been dismissed), alleging various claims relating to the purported

misappropriation by defendants of Coda's confidential and proprietary Self-Inflating Tire ("SIT")

technology, allegedly invented by Hrabal (Coda's CEO) and allegedly orally disclosed to

Goodyear under a non-disclosure agreement during the course of two meetings in January and

June of 2009. The original complaint set forth thirteen claims for correction of inventorship under

35 U.S.C. § 256, one claim under the Lanham Act, and several state law claims (two for fraudulent

non-disclosure, one for misappropriation of trade secrets, two for tortious interference with

business relations/prospective economic advantage, one for negligent misrepresentation, and one

for unjust enrichment).

         On February 22, 2019, the Federal Circuit vacated orders of this Court dated September

29, 2016 (dismissing the case) and September 26, 2017 (denying Coda's post-dismissal motion for

leave to amend the complaint). The Federal Circuit remanded for further proceedings, including

permitting Coda to file an amended complaint. Coda Dev., s.r.o. v. Goodyear Tire & Rubber Co.,

916 F.3d 1350 (Fed. Cir. 2019). 2

         On April 15, 2019, Coda filed the currently operative first amended complaint setting forth

five claims: three seeking correction of inventorship, one for misappropriation of trade secrets, and


1
 This case has an unusually long history, which includes many written opinions and rulings by this Court. Some of
what is contained herein may be verbatim from other orders but, for the sake of simplicity, the Court will omit
quotation marks and/or citations to those previous orders ofrecord. Generally speaking, the Court assumes familiarity
with the primary procedural facts.
2
  The Federal Circuit vacated this Court's dismissal order for two procedural reasons. First, the appeals court
concluded that this Court's consideration on a motion to dismiss of matters outside the pleadings (i.e., Hrabal's 2008
Tire Technology article), without converting the motion to one for summary judgment, was a procedural error. Coda
Dev., s.r.o., 916 F.3d at 1360. Second, the appeals court concluded that this Court's dismissal on statute oflimitations
grounds went "to the merits" of an affirmative defense "[rather] than the complaint's sufficiency." Id. at 1361-62.

                                                           2




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one for a declaratory judgment. (Doc. No. 53. 3) Goodyear answered on May 13, 2019, having been

granted an unopposed extension of time. (Doc. No. 57.)

         Early in the course of discovery, during the first status conference-with both counsel and

all party representatives participating (see Minute Order [non-document] (11/1/2019))-the Court

discussed Goodyear's concern that "Coda refuses to ... provide a closed-ended response [to certain

interrogatories.]" (Doc. No. 74, Defendants' Notice of Discovery Dispute, at 2. 4) In an order issued

on November 21, 2019, the Court determined:

                   Under the peculiar circumstances of this case, where the alleged disclosure
         of trade secrets was entirely oral, the danger of plaintiffs "molding" their claims by
         way of subsequent supplementation of their original recollection of those two 2009
         conversations is of particular concern. Plaintiffs claim they told defendants their
         trade secrets and defendants thereafter misappropriated them. Under that scenario,
         it is entirely reasonable for defendants to request ... that plaintiffs supply a "closed"
         recital of their recollection of what was orally imparted in the two meetings of
         limited duration in 2009.

(Doc. No. 82, Memorandum Opinion and Order, at 7 (emphases in original).) The Court then

ordered:

                 Accordingly, the Court will require that plaintiffs supply a "closed"
         response to [the relevant interrogatory[ies]], supplying sufficient specificity and
         description to permit defendants to know what discovery will be relevant and what
         specific claims of trade secret misappropriation they must defend against.

                 As a final caution, the Court directs plaintiffs to take this discovery mandate
         seriously and not provide a response so broad that it is meaningless or so

3
  Of the five claims in the first amended complaint, one claim for correction of inventorship (Count Three) was
voluntarily dismissed on February 2, 2021. (See Doc. No. 218, Order.) The case proceeded as to the other four counts.
Ultimately, Count Four (Misappropriation of Trade Secrets) was tried to a jury; Count One (Correction of
Inventorship), Count Two (Joint Inventorship), and Count Five (Declaratory Judgment) remained for resolution by
the Court, which the parties agreed to resolve by briefing (see Doc. No. 371, Notice as to Inventorship Claims; Doc.
No. 372, Order). After the jury trial, plaintiffs voluntarily abandoned Count Two (see Doc. No. 378, Plaintiffs'
Opening Brief, at 7 n.1 ), leaving for the Court only Counts One and Five. A separate ruling will issues as to those
counts, as well as defendants' affirmative defense oflaches.
4
 Except as otherwise noted for trial transcripts (see n.6), all page number references herein are to the consecutive
page numbers applied to each individual document by the Court's electronic filing system, a practice recently adopted
by the Court (which differs from the directives in the Initial Standing Order (Doc. No. 19)).

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         incomplete, vague, and evasive that it is useless. Should the Court determine that
         plaintiffs fail in this regard, and do so purposefully, it will reserve the right to
         sanction plaintiffs up to and including dismissal. This is not prejudicial to plaintiffs
         because plaintiffs themselves are the ones who know what they said to defendants
         during the two meetings. There is no need to discover anything from the defendants
         in order for plaintiffs to write down their recollection of those meetings. 5
                  5
                   Presumably, it was also plaintiffs themselves who made the choice to rely
                  entirely upon an oral disclosure, which easily lends itself to the very situation the
                  parties find themselves in now.

                 That said, although general supplementation will not be permitted, should
         it be determined that plaintiffs inadvertently failed to include something in their
         answer[ s] ... , the Court will remain open to entertaining limited supplementation
         upon a showing of an exceptional reason for doing so.

(Id. at 7-8 (footnote and emphases in original).) Coda subsequently supplemented its responses to

Goodyear's interrogatories. (See Doc. No. 223-20, Plaintiffs' Supplemental Responses to

Defendants' First Set oflnterrogatories.) In particular, Coda listed twenty-seven trade secrets that

it allegedly disclosed to Goodyear relating to its SIT technology. (Id. at 24-27.) 5 Subsequent to

that supplementation, Coda withdrew ten of these trade secrets and proceeded with a

misappropriation claim as to the following seventeen:

    •    TS 1: A self-inflation system that operates when the tire rotates in either direction
         and the desirability of a symmetrical implementation of the pump system in the tire,
         such as the use of two mirror-image pumps;
    •    TS 2: Coda's knowledge of how to design and develop a peristaltic pump with
         symmetry that takes into consideration symmetrical pump tubes providing bi-
         directional functionality and uniformity, variant pump tube lengths and
         configurations that can be less than fully circular, fully circular and super circular,
         and a bi-directional arrangement implementing the principles of symmetry, such as
5
  There is no dispute that there was no written list of trade secrets until November 2015, three months after Coda filed
this lawsuit; Hrabal himself never wrote them down. Dan Jackson, a retired investment banker who ultimately invested
in Coda (Doc. No. 358, Transcript ["Tr."] at 1062-63; 1065), along with lawyers he engaged as he investigated
whether to invest, created a "compilation of potential trade secrets and other Coda ideas used by Goodyear[.]" (Id. at
1088; Ex. D-293.) He acknowledged that Hrabal "had given a presentation to Goodyear that was a complete
information package ... mixing public information, patented and unpatented, and trade secret information without
regard to those categories but solely with regard to what he thought would persuade Goodyear to start a development."
(Id. at 1089.) Jackson admitted that the "compilation" was his effort "to get the lawyers thinking about categories and
whether they could be used as trade secrets." (Id.) According to Jackson, Coda's lawyers used his "compilation" to
"formulat[ e] correct trade secrets." (Id. at 1090-91.)

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    the example of 360-degree oppositely oriented pumps in each sidewall of a tire;
•   TS 3: Use of a regulator with a threaded member in a self- inflating tire to adjust
    the space between the membrane and the aperture, thereby resulting in a change in
    regulator pressure;
•   TS 4: Coda's knowledge of how to design and develop a pump-system for a self-
    inflating tire, which comprises the following design alternatives: "dead space" in
    the pump chamber in order to limit the maximum pump pressure to prevent over-
    inflation of the tire; a nonrecirculating system where a portion of the pump tube is
    not compressed during tire rotation to ensure that the tire is not over-inflated, and
    the incompressible portion of the tube is between the pumping portion and the tire
    interior, and the tube is open to the atmosphere; a non-recirculating system where
    an incompressible portion of the tube is between the pumping portion and
    atmosphere, and the tube is open to the tire; a recirculating system that eliminates
    dead space; a regulator with a three-way valve that would recirculate the air while
    the tire is not being inflated, which minimizes pump wear and maximizes energy
    efficiency; a recirculating system whereby operation of the tire in reverse does not
    damage the system; and the design considerations for a system without
    recirculation;
•   TS 5: Coda's technique regarding the alternative to molding a pump chamber into
    the tire by embedding and removing a filament to form a cavity in the tire, and the
    improvements in the filament embedding process by coating the filament in a
    silicone lubricant before pressing and vulcanizing the tire;
•   TS 7: Coda's design and development of a multi-purpose interface for transporting
    air in a self-inflating tire that can connect to the air source, connect to the tire
    interior, connect to the peristaltic pump, serve as an end to the peristaltic pump,
    connect to the regulator, carry the regulator, go around or through the bead, go
    around or through the tire layers, click to the bead and hold the filter;
•   TS 11: Coda's knowledge of how to design and develop self- inflating tire pump
    and groove solutions, consisting of round pump tubing in an outward-facing groove
    with straight, angled interior geometry; pump tubing with geometry that interlocks
    with its seat; pump tubing with elliptical interior cross-section; variant pump tube,
    groove and chamber dimensions, size and materials; pump tube and groove design
    to minimize internal friction; a "tubeless" pump solution (i.e., a pump that may
    compose an integral part of tire); cross-section designs that minimize stress on
    compression in order to improve durability; and tubing with reinforced wall;
•   TS 15: Coda's improvements in self-inflating tire technology by assessing
    alternative locations of a peristaltic pump in the following areas: on the radial face
    of the bead abutting the rim; in the tread area; in the sidewall against the rim, with
    use of a spacer to shift the flexion in order to create room for the chamber; between
    the tire and the rim with flap tubes; in the sidewall near and above the rim at the
    end of a flap passage; and in the sidewall near and above the rim in an outward
    facing groove;
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•   TS 16: Coda's design, development, and testing regarding the feasibility and
    improvements in self-inflating tire technology by embedding a tube in a groove in
    a tire sidewall to act as a peristaltic pump;
•   TS 18: Coda's knowledge regarding how moving the pump relative to the tire bead
    (axially or radially) affects the leverage and compressive force exerted on the pump,
    impacts the ability to open and close the tube, and the magnification of the leverage
    from the flexion of the sidewall, as demonstrated by the built-out groove of the
    prototype;
•   TS 19: Coda's knowledge regarding the behavior of the tire sidewall during the
    course of tire rotation to evaluate a preferred location for the pump tube based on
    rigidity, centrifugal forces, and proximity to the air source;
•   TS 20: Coda's knowledge of how to design and develop self- inflating tire systems
    with circulating and non-circulating pump variations, comprised of the disclosure
    of technical information through observations and descriptions of the three-way
    valve regulator, and explanations of the function and air-paths for the states of
    recirculation and inflation; closure elements related to recirculation systems and a
    pressurized air reservoir that would permit the storage of air within the system
    without the need to engage the pump tube with each tire revolution; recirculation
    at different pressures, such as ambient pressure; recirculation through various paths,
    such as through the tire, the atmosphere and the pump tube; the safety benefit of
    recirculating around the pump tube isolated from the tire cavity; a check valve on
    intake (between the pump tube and the atmosphere) to only permit air in when
    pressure in the pump tube falls below atmospheric pressure; and a check valve on
    output (between the pump tube and tire interior) to only allow air into the tire when
    pressure in the pump tube exceeds the tire pressure;
•   TS 22: Coda's design and development of pressure management device alternatives
    for self-inflating tires, consisting of pressure management devices with the
    membrane containing a reference space, a spring-assisted membrane, a spring-
    loaded closure element, and electronic management, and knowledge of the different
    pressure-temperature response characteristics of these alternatives;
•   TS 23: Coda's development of a functional self-inflating tire as demonstrated by
    the test results confirming that the tire pump can generate pressure higher than the
    pressure in the tire cavity, through the test results showing that the pump placed on
    the tread could generate 6.5 absolute atmospheres of pressure (5.5 relative
    atmospheres); the test results showing that the tube-in-groove pump of the
    prototype could generate 3 .3 absolute atmospheres of pressure; and test results that
    demonstrated that the Flap Tubes could generate 1 relative atmosphere of pressure;
•   TS 24: Coda's knowledge regarding the optimal location for placement of a pump
    in a tire for tire manufacturers, namely, in the sidewall close to, and above, the rim
    where the tire cyclically deforms in response to deformation;



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    •    TS 25: Coda's knowledge of potential tire-making cost-savings promoted by self-
         inflating tire technology, by permitting the removal or reduction of the inner liner;
         and
    •    TS 27: Coda's knowledge presented and disclosed to Goodyear at the January and
         June, 2009 meetings, consisting of the PowerPoint presentation; the prototype self-
         inflating tire, regulators, pump tubes, mock-ups, and other physical exhibits; the
         possible location of a pump in a tire; the design and build of the pump; the pressure
         management system options (dead space or recirculation); the efficacy of the pump
         in compensating for ordinary tire leakage; SIT testing mechanisms including the
         use of wireless sensors; marketing strategies directed to the commercial trucking
         industry; and tests and test results on self-inflating tire prototypes, combined with
         Coda's technology disclosed in its patents and patent applications regarding self-
         inflating tire technology.

(See Doc. No. 223-20, at 24-27; see also Doc. No. 365, Tr. at 2687-91. 6 )

         Following a multiplicity of discovery disputes that necessitated repeated extensions of the

case management plan (eight to be exact), referrals to the magistrate judge, and further lengthy

rulings by this Court, finally, on February 8, 2021, defendants filed their motions for summary

judgment on all remaining claims and on damages. (See Doc. Nos. 221, 222.) Briefing ensued and

the motions were at issue on June 4, 2021. On September 30, 2021, the Court denied both

dispositive motions. (See Doc. No. 262, Memorandum Opinion and Order.)

         On October 8, 2021, the Court issued a final pre-trial conference and trial order, setting all

trial-related deadlines and a trial date of August 22, 2022 (see Doc. No. 263), which was

subsequently modified slightly (see Order (non-document) dated 8/18/22). Several motions in

limine were filed on April 29, 2022, followed by full briefing, several days of argument, and

rulings by the Court (on all but one motion) during a hearing on August 17, 2022. 7



6
  Because the various volumes of trial transcripts are consecutively numbered from page 1 to page 2804, rather than
citing to any individual transcript's page number applied by the electronic filing system (which is the Court's usual
practice), the Court will instead cite to the actual transcript page number(s) applied by the court reporters.
7
 Although the docket reflects a request by plaintiffs for a transcript of the August 17th proceedings (see Doc. No.
344), no official transcript was ever filed, probably because plaintiffs only requested a realtime unedited transcript.

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       The case proceeded to trial, with the jury being selected on August 29, 2022 (see Doc. No.

353, Transcript) and testimony being heard between September 6-15, 2022 (see Doc. Nos. 355-

359, 361-62, 364, Transcripts). Notably, only Coda's trade secrets claims were tried to the jury;

its inventorship claims were reserved for trial to the Court. Closing arguments and instructions to

the jury occurred on September 16, 2022, with the jury beginning its deliberations that same day.

(See Minutes of Proceedings (non-document), dated 9/16/2022.)

       On September 14, 2022, after Coda had rested its case on its trade secret claims, the Court

heard arguments outside the jury's presence on defendants' Rule 50(a) JMOL motion (Doc. Nos.

360, 363). (See Doc. No. 361, Tr. at 1731-39; 1936-2086.) On September 15, 2022, after the

defense rested its case, the Court heard additional arguments outside the presence of the jury on

Goodyear's renewed Rule 50(a) motion (see Doc. No. 364, Tr. at 2544-2622), and issued a ruling

regarding which of the remaining seventeen trade secrets would not be permitted to go to the jury

(see id., Tr. at 2644-50). In summary, the Court eliminated Trade Secrets 4, 15, 18, 19, and 27,

finding that they were indefinite. But the Court also noted:

               The Court still has concerns regarding the definiteness of some or all of the
       trade secrets not addressed just now.

               Pursuant to [] Rule 50, the Court will submit the action to the jury, subject
       to the Court's later deciding the legal questions raised by the motion.

              So this is not the end of the road relative to whether these are definite
       enough to really even be trade secrets. As I said, I do have some very serious
       concerns.

               ***
               And finally, the Court recognizes that Goodyear has raised several
       additional grounds which will also be submitted to the jury subject to the Court's
       later deciding the legal questions raised by the motion.



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                  So I have to say very honestly, I do have some grave concerns. I have spent
         hours, days, weeks, trying to understand some of these trade secrets. It's very
         difficult. I cannot imagine, with the language used, how many of these trade secrets
         could possibly put anyone on notice as to what the secret was.

                 I've been, in my opinion, very conservative in my approach to what I'm not
         allowing the jury to consider. I'm not closing the record on the Rule 50 motion
         relative to the other issues.

(Id., Tr. at 2650-51.) The Court permitted the remaining twelve alleged trade secrets to go to the

jury, subject to the reservation just quoted.

         The jury ultimately found that, of the twelve alleged trade secrets disclosed by Coda to

Goodyear during the 2009 meetings, only seven actually were trade secrets (TS 3, 5, 7, 11, 20, 23,

and 24). 8 The jury further found that Goodyear had misappropriated five of those trade secrets (TS

7, 11, 20, 23, and 24), causing Coda $2.8 million in compensatory damages. The jury also

concluded that Coda was entitled to recover $61.2 million in punitive damages because

Goodyear's misappropriation was willful and malicious. (See generally Doc. No. 369, Verdicts.)

         Thereafter, the parties filed their respective briefs now before the Court, along with briefs

on the merits of Coda's inventorship claims and Goodyear's affirmative defenses. The Court

addresses herein the renewed Rule 50 motion and will issue a separate ruling on the equitable

claims, which are not automatically precluded by the instant ruling. 9




8
  Perhaps illustrative of how confusing and ill-defined Coda's "trade secrets" are, by the end of trial Coda had evolved
its theory of damages to rely on two "foundational trade secrets" (TS 16 and TS 24), (see Doc. No. 361, Tr. at 2061-
62 ("[I]t's trade secrets 16 and 24, that are ... foundational. They're the important ones[.])), and counsel for Coda
seemed to focus on these two "foundational trade secrets" alone in its closing argument. (See Doc. No. 365, Tr. at
2732:9-18.) But in the end, the jury found one of the "foundational trade secrets" was not definitive enough to be a
trade secret while the other was. (Doc. No. 369 (Verdict Forms).)
9
  Without citing any authority, in its brief in opposition to plaintiffs' brief on the equitable claims, Goodyear declares
that, if the Court grants Goodyear's Rule 50(b) motion, there will be no basis for Coda to claim inventorship, allowing
the Court to "short-circuit Coda's bizarre request to reallocate the ownership of a patent Coda thinks is worthless and
unenforceable[.]" (Doc. No. 380, at 2.) Plaintiffs did not respond to that assertion, but the Court concludes that the
issues are separate and have different elements of proof. The mere fact that a person may not have a protected trade
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II.      Judgment as to Liability on Remaining Trade Secrets

         Fed. R. Civ. P. 50(b) provides in relevant part:

                 If the court does not grant a motion for judgment as a matter of law made
         under Rule 50(a), the court is considered to have submitted the action to the jury
         subject to the court's later deciding the legal questions raised by the motion .... In
         ruling on the renewed motion, the court may:

                      (1) allow judgment on the verdict, if the jury returned a verdict;
                      (2) order a new trial; or
                      (3) direct the entry of judgment as a matter oflaw.

         This Court may grant Goodyear's Rule 50(b) motion "'only if in viewing the evidence in

the light most favorable to [Coda], there is no genuine issue of material fact for the jury, and

reasonable minds could come to but one conclusion, in favor of the moving party."' Sykes v.

Anderson, 625 F.3d 294, 305 (6th Cir. 2010) (quoting Radvansky v. City of Olmstead Falls, 496

F.3d 609, 614 (6th Cir. 2007)); see also Fed. R. Civ. P. 50(b) advisory committee note to 1991

amendment ("In ruling on [a Rule 50(b )] motion, the court should disregard any jury determination

for which there is no legally sufficient evidentiary basis enabling a reasonable jury to make it.").

The Court does not "reweigh the evidence or assess witness credibility," id., and must restrict its

review "to the evidence ... admitted at trial." Sykes, 625 F.3d at 305 (citing 9B Charles A. Wright

& Arthur R. Miller, Federal Practice and Procedure § 2540 (3d ed. 2008)). 10

         Ordinarily, for Goodyear to succeed on its challenge, it must "overcome the substantial

deference owed a jury verdict." Radvansky, 496 F.3d at 614. Here, however, Goodyear's renewed

challenge relates in part to a threshold issue that the Court decides before sending trade secret



secret does not automatically mean they could not (or did not) contribute to a patented invention. As a result, the Court
will issue a separate ruling on the equitable matters that were left for the Court's determination.
10
  To the extent Ohio law governs because the Court in considering a state law claim for misappropriation of trade
secrets, it is worth noting that Ohio courts apply this same standard. See, Masterson v. Brody, 197 N.E.3d 628, 637
(Ohio Ct. App. 2022) (citing, inter alia, Posin v. A.B. C. Motor Court Hotel, Inc., 344 N.E.2d 334, 338 (Ohio 1976)).




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matters to a jury-namely, whether the trade secrets, as articulated, are sufficiently definite to

warrant protection under the Ohio Uniform Trade Secrets Act ("OUTSA"). Further, as outlined

above, although the Court permitted twelve of Coda's seventeen alleged trade secrets to go to the

jury, it did so after noting significant concerns about whether even these twelve met this threshold

requirement of definiteness and after expressly reserving its right to revisit all legal questions

raised by Goodyear's Rule 50 motions.

        Goodyear's renewed JMOL motion raises three arguments: 11

        First, on the trade-secret findings, Coda failed to prove the definiteness of nos. 7,
        11, 20, 23, and 24, or their misappropriation. The Court rightly harbored "very
        serious concerns" about these vague, indefinite trade secrets, and the record
        confirms the validity of that concern. Second, on the jury's punitive-damages
        verdict, the Court should grant JMOL because there is no evidence on this record
        on which a reasonable jury could have found that Goodyear acted with "actual
        malice." And third, though it should not be necessary for the Court to reach this
        issue, Ohio law compels a remittitur of the jury's excessive punitive award. O.R.C.
        § 1333.63(B).

(Doc. No. 376, at 7.)

        Upon its renewed consideration, the Court concludes that Goodyear's first argument is

dispositive to the extent it addresses lack of definiteness in, and/or misappropriation of, the five

trade secrets.

        Although Ohio Rev. Code § 1333.61(D), which defines a trade secret, contains nothing

addressing how "definite" the information constituting a "trade secret" must be, courts have made

clear that "a trade-secrets plaintiff must 'defin[ e] the information for which protection is sought

with sufficient definiteness to permit a court to apply the [statutory] criteria for protection ... and



11
  Because Doc. No. 376 is a renewed Rule 50 motion, only issues and arguments presented in the original motion
(Doc. No. 360) may be considered. See Fed. R. Civ. P. 50 advisory committee note to 2006 amendment. In Doc. No.
360-the original motion-Goodyear argued that four of these five trade secrets were among all of the trade secrets
that it characterized as "indefinite." (Doc. No. 360, at 4-9.)

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to determine the fact of an appropriation."' Caudill Seed & Warehouse Co. v. Jarrow Formulas,

Inc., No. 21-5345, 2022 WL 16846585, at *5 (6th Cir. Apr. 28, 2022)(quoting Restatement (Third)

of Unfair Competition§ 39 cmt. d) (applying the Kentucky Uniform Trade Secrets Act); see also

TLS Mgmt. & Mktg. Servs., LLC v. Rodriguez-Toledo, 966 F.3d 46, 53 (1st Cir. 2020) ("Courts

interpreting the [Act] have uniformly followed this requirement.") (citing cases). In fact, this Court

noted the same when, on November 21, 2019, it ordered Coda to "supply a 'closed' response to

Interrogatory No. 1, supplying sufficient specificity and description to permit defendants to know

what discovery will be relevant and what specific claims of trade secret misappropriation they

must defend against." (Doc. No. 82, at 7.) See also Caudill Seed, 2022 WL 16846585. at *5

("Reasonable particularity must be particular enough as to separate the trade secret from matters

of general knowledge in the trade or special knowledge of persons skilled in the trade." (internal

quotation marks and citations omitted)). 12




12
   In its opposition brief, Coda places great stock in Caudill Seed's affirmance of the denial ofa Rule 50(b) motion.
(Doc. No. 385, at 8-9 (citing Caudill Seed, 2022 WL 16846585, at *7, for the proposition that the jury's verdict on
liability will not be disturbed-regardless of claims that plaintiff presented "a constantly shifting trade secret .... ").)
But, as correctly noted by Goodyear, "Caudill [Seed] had real evidence of bona fide secrets-a poached employee
[Kean Ashurst] who stole thousands of physical R&D files and then implemented his former employer's specific
process for his new employer." (Doc. No. 387, at 8.) In fact, the district court in Caudill Seed described the trade
secrets that were stolen by Ashurst as "[a] significant body ofresearch and development relating to seeds and seed
extraction processes [that] had been developed by Caudill Seed prior to Ashurst's arrival at Caudill Seed and was
available to and utilized by Ashurst in his work for Caudill Seed." Caudill Seed & Warehouse Co. v. Farrow Formulas,
Inc., No. 3:13-cv-82, 2020 WL 3065626, at *1 (W.D. Ky. June 9, 2020). Importantly, the district court noted:
         During the years of his employment at Caudill Seed, Ashurst maintained crucial notes and formulas
         in stenographer's notebooks, a composition notebook, and on an external computer hard drive. He
         carefully guarded these items as they were the principal repositories for his task lists, thought
         processes and research results in his work for Caudill Seed. He kept the lab locked and generally
         inaccessible. The steno pads were locked in a file cabinet and the lab notebook and hard drive were
         either kept with Ashurst or were locked in the lab. To Caudill Seed's great regret, it entrusted most
         of the memorialization of its science solely to Ashurst.
Id., at *2. Caudill Seed bears no resemblance to the instant case where there was no compilation of Coda's alleged
trade secrets until after this case was filed. Certainly there is no evidence here of notebooks, computer hard drives,
locked cabinets, or locked labs. Hrabal's disclosures were entirely oral.

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        Case law is clear that one cannot claim as a trade secret an entire body of knowledge

without articulating "'at least the boundaries within which the secret lies."' Top Agent Network,

Inc. v. Zillow, Inc., No. 14-cv-4769, 2015 WL 10435931, at *2 (N.D. Cal. Aug. 6, 2015) (quoting

Diodes, Inc. v. Franzen, 260 Cal. App. 2d 244, 253 (1968)). "If a plaintiff 'effectively assert[s]

that all information in or about its [product] is a trade secret,' then it brings a case 'both too vague

and too inclusive,' and does not allow a jury to 'separate the trade secrets from the other

information that goes into any' product in the field." Caudill Seed, 2022 WL 16846585. at *5

(quoting !DX Sys. Corp. v. Epic Sys. Corp., 285 F.3d 581, 583-84 (7th Cir. 2002) (applying the

Wisconsin Uniform Trade Secrets Act)).

        That said, the Court further notes that the Ohio Supreme Court does recognize that a trade

secret may be articulated as a "combination" of components. In State ex rel. The Plain Dealer v.

Ohio Dep't of Ins., 687 N.E.2d 661, 674-75 (Ohio 1997), the court cited Anaconda Co. v. Metric

Tool & Die Co., 485 F. Supp. 410, 422 (E.D. Pa. 1980), which noted, in reliance on the Second

Circuit case of Imperial Chem. Indus. v. Nat'! Distillers and Chem. Corp., 342 F.2d 737, 742 (2d

Cir. 1965), that "a trade secret can exist in a combination of characteristics and components, each

of which, by itself, is in the public domain, but the unified process, design and operation of which,

in unique combination, affords a competitive advantage and is a protectable secret."

        This Court previously determined, after argument and briefing, that the question of

definiteness is one for the Court to make, ideally before the matter goes to the jury. (See Doc. No.

347, Defendants' Supplemental Brief on Definiteness Requirement; Doc. No. 348, Plaintiffs'

Response to Defendants' Supplemental Brief on Definiteness Issue; see also Doc. No. 353, Tr. at

173.) In this case, the Court made that determination as to five of Coda's seventeen alleged trade

secrets, not permitting them to go to the jury. (See Doc. No. 364, Tr. at 2644-50.) As to the
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remaining twelve, the Court expressed its continued concerns, but decided to reserve the matter

until after the jury delivered its verdict as to misappropriation. The jury concluded that Goodyear

had misappropriated TS 7, 11, 20, 23, and 24. (See Doc. No. 369, at 3.)

          The Court must now render a decision as to Goodyear's renewed challenge with regard to

the definiteness (or lack thereof) of these five trade secrets. If any individual trade secret is now

determined to be indefinite, the jury's verdict of misappropriation cannot stand as to that trade

secret.

          The Court will address the challenged trade secrets in the order that Goodyear's motion

addresses them.

          Trade Secret 24

          Coda articulated TS 24 as follows:

          Coda's knowledge regarding the optimal location for placement of a pump in a tire
          for tire manufacturers, namely, in the sidewall close to, and above, the rim where
          the tire cyclically deforms in response to deformation.

(Doc. No. 223-20, at 27.)

          This trade secret has the same problem as many of the others in that it claims that the secret

is "Coda's knowledge." Although the Court rejected several similarly phrased trade secrets, not

permitting them to go to the jury, the Court allowed for the possibility that the "namely" portion

of this trade secret might serve to render it more definite by specifying that the "optimal location"

was "in the sidewall close to, and above, the rim where the tire cyclically deforms[.]" But the

evidence at trial only served to show that this phraseology was anything but definite. Hrabal

himself offered numerous explanations for the meaning of this phrase.

          In its brief in opposition to Goodyear's renewed motion, Coda argues both that it must be

presumed that the jury followed the Court's instructions with respect to trade secret claims (Doc.
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No. 385, at 10-11 ) 13 and that the Sixth Circuit holds that"[ w ]hether information constitutes a trade

secret is a question of fact" (id. at 11, quoting AtriCure, Inc. v. Jian Meng, 842 F. App'x 974, 979

(6th Cir. 2021) (further citations omitted)). While both of these propositions are true, Coda

disregards entirely that the "definiteness" determination is one for the Court in the first instance, a

determination that this Court reserved as to several of Coda's trade secrets, including TS 24. (See

also Doc. No. 387, at 7 (challenging Coda's reference to the verdict as proof that its "secrets" were

adequately defined, and noting that this is a matter for the Court, not the jury).) Therefore, Coda's

arguments do not become operative until definiteness is first determined, and even then there must

be a "legally sufficient evidentiary basis enabling a reasonable jury to make" a finding that a trade

secret exists.

         Goodyear points out that, when Hrabal was questioned at trial about his 2007 PCT

application (Ex. P-466) and the 2008 Tire Technology article (Ex. D-058) regarding locating a

peristaltic pump in the tire sidewall close to, and above, the rim where the tire cyclically deforms

(for example, in the lug boss portion of the sidewall), Hrabal indicated that this was "public"

knowledge. (Doc. No. 356, Tr. at 625 ("Q. So locating a peristaltic pump in the tire sidewall near

the rim in an area where it cyclically deforms was not a trade secret? A. This is public.").) When

pressed about whether the lug boss is in the tire sidewall, Hrabal testified that it was. (Id., Tr. at

666 ("Q. The lug boss is in the tire sidewall, right? A. Lug boss is tire sidewall extension between

the tire and the rim. It's just--. Q. It's in the sidewall? A. It's part of the tire sidewall.").) In fact,




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  The Court instructed the jury at some length about trade secrets. It directed, inter alia, that the jury must find "that
Coda proved by a preponderance of the evidence that it possessed specific identifiable trade secrets[]" (Doc. No. 365,
Tr. at 2682), that "the information for which protection is sought [is defined] with sufficient definiteness to permit the
jury to apply the criteria for protection and to determine the fact of an appropriation[]" (id., Tr. at 2683), and that the
information was not "generally known or readily ascertainable" (id., Tr. at 2684).

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Hrabal contradicted himself many times on whether the lug boss is part of the sidewall. (Compare

Doc. No. 356, Tr. at 622-23 ("in the sidewall"), at 624 ("part of the tire sidewall"), at 642 ("part

of the tire sidewall"), with id. Tr. at 658 ("not in the sidewall," but rather "on" the sidewall); see

also id., Tr. at 661 (Court overruling plaintiff's counsel's objection to continued questioning of

Hrabal and noting: "The reason I was allowing it is because he keeps changing his answer. And

I'm not sure what his final answer is.").)

       In its brief in opposition to Goodyear's renewed motion, Coda challenges Goodyear's

"[c]it[ation] to snippets of the record[.]" (Doc. No. 385, at 14.) Coda claims that Hrabal's

testimony, taken as a whole, provides "no clear admission that would provide a basis for setting

aside the jury's verdict." (Id., citing Kusens v. Pascal Co., Inc., 448 F.3d 349, 360 (6th Cir. 2006)

("evidence must be construed most strongly in favor of the nonmovant").) Once again, Coda is

assuming that TS 24 was properly sent to the jury, having first passed the "definiteness" test. But

that determination was reserved by the Court and can be made now.

       Both here (see Doc. No. 385, at 14-16) and in its original response to Goodyear's Rule 50

motion, Coda insists that the lug boss portion of the sidewall about which Hrabal testified (and

upon which Goodyear relies) "is not in the sidewall that's referred to in trade secret 24." (Doc. No.

364, Tr. at 2559.) At trial, Coda's counsel argued that "Trade secret 24 is talking about a normal

standard sidewall like what's in [Figure] 2A [of the 2007 PCT]." (Id.) Elsewhere Coda argued that

"the sidewall [in TS 24] is a traditional sidewall. It doesn't say in the special addition to a sidewall

that's shown in the 2007 PCT." (Id., Tr. at 2561.) In its opposition brief, Coda claims that "Hrabal

made clear that a 'lug boss' is not part of a conventional tire sidewall." (Doc. No. 385, at 14-15.)

But the descriptive words "normal" or "standard" or "traditional" or "conventional" are not in TS

24. Furthermore, Coda itself has repeatedly described the lug boss as being part of the tire sidewall.
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(See, e.g., Ex. P-322, at 41-43; Ex. D-90, at 33-35.) It is this evidence, not counsel's arguments,

that are the focus of the Court's analysis.

        Elsewhere in the Rule 50 arguments relating to TS 24 that were made at trial, the Court

itself noted that there had been much discussion about the relationship between the optimal

location of the pump and prevention of rim crush. (Doc. No. 364, Tr. at 2614 ("For instance, the

one [TS 24] that we spent a lot of time talking about an hour ago was when we talked about the

location so that it would prevent rim crush. Well, so that it would prevent rim crush is not in [TS

24]. So that is why I thought it was essential, imperative that we know exactly what the trade secret

was with particularity so we wouldn't be sitting here saying, well, what does that mean?").)

        Thus, although Coda's opposition brief argues that this Court must credit the jury's

findings with respect to TS 24, the argument ignores the fact that, as to the threshold determination

on definiteness, the Court probably should not have sent TS 24 to the jury because, based on the

testimony at trial, Coda failed to meet its "burden of defining the information for which protection

is sought with sufficient definiteness to permit a court to apply the [statutory] criteria for protection

... and to determine the fact of an appropriation." TLS Mgmt. & Mktg. Servs., 966 F.3d at 53.

Rather, the testimony showed that the language of the trade secret was susceptible to too many

interpretations regarding the so-called "optimal location" and shed no light on which interpretation

might be the one Coda claimed as secret.

        The Court concludes that TS 24 does not meet the threshold requirement of definiteness

and should not have been sent to the jury-with the necessary result that the jury's verdict as to

TS 24 must be set aside. But even if this determination is incorrect, TS 24 was not "secret" and no

reasonable jury could have concluded otherwise on this record.



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        This Court allowed TS 24 to go to the jury on the chance that the "namely" portion of TS

24 might have sufficiently articulated something secret. But the record shows that Coda published

the "'namely' secret" in its 2007 PCT publication and Hrabal published it in his 2008 Tire

Technology article. (See Doc. No. 376, at 10-14 (marshaling the trial testimony revealing that TS

24 was not secret and had been repeatedly published).)

         In light of the above, Goodyear's Rule 50(b) motion as to TS 24 is granted and the jury's

verdict as to TS 24 is set aside.

        Trade Secret 7

        Coda articulated Trade Secret 7 as follows:

        Coda's design and development of a multi-purpose interface for transporting air in
        a self-inflating tire that can [1] connect to the air source, [2] connect to the tire
        interior, [3] connect to the peristaltic pump, [4] serve as an end to the peristaltic
        pump, [5] connect to the regulator, [6] carry the regulator, [7] go around or through
        the bead, [8] go around or through the tire layers, [9] click to the bead and [10]
        [hold] the filter.

(Doc. No. 223-20, at 25 (numbering added).)

        As argued by Goodyear, the "design" this trade secret references is in vague, functional

terms (i.e., an interface "that can" accomplish certain ends). But there is no detail as to how the

functions are to be carried out and, importantly, there is no articulation of the actual "design and

development" of any such interface that is the actual subject of the trade secret. "[D]isclosures that

only reveal the end results of, or functions performed by, the claimed trade secrets, and various

concepts, elements, or components that make up designs" do not satisfy the [definiteness]

requirement." UOP LLC v. Exterran Energy Sols., L.P., No. 4:21-cv-2804, 2021 WL 8016712, at

*1 (S.D. Tex. Sept. 28, 2021) (citation omitted).




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         In opposition, Coda argues that the jury could have credited Hrabal's explanation of the

"specific value of trade secret 7 ... [as] allow[ ing] for integration of separate functions in a single

unit." (Doc. No. 385, at 17 (citing Doc. No. 355, Tr. at 459).) That might explain its functional

value, but it sheds no light on how that fact would render the articulation of TS 7 "definite."

         Coda further argues in opposition that the UOP case cited by Goodyear is not binding and

is inapposite because it involved a motion to compel discovery. (Doc. No. 385, at 18.) 14 Coda

relies instead upon the recent Sixth Circuit decision in Caudill Seed, supra, which arose in the

context of a Rule 50(b) motion. With absolutely no explanation, Coda simply conclusorily asserts

that "Goodyear's challenge fails under Caudill, 2022 WL 16846585, at **6-7." (Doc. No. 385, at

18.) As explained, supra, the Court does not agree that Caudill Seed is sufficiently on point to

offer guidance as to the requisite definiteness (or lack thereof) of any of the trade secrets here,

including TS 7, which relates to the design and development of a multi-purpose interface. Nor

does the conclusory one-liner in Coda's brief shed any light on Coda's reasoning. In Caudill Seed,

the plaintiff had physical, concrete proof that went "beyond merely listing technical concepts" and

"had a collection of documents that showed 'the process from the seed all the way to the making

of [the product].'" Id. at *6. The Caudill Seed plaintiff was able to "establish that 'the combination

of known elements or components [in its asserted trade secret] [was] unique."' Id. at *5 (citation

omitted). There is no such evidence here.

         The Court concludes that TS 7 does not meet the threshold requirement of definiteness and

should not have been sent to the jury-with the necessary result that the jury's verdict as to TS 7



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   Coda also argues, oddly, that "even under the exacting standards for claiming an invention in a patent, the law
allows for use of functional language." (Doc. No. 385, at 18 n. 6 (citing 35 U.S.C. § 112(t)).) The claims tried to the
jury here did not involve patents. Even so, as Goodyear argues in its reply, "even§ 112(t) doesn't allow a patentee to
assert functional claims without specifying structure, like Coda tries to do here." (Doc. No. 387, at 13.)

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must be set aside. But even if this determination is incorrect, there is no evidence of use or

disclosure by Goodyear of a ten-function interface, and no reasonable jury could have concluded

otherwise on this record. 15 Coda's own expert, (Edward) Bryan Coughlin, testified only vaguely

about Ex. P-13 (U.S. Patent No. 8,852,371) as "list[ing] an interface where a filter and an air intake

system are able to draw air from the outside, pass it under the bead and into the tire cavity." (Doc.

No. 359, Tr. at 1638.) This testimony completely fails to identify all ten of the claimed functions

in Goodyear's supposedly offending patent.

         In light of the above, Goodyear's Rule 50(b) motion as to TS 7 is granted and the jury's

verdict as to TS 7 is set aside.

         Trade Secret 11

         Coda articulated Trade Secret 11 as follows:

        Coda's knowledge of how to design and develop self-inflating tire pump and
        groove solutions, consisting of [ 1] round pump tubing in an outward-facing groove
        with straight, angled interior geometry; [2] pump tubing with geometry that
        interlocks with its seat; [3] pump tubing with elliptical interior cross-section; [4]
        variant pump tube, groove and chamber dimensions, size and materials; [5] pump
        tube and groove design to minimize internal friction; [6] a "tubeless" pump
        solution, (i.e., a pump that may compose an integral part of tire); [7] cross-section
        designs that minimize stress on compression in order to improve durability; and [8]
        tubing with [reinforced] wall.

(Doc. No. 223-20, at 25 (numbering added).)

         TS 11 is another one that claims "knowledge" as a trade secret-"knowledge of how to

design and develop self-inflating tire pump and groove solutions." But the bulk of the trade secret

as articulated is no more than an undifferentiated list of components, which, as already noted,

cannot meet the definiteness requirement. UOP LLC, 2021 WL 8016712, at *I. And, to make


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  Goodyear also argues in its reply brief that TS 7 is not secret and the "Coda offers nothing to the contrary in its
opposition." (Doc. No. 387, at 13.) Presumably, Coda concedes this point.

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matters worse, some of those components are so vague as to be meaningless, e.g., claiming

knowledge of "variant pump tube, groove and chamber dimensions, size and materials[,]" but

without disclosing what the variant dimensions, variant sizes, and/or variant materials are; or

claiming "pump tube and groove design to minimize internal friction[,]" but failing to disclose

what that friction-minimizing design is.

              In opposition, Coda argues that TS 11 "concerned the vanous considerations for

designing the groove of a tube-in-groove-type self-inflating tire." (Doc. No. 385, at 20.) It claims

that Goodyear's arguments fail because the jury "was properly instructed and found against

Goodyear on trade secret 11." (Id.) Again this jumps ahead of the threshold analysis of

definiteness.

           Coda asserts that TS 11 is not indefinite because it "listed at least eight specifics that

comprise Coda's knowledge." (Id.) In support of this argument that these "eight specifics" make

TS 11 definite, Coda points to Hrabal's testimony regarding "a key hurdle he overcame-the

problem of the pump tube 'walking away."' (Id. at 20-21, quoting Doc. No. 355, Tr. at 433-35;

458-59.) But TS 11 contains no mention that this particular combination (or choice) of components

solves the "walking away" problem. If Coda was trying to claim as a trade secret its solution to

the "walking away" problem, it failed to articulate that in TS 11. In fact, Coda actually included

that "secret" in TS 12, which it withdrew before trial. 16




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     TS 12 stated:
           Coda's knowledge regarding the pitfalls of pump tubes of the self-inflating tire "walking away"
           from their seats during tire rotation, and the need for interlocking structures to prevent it from
           happening.
(Doc. No. 223-1, Declaration of David M. Maiorana, at 25.)

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        Coda also argues that Hrabal offered plenty of proof that TS 11 was "secret." Coda points

to Hrabal's testimony regarding his "great efforts to preserve the secrecy of his technology[.]"

(Doc. No. 385, at 20 (citing its argument relating to TS 7, which cited Doc. No. 355, Tr. at 369-

94, 452,540, 542).) But these types of broad references to Hrabal's testimony regarding the alleged

secrecy of his "technology" do not suffice to pinpoint evidentiary proof as to the secrecy of TS 11

in particular.

        In reply, Goodyear correctly notes that the "secret" in TS 11 is "knowledge of how to

design and develop self-inflating tire pump and groove solutions, consisting of' a combination of

eight elements or components. (Doc. No. 387, at 16.) Coda does not actually articulate the

"knowledge" and, importantly, it makes no showing that the eight-part combination was not

generally known or readily ascertainable in 2009.

        The Court concludes that TS 11 does not meet the threshold requirement of definiteness

and should not have been sent to the jury-with the necessary result that the jury's verdict as to

TS 11 must be set aside. But even if this determination is incorrect, there is neither evidence of

secrecy on Hrabal's part nor of use/disclosure by Goodyear of Hrabal's eight-element solution,

and no reasonable jury could have concluded otherwise on this record. Nor does Coda refute

Goodyear's argument that Hrabal testified that he disclosed only one of the eight elements in TS

11 (the second one) and also admitted that this one element was in his prototype. (See Doc. No.

355, Tr. at 433-34.)

        In light of the above, Goodyear's Rule 50(b) motion as to TS 11 is granted and the jury's

verdict as to TS 11 is set aside.




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       Trade Secret 20

       Coda articulated Trade Secret 20 as follows:

       Coda's knowledge of how to design and develop self-inflating tire systems with
       circulating and non-circulating pump variations comprised of [1] the disclosure of
       technical information through observations and descriptions of the three-way valve
       regulator and explanations of the function and air-paths for the states of
       recirculation and inflation; [2] closure elements related to recirculation systems and
       a pressurized air reservoir that would permit the storage of air within the system
       without the need to engage the pump tube with each tire revolution; [3] recirculation
       at different pressures, such as ambient pressure; [4] recirculation through various
       paths, such as through the tire, the atmosphere and the pump tube; [5] the safety
       benefit of recirculating around the pump tube isolated from the tire cavity; [6] a
       check valve on intake (between the pump tube and the atmosphere) to only permit
       air in when pressure in the pump tube falls below atmospheric pressure; and [7] a
       check valve on output, (between the pump tube and tire interior) to only allow air
       into the tire when pressure in the pump tube exceeds the tire pressure.

(Doc. No. 223-20, at 26 (numbering added).)

       Again we have a trade secret claiming protection for "knowledge of how to design and

develop" something, with no disclosure of what that knowledge is and/or what the design or

development is. Although the trade secret lists seven components, it does not disclose how they fit

together (i.e., how they are designed) to create "self-inflating tire systems with circulating and

non-circulating pump variations[.]" Moreover, as outlined in Goodyear's motion (Doc. No. 376,

at 18-19), the testimony of neither Hrabal nor Coughlin sheds any clarifying light on the subject.

       Coda's brief in opposition offers no argument as to why TS 20, as articulated, is definite.

It merely outlines all the testimony from which the jury could find misappropriation and states

"the jury resolved [the definiteness] question against Goodyear after being properly instructed."

(Doc. No. 385, at 23.) Again Coda is ahead of the analysis.

       Coda argues that TS 20 "concerns the design considerations for constructing the overall

SIT assembly for a self-inflating tire." (Doc. No. 385, at 21.) But that is not what TS 11 says.


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Goodyear in its reply aptly points out (with reference to its motion, Doc. No. 376, at 18) that "Coda

skirts the myriad questions raised by its own description." (Doc. No. 387, at 17 (identifying several

questions: "what information? . . . what observations, made by whom? . . . what are these

descriptions? ... what functions and air-paths?" ... what different pressures? ... what various

paths? ... what safety benefit did it provide?").) Coda argues that these questions "trade[] rhetoric

for evidence." (Doc. No. 385, at 23 (citing Doc. No. 355, Tr. at 451: 10-23).) The Court fails to

see how Hrabal's cited testimony (quoted in full below) has any evidentiary value:

       Q.      . .. Trade secret 20 is Coda's knowledge of how to design and develop self-
               inflating tire systems with circulating and non[-]circulating pump
               variations, comprised of the disclosure of technical information through
               observations and descriptions of the three-way valve regulator, and
               explanations of. And then it lists a number of bullet points of technical items
               that were related to the regulator.

               Do you agree with that?

       A.      Yes.

       Q.      Okay. And does this relate to these specifics [sic] technical items in relation
               to your three-way valve regulator?

       A.      Yes.

(Doc. No. 355, Tr. at 451.)

       The Court concludes that TS 20 does not meet the threshold requirement of definiteness

and should not have been sent to the jury-with the necessary result that the jury's verdict as to

TS 20 must be set aside. But even if this determination is incorrect, there is neither evidence of

secrecy on Hrabal's part nor of use/disclosure of TS 20 by Goodyear, and no reasonable jury could

have concluded otherwise on this record. As Goodyear pointed out in its reply, any effort by Coda

to rely on disjointed testimony regarding some-but not all-of the seven required elements of TS

20 (see Doc. No. 385, at 22-23) is insufficient to prove secrecy as to the entire combination. See
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Caudill Seed, 2022 WL 16846585, at *5 ("[T]he plaintiff must establish that 'the combination of

known elements or components is unique.' ... Because all of a combination trade secret's elements

may individually be publicly known, the uniqueness of the combination is critical to establishing

trade-secret protection."). In addition, there is no evidence that Hrabal disclosed the entire

combination of elements to Goodyear, nor is there evidence that Goodyear used that

combination. 17

         In light of the above, Goodyear's Rule 50(b) motion as to TS 20 is granted and the jury's

verdict as to TS 20 is set aside.

         Trade Secret 23

         Coda articulated Trade Secret 23 as follows:

         Coda's development of a functional self-inflating tire as demonstrated by the test
         results confirming that the tire pump can generate pressure higher than the pressure
         in the tire cavity, through [1] the test results showing that the pump placed on the
         tread could generate 6.5 absolute atmospheres of pressure (5.5 relative
         atmospheres); [2] the test results showing that the tube-in-groove pump of the
         prototype could generate 3 .3 absolute atmospheres of pressure; and [3] test results
         that demonstrated that the Flap Tubes could generate 1 relative atmosphere of
         pressure.

(Doc. No. 223-20, at 27 (numbering added).)

         Goodyear's current motion makes no specific argument that TS 23 is indefinite, nor did it

make any such argument in its original motion. (See Doc. No. 360, at 4.) The Court, therefore,

assumes there is no challenge to definiteness as to TS 23 and will, therefore, not reconsider its




17
   Coda claims that "Goodyear used both the dead space and the recirculation concepts in its patents and AMT
project." (Doc. No. 385, at 22 (citing portions ofHrabal's testimony).) But use of one or two elements is not proof of
use of the entire combination. As aptly noted in Goodyear's reply, that would be "just like saying that using carbonated
water is enough to misappropriate the secret formula for Coca-Cola." (Doc. No. 387, at 19.)

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original decision to send TS 23 to the jury. That said, Goodyear also raises three substantive

challenges to the jury's verdict on TS 23, which the Court now addresses.

       In Goodyear's first and third arguments, it asserts that Coda's only evidence of "use" by

Goodyear is an email from Hrabal (Ex. P-4 71 ), following the January 2009 meeting, that disclosed

a single test result (i.e., achieving 6.5A pressure with the prototype) (Doc. No. 376, at 20), and

that, in any event, this test result does not even match the prototype test result in TS 23 (i.e., 3.3A

pressure) and leaves out the other two "secret" test results (id. at 21). Goodyear asserts that

Coughlin never testified that Goodyear did anything with this information (Doc. No. 376, at 20

(citing Doc. No. 359, Tr. at 1639-40)), and that Hrabal had no knowledge of Goodyear ever

disclosing this test result email to anyone (id. (citing Doc. No. 356, Tr. at 598)).

       In opposition, Coda argues that there were "numerous other inferences" (besides

Coughlin's testimony) regarding Coda's testing results-that must be weighed in Coda's favor-

from which the jury could have reasonably inferred that Goodyear "relied heavily on Coda's

testing data." (Doc. No. 385, at 24 (citing Ex. P-425, at 3-4; Ex. P-202; Doc. No. 357, Tr. at 943;

Doc. No. 361, Tr. at 1892.) The Court sees little to no support in any of Coda's record references.

Nor does Coda make a convincing argument that the lack of "match" between the test results is

irrelevant, since, according to Coda, "it is plain that Goodyear relied on Coda's testing data." (Id.)

This is merely argument, without supporting evidence.

        Goodyear's third argument is that Hrabal's post-January 2009 meeting email was not

marked "confidential," which the non-disclosure agreement between the parties required in order

that information be protected. (Doc. No. 376, at 20-21 (citing Ex. P-585 at~ 8).) Goodyear claims

that this also "shreds" any claim of secrecy. (Id.)



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          In opposition, Coda unconvincingly asserts that the email "was plainly shared in

connection with the parties' discussions under the non[-]disclosure agreement, and the OUTSA

does not require such markings to establish secrecy." (Doc. No. 385, at 24 (citations omitted).)

Coda has consistently relied upon the non-disclosure agreement and it cannot now disregard one

of its key requirements.

          All that said, it appears clear that TS 23 actually reveals no secret at all. Testimony shows

that the concept of a self-inflating tire was not new when Coda and Goodyear engaged in

conversations in 2009. TS 23 is merely a bald declaration that Coda developed such a tire that is

"functional." Coda's attempts to confirm that success by making reference to certain test results

does not convert TS 23 into a trade secret and Coda does not argue that these testing results

themselves are the trade secret.

          In light of the above, Goodyear's Rule 50(b) motion as to TS 23 is granted and the jury's

verdict as to TS 23 is set aside.

III.      Remittitur of Jury's Award of Punitive Damages

          Having determined that Goodyear is entitled to judgment as a matter of law as to liability

for Coda's claims as to Trade Secrets 24, 7, 11, 20 and 23, it follows that the jury's award of

damages, including punitive damages, must be set aside as well. But even if defendants were not

entitled to judgment on liability as to each remaining trade secret, the Court would be required to

reduce the jury's $61.2 million award of punitive damages under Ohio law. 18


18
   Goodyear also argues that the entire punitive damages award should be set aside because Coda failed to prove actual
malice. (Doc. No. 376, at 22.) Although the Court need not address this issue because it has determined that Goodyear
is entitled to judgment as a matter of law on the merits of the remaining trade secrets, the Court finds that if any of the
trade secrets had been definitive enough to be presented to the jury then there would have been sufficient evidence
presented to the jury to support the jury's finding of actual malice in this case. (E.g., Doc. No. 356, Tr. at 599 (Hrabal's
testimony that Goodyear took photos of his prototype without his permission); Ex. P-407 at 2 (internal Goodyear
document saying to "make the best product and worry about the IP later.").)

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        Ohio Rev. Code § 1333.63(B) explicitly limits any award of punitive damages for the

misappropriation of trade secrets to "an amount not exceeding three times" the compensatory

damages award. Plaintiffs ask this Court to ignore this explicit Ohio statutory damages cap, and

controlling Ohio Supreme Court case law, and instead hold Section 1333.63(B) unconstitutional.

This Court must follow Ohio law in this case and the Court is not convinced that Section

1333.63(B) is unconstitutional on its face or as applied under either the Ohio Constitution or the

United States Constitution.

        Plaintiffs admit that Ohio Supreme Court precedent has upheld the constitutionality of

punitive damages caps. Arbino v. Johnson & Johnson, 880 N.Ed.2d 420, 441 (Ohio 2007)

("[P]recedent conclusively establishes that regulation of punitive damages is discretionary and that

states may regulate and limit them as a matter oflaw without violating the right to a trial by jury.").

The Ohio Supreme Court recently heard an as-applied challenge to another damages cap. Brandt

v. Pompa, No. 2021-0497, 2022 WL 17729469 (Ohio Dec. 16, 2022). In holding that that

compensatory-damages cap for noneconomic losses was unconstitutional as applied to child

victims of sexual abuse, to the extent it fails to include an exception for victims who have suffered

permanent and severe psychological injuries, the Ohio Supreme Court distinguished but did not

overrule Arbino or otherwise comment on statutory caps to punitive damages. Brandt, 2022 WL

17729469, at 6-10. 19 As such, Section 1333.63(B) remains good law, as does the Ohio Supreme

Court precedent upholding caps on punitive damages.

        Further, the Supreme Court of the United States has recognized the constitutionality of

caps on punitive damages awards. E.g., Cooper Indus., Inc. v. Leatherman Tool Grp., Inc., 532


19
  See also Doc. No. 389, Defendants' Notice of Subsequent Authority (citing Brandt); Doc. No. 390, Plaintiffs'
Response to Notice of Supplemental Authority.

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U.S. 424, 433, 121 S. Ct. 1678, 149 L. Ed. 2d 674 (2001). Moreover, it is "grossly excessive"

punitive damages that the Supreme Court has found can be unconstitutional. BMW of N. Am. v.

Gore, 517 U.S. 559, 568, 116 S. Ct. 1589, 134 L. Ed. 2d 809 (1996). The Supreme Court has

instructed courts reviewing punitive damages to consider three guideposts, including "the disparity

between the actual or potential harm suffered by [the plaintiff] and [the] punitive damages award."

Id. at 575. Although the Court has "decline[d] ... to impose a bright-line ratio which a punitive

damages award cannot exceed[,]" its "jurisprudence and the principles it has now established

demonstrate ... that, in practice, few awards exceeding a single-digit ratio between punitive and

compensatory damages, to a significant degree, will satisfy due process." State Farm Mut. Auto

Ins. Co. v. Campbell, 538 U.S. 408, 424-25, 123 S. Ct. 1513, 155 L. Ed. 2d 585 (2003). Here, the

jury's award of punitive damages ($61.2 million) was more than 21 times its award of

compensatory damages ($2.8 million), which suggests this Court would be required to reduce the

jury's award of punitive damages even without Ohio's statutory cap.

         Thus, even if defendants were not entitled to judgment on liability as to each remaining

trade secret, the Court would be required under Ohio law to reduce the jury's award of punitive

damages to $8.4 million.

IV.      Conclusion

         Upon revisiting the question of the definiteness of Coda's articulation of Trade Secrets 24,

7, 11, and 20, the Court concludes that none of them meets this threshold requirement and none of

them should have been sent to the jury. In any event, Goodyear was also entitled to judgment as a

matter of law under Rule 50(a) on the merits of Coda's claims as to Trade Secrets 24, 7, 11, 20

and 23, and is also now entitled to judgment notwithstanding the verdict under Rule 50(b ). As a

result, the jury's verdicts are set aside, including any verdicts with respect to damages.
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       This ruling resolves Count Four of the first amended complaint entirely in Goodyear's

favor. The Court will issue a separate ruling with respect to plaintiffs' equitable claims in Counts

One, Two and Five, Count Three having already been voluntarily dismissed by the parties.

       IT IS SO ORDERED.

 Dated: March 31, 2023                                ~        oe..:·
                                                HONORABLE'"s!ARA LIOI
                                                UNITED STATES DISTRICT JUDGE




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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


    CODA DEVELOPMENT s.r.o., CODA                            )        CASE NO. 5:15-cv-1572
    INNOVATIONS s.r.o., and FRANTISEK                        )
    HRABAL,                                                  )
                                                             )
                                                             )
                             PLAINTIFFS,                     )        JUDGE SARA LIOI
                                                             )
    vs.                                                      )        FINDINGS OF FACT,
                                                             )        CONCLUSIONS OF LAW,
    GOODYEAR TIRE & RUBBER                                   )        AND ORDER
    COMPANY and ROBERT BENEDICT,                             )
                                                             )
                                                             )
                             DEFENDANTS.                     )


            This matter is before the Court for findings of fact and conclusions oflaw pursuant to Fed.

R. Civ. P. 52(a)(l) on the claims of plaintiffs, Coda Development s.r.o., Coda Innovations s.r.o.,

and Frantisek Hrabal ("Hrabal") (collectively, "Coda" or "plaintiffs"), for correction of

inventorship under 35 U.S.C. § 256 1 and on the affirmative defense of laches asserted by

defendants Goodyear Tire & Rubber Co. and Robert Benedict ("Benedict") (collectively,

"Goodyear" or "defendants").




1
  Specifically, plaintiffs' remaining equitable claims include Count One for correction ofinventorship of U.S. Patent
8,042,586 ("the '586 Patent") (see Doc. No. 53, First Amended Complaint, ,r,r 113-26), Count Five for declaratory
relief (id. ,r,r 180-83), and the request for an injunction (id., Prayer for Relief). Plaintiffs affirmatively abandoned
Count Two-the joint inventorship claim regarding U.S. Patent 8, 113,254-in light of the jury's verdict with regard
to trade secret numbers 1 and 2. (See Doc. No. 378, at 7 n.1.) That verdict has not been disturbed by any of the Court's
post-trial rulings. Therefore, the Court acknowledges Coda's abandonment and dismisses Count Two with prejudice.
Except for trial transcripts, all page number references herein are to the consecutive page numbers applied to each
individual document by the Court's electronic filing system, a practice recently adopted by the Court (which differs
from the directives in the Initial Standing Order (Doc. No. 19)). Because the various volumes of trial transcripts are
consecutively numbered from page 1 to page 2804, rather than citing to any individual transcript's page number
applied by the electronic filing system, the Court will instead cite to the actual transcript page number(s) applied by
the court reporters.




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         The parties filed briefs on the remaining equitable claims and defenses. (See Doc. No. 378,

Plaintiffs' Opening Brief on Equitable Claims; Doc. No. 380, Defendants' Brief in Opposition to

Plaintiffs' Equitable Claims; Doc. No. 384, Plaintiffs' Reply Brief in Support of Its Equitable

Claims; Doc. No. 377, Defendants' Memorandum in Support of Their Affirmative Defense of

Laches; Doc. No. 381, Plaintiffs' Brief in Opposition to Defendants' Affirmative Defense of

Laches; Doc. No. 386, Defendants' Reply in Support of Their Affirmative Defense of Laches.)

These matters are now ripe for resolution.

I.       SUMMARY BACKGROUND

         In August 2015, Coda filed this lawsuit against Goodyear, alleging theft of twenty-seven

trade secrets and seeking correction of inventorship of certain of Goodyear's patents, as well as

various forms of equitable relief. During discovery, Coda withdrew misappropriation allegations

as to ten of its trade secrets, reducing the number of alleged misappropriated trade secrets to

seventeen. 2

         A jury trial was conducted in September 2022, as to the trade secrets claim-Count Four

of the first amended complaint (Doc. No. 53 ~~ 149-79). After the parties rested, the Court found

that five of the alleged trade secrets were not definite enough to go to the jury. (See Doc. No. 364,

Transcript ["Tr."] at 2644-50.) Of the twelve allegedly misappropriated trade secrets that were



2
  Because Coda's disclosure took place entirely orally, Goodyear had moved early on for an order directing Coda to
articulate a "closed list" of alleged trade secrets that it had allegedly disclosed, so as to ward off attempted modification
of the trade secrets as the case proceeded through discovery and trial preparation. This was not an unfounded fear; in
fact, three months after this case commenced, in Coda's November 9, 2015, opposition to Goodyear's motion to
dismiss, which argued in part that the complaint was not sufficiently specific, Coda simply argued that "Goodyear
knows what it took and knows full well how Coda's secrets were incorporated into its patents[.]" (Doc. No. 23,
Plaintiffs' Opposition, at 7.) In light of this apparent strategy of evasiveness on Coda's part, the Court granted
Goodyear's request for a "closed list." (See Minute Order (non-document), dated 11/1/2019; Doc. No. 82,
Memorandum Opinion and Order.) Coda first listed twenty-seven secrets (see Doc. No. 223-20, Coda's Supplemental
Responses to Defendants' First Set of Interrogatories, at 24-27) but, by the time of trial had withdrawn ten and
proceeded with only seventeen (see Doc. No. 223-1, Email from Scott Richey to Calvin Griffith dated 2/3/2021).

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sent to the jury, 3 the jury rendered verdicts in favor of Coda and against Goodyear on only five,

and it awarded Coda both compensatory and punitive damages. After the jury's verdicts were

delivered, Goodyear renewed its motion under Fed. R. Civ. P. 50(b) for judgment as a matter of

law under Fed. R. Civ. P. 50(a) as to plaintiffs' trade secrets misappropriation claim. The Court

has now, by separate memorandum opinion and order, resolved in defendants' favor the renewed

Rule 50(b) motion for judgment as a matter of law relating to that claim, setting aside the jury's

verdicts in all respects. (Doc. No. 392.)

         Therefore, the only substantive claim remammg 1s Count One for correction of

inventorship under 35 U.S.C. § 256 as it relates to Goodyear's '586 Patent, which the Court had

scheduled for a bench trial after the jury trial on plaintiffs' trade secrets misappropriation claim.

Plaintiffs subsequently informed the Court that "no further trial proceedings are required and that

Coda's equitable claims can be decided through briefing[.]" (Doc. No. 371, Notice as to

Inventorship Claims and Request to Cancel Scheduled Bench Trial, at 1.) Defendants were in

agreement (id.) and the Court approved that plan (see Doc. No. 372, Order).

         In its briefing, Coda alleges that Hrabal, not the named inventors Robert Allen Losey

("Losey") 4 and/or Robert Leon Benedict ("Benedict"), is "the rightful sole inventor of the '586

[P]atent." (Doc. No. 378, at 8.) Coda claims that Hrabal "conceived of the novel feature of the '586

Patent, which is the placement of a peristaltic tube in a sidewall groove such that the tube is closed

by the sidewall compressing itself." (Id.) Coda argues that "an order should issue to the Director

of the United States Patent and Trademark Office to correct the inventorship of the '586 Patent,


3
  For these twelve alleged trade secrets, the Court expressly reserved its right to revisit the legal issue of definiteness,
as well as other issues raised in Goodyear's Rule 50 motions. (Tr. at 2650-51.)
4
 Losey was originally a named defendant but was voluntarily dismissed by Coda on February 1, 2021. (See Doc. No.
217, Agreed Motion and Stipulation for Partial Dismissal, at 1 (also dismissing the third cause of action).)

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naming Mr. Hrabal as the sole inventor." (Id. at 9.) In the alternative to correction of inventorship,

Coda asserts that "the Court should equitably assign ownership of the '586 Patent to Coda." (Id.)

Finally, Coda asserts that, in any event, "this Court should enjoin Goodyear" in various ways or

grant Coda "a reasonable royalty for any use by Goodyear of [Coda's] trade secrets." (Id.)

         Goodyear asserts an affirmative defense oflaches, arguing that "Coda unreasonably waited

years to press its claims against Goodyear[,] ... caus[ing] immense prejudice to Goodyear and to

the judicial system [because] [p ]ercipient witnesses died, unrecorded and uncorroborated secrets,

allegedly orally transferred to Goodyear in 2009, were asserted as fact 13 years after their alleged

transmission, leading to a trial that was conducted not on what secrets (if any) were actually

conveyed orally in 2009, but on alleged secrets crafted by investors and lawyers after this lawsuit

was filed in 2015." (Doc. No. 377, at 5 (footnote omitted; emphasis in original).) 5

         After considering the witness testimony during the jury trial and the admitted documentary

and physical evidence, the Court makes its findings of fact and conclusions oflaw pursuant to Fed.

R. Civ. P. 52(a). These findings of fact and conclusions oflaw represent the Court's consideration

of the evidence in light of the pertinent law, as well as the Court's consideration and evaluation of

the witnesses' qualifications, demeanor, and credibility. Further, any conclusion of law that may

be construed to include a finding of fact is hereby adopted as a finding of fact (and vice versa).

Finally, if a finding of fact or conclusion of law is pertinent to any determination other than that

indicated by the heading under which it appears, it is deemed adopted as a finding of fact or


5
  Goodyear asserts this affirmative defense as to all of Coda's claims (including misappropriation of trades secrets).
In light of the Court's ruling herein, as well as its ruling on Goodyear's renewed Rule 50(b) motion, laches need not
be addressed. That said, the Court finds merit in Goodyear's assertion of this defense. Coda claims Hrabal orally
disclosed his secret SIT technology to Goodyear in 2009. Although Coda learned of Goodyear's own SIT program
(called AMT) in December 2009 and further learned of Goodyear's supposedly offending patents no later than August
2011, it waited until August 2015 to file this lawsuit. Goodyear asserts, correctly in this Court's view, that "Coda
intentionally, and unreasonably, delayed asserting its claims, to Goodyear's prejudice." (Doc. No. 377, at 6.)

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conclusion of law applicable to such other determination or determinations as may be appropriate

See Reznick v. Provident Life & Acc. Ins. Co., 364 F. Supp. 2d 635, 636 (E.D. Mich. 2005).

II.      PRELIMINARY MATTER: NEW EXHIBITS

         One preliminary matter must be addressed before the Court begins its analysis and renders

its decision on Coda's remaining claim.

        Although the parties and the Court had already agreed to a briefing schedule (see Minute

Order (non-document), dated 9/22/2022, setting October 13, 2022, as the date for opening briefs)

following plaintiffs' unopposed request to forgo the bench trial on the inventorship claim, on

September 29, 2022, plaintiffs filed, without leave, a document styled "Bench Memorandum on

Inventorship Claims" (Doc. No. 373). Attached to this bench memorandum were an affidavit of

Hrabal (Doc. No. 373-1) and four exhibits (Ex. P-1126, Ex. P-1127, Ex. P-1128, and Ex. P-1129).

In his declaration, Hrabal attests that the four exhibits were various pieces of correspondence

exchanged between him and MPR. 6 Coda now wishes to include them in the record for the Court

to consider as corroboration of Hrabal's conception of the invention in the '586 Patent.

         Plaintiffs assert that, although they do not technically need these exhibits as proof (because

Hrabal's testimony from the jury trial will be sufficient), it is within this Court's discretion to

consider these exhibits, which were not presented at trial because they were not relevant to the

trade secret claims. (Doc. No. 373, at 1-2 (citing cases).) With respect to why the exhibits were

not presented at trial, plaintiffs are correct; but defendants importantly argue in opposition that

these four exhibits should not be admitted or considered because they were never produced during



6
 MPR was a company that Hrabal worked with beginning in the summer of 2009, and eventually hired in or around
November 2009, to help him develop a technical market analysis for his SIT technology. (See generally Doc. No. 355,
Tr. at 342, et seq.) MPR created a report that was admitted at trial. (See, Ex. P-910, Self Inflating Tire Technical
Market Analysis.)

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discovery in response to Goodyear's interrogatory that requested evidence of Hrabal's alleged

conception of the '586 Patent. (Doc. No. 380, at 4.)

       Plaintiffs have not refuted this assertion in their reply brief. Plaintiffs argue only that

Goodyear can claim no "surprise" or "unfair prejudice" because it was Goodyear who subpoenaed

these documents from MPR, noticed its deposition and then canceled it, and that it was Goodyear

who examined Hrabal (at his deposition and at trial) about his engagement ofMPR, but chose not

to present the documents at trial. (Doc. No. 384, at 13.)

       Coda's arguments are unavailing. If Coda wanted these documents to be part of the record

in support of its inventorship claim, Coda should have proceeded with the bench trial or sought

leave to admit the documents before it asked the Court to cancel the bench trial. At the very least,

it should have advised Goodyear of its intent to present these exhibits before Goodyear agreed to

submit the inventorship Claim to the Court on briefing based upon the jury trial record. By

proceeding as it did, Coda has denied Goodyear the opportunity to cross-examine Hrabal or anyone

from MPR who may have been called to testify regarding the documents. Coda, having waived

the opportunity for a bench trial where it could have presented testimony regarding these

documents, now unfairly prejudices Goodyear in asking the Court to consider them without giving

Goodyear the opportunity to cross-examine anyone on the issue of inventorship regarding the

documents.

       Moreover, even if the Court were to consider Hrabal's affidavit and the four exhibits, they

add nothing to the merits of the case. The exhibits reflect no more than back-and-forth emails

between Coda and MPR discussing the contours of a possible market analysis to be performed by

MPR. They do not show that Hrabal conceived of "a definite and permanent idea of an operative

invention, including every feature of the subject matter sought to be patented." Sewall v. Walters,
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21 F.3d 411, 415 (Fed. Cir. 1994) (citation omitted). In fact, the documents refer to several

"options" or methods of "implement[ing]" the self-inflating features into a tire: "molded into the

tire," "integrated into the rim," "independent device," and "integrated during retread." (Doc. No.

373-2, at 3.) These documents would not corroborate Hrabal's claim of inventorship. They would

do no more than show that Hrabal, (or perhaps someone else, as it is not clear who came up with

the options), like others (including Goodyear), was thinking about different ways to create a self-

inflating tire. They do not corroborate anything close to conception or invention (either in general

or particularly as to the '586 claims) by Hrabal. (See also infra n.11.)

         Accordingly, the Court will disregard Doc. Nos. 373-1, 373-2, 373-3, 373-4, and 373-5

when considering the issue before it.

III.     SUMMARY CONCLUSION

         Due to the complexity and detail set forth below, the Court includes at this juncture a

summary of its ultimate findings and conclusions. The Court believes this summary overview will

assist the reader's understanding of the significance of any individual finding and/or conclusion

set forth herein.

         Coda claims that Hrabal invented what Goodyear ultimately patented in the '586 Patent;

Coda is asking that Hrabal be declared the inventor of that patent. As will be set forth below, in

order to prevail on this claim, Coda must establish by clear and convincing evidence that, before

December 21, 2009, Hrabal conceived a definite and permanent idea of the complete and operative

inventions claimed in the '586 Patent, including every feature or limitation of the claimed

inventions. If Coda fails as to any one feature or any one limitation, it cannot prevail on its

inventorship claim.



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         The '586 Patent contains two independent claims-Claim 1 and Claim 18-which contain,

respectively, the following limitation relating to the optimal location of the "tube-in-groove

pump":

         a sidewall groove positioned within the compression side of the neutral axis of the
              one said bending region of the first tire sidewall [Claim 1], and

         a sidewall groove extending into an outward facing side of the sidewall and
             positioned within the compression side of the neutral axis of the one said
             bending region of the first tire sidewall [Claim 18].

The Court finds that these are saliant features of the invention, particularly as it pertains to the

issues in this case.

         Coda claims to have conceived this optimal location, but as will be set forth below,

Hrabal's optimal location (if it can even be discerned on this record) is not the same as the optimal

location claimed in the '586 Patent, as made evident by the credible and convincing testimony of

defendant Benedict. In fact, Hrabal' s claimed optimal location (described by him in terms of a

"scissor effect" where placing the pump closest to the neutral axis-i.e., the fulcrum-is optimal)

is actually the opposite of what is claimed in the limitations quoted above (which require placement

as far away from the neutral axis as possible).

         As a result of Coda's failure to establish that Hrabal conceived of these saliant features of

the two independent claims of the '586 Patent, the Court need not examine any other claims of the

patent (although it finds that Coda has similarly failed to prove conception by Hrabal of the other

claims, as well), as Coda cannot prevail on its claim of inventorship.




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IV.      FINDINGS OF FACT

         In preface, the Court notes that, had the jury's verdict withstood Goodyear's Rule 50(b)

motion, the Court would have been constrained by any relevant fact-finding of the jury when

deciding the instant equitable matters. Kitchen v. Chippewa Valley Sch., 825 F.2d 1004, 1014 (6th

Cir. 1987) ("[W]hen a party has a right to a jury trial on an issue involved in a legal claim, the

judge is ... bound by the jury's determination of that issue as it affects his disposition of an

accompanying equitable claim." (citations omitted)).

         Because this Court has set aside the jury's verdicts, any fact-findings are now within the

Court's province to make with respect to the remaining correction of inventorship claim.7 See

Hanna v. Cnty. of Wood, Nos. 88-3893/88-4057/88-4084, 1990 WL 8721, at *4 (6th Cir. Feb. 6,

1990) (concluding that the district court remained bound, in deciding the equitable issues, by the

jury's findings on the legal issues because the district court had improperly set aside those findings

on a Rule 50(b) motion when defendant had failed to comply with the rule's requirements-

suggesting that if the Rule 50(b) motion had been properly granted, the district court would no

longer have been bound by the jury's factual findings).

         As noted, plaintiffs decided (and defendants agreed) to forgo the bench trial on this claim.

In light of that fact, and having set aside the jury's verdicts, the Court must make its own findings

of fact based on the trial record as it stands.




7
 To the extent Coda bases its arguments with respect to the inventorship claim on the fact that the jury returned certain
verdicts in its favor, because all those verdicts have been set aside, such arguments are summarily rejected. (See Doc.
No. 384-1, Plaintiffs' Objections and Responses to Defendants' Proposed Findings of Fact on Plaintiffs' Equitable
Claims, passim.)

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                                                    A px00040
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          A.      U.S. Patent No. 8,042,586 (the '586 Patent)

          1.      Defendant Benedict credibly testified at trial that, prior to meeting with Coda in

2009, he had been interested in self-inflating tires "since [the] early 2000s," that he "had been

doing research in the background for quite some time[,]" and "it was something [he] had a long

interest in. [He] did a lot of background research." (Doc. No. 361, Tr. at 1830.) 8

          2.      In December 2008, Benedict authored a presentation titled "Self Inflating Tires."

The presentation documents Benedict's pre-2009 research on self-inflating tire technology,

including Coda's publicly available information. (Ex. P-389.)

          3.      When Benedict testified at trial about page 3 of Ex. P-389, he noted, and the Court

finds, that "inflating tires with a peristaltic pump wasn't a new idea. It's very old." (Doc. No. 361,

Tr. at 1831.)

          4.      The application leading to the '586 Patent was filed on December 21, 2009, and the

'586 Patent issued on October 25, 2011. The '586 Patent is titled "Self-Inflating Tire Assembly"

and lists Losey and Benedict as the inventors and The Goodyear Tire & Rubber Company as the

assignee. (See Ex. P-8, U.S. Patent No. 8,042,586.)

          5.      The '586 Patent identifies the field of invention as "relat[ing] generally to self-

inflating tires and, more specifically, to a tire assembly incorporating a pump mechanism." (Id. at

1:5-7.)

          6.      The '586 Patent summarizes the invention as follows:

          [A] self-inflating tire assembly includes a rim having a tire mounting surface
          extending between first and second rim flanges; a tire mounted to the rim tire

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  As already noted, because the various volumes of trial transcripts are consecutively numbered from page 1 to page
2804, rather than citing to any individual transcript's page number applied by the electronic filing system (which is
the Court's usual practice), the Court will instead cite to the actual transcript page number(s) applied by the court
reporters.




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        mounting surface, the tire having a tire cavity, and first and second sidewalls
        extending respectively from first and second tire bead regions to a tire tread region.
        The first sidewall includes a bending region operatively bending within a rolling
        tire footprint responsive to a bending strain. A sidewall groove is positioned within
        a compression side of a neutral axis of the bending region and an air tube is
        positioned within the sidewall groove in contacting engagement with opposite
        groove surfaces at least partially surrounding the air tube. The sidewall groove
        operatively bends within the compression side of the bending region responsive to
        a bending strain within the rolling tire footprint to compress the air tube from an
        expanded diameter to a flat diameter adjacent the rolling tire footprint, whereby
        forcing evacuated air from a flattened air tube segment along the air passageway.

(Id. at 1:28--46.)

        7.      The '586 Patent contains 19 claims. Claims 1 and 18 are independent claims, and

the remainder are dependent.

        8.      Claim 1 of the '586 Patent recites:

                1. A self-inflating tire assembly comprising:
                a rim having a tire mounting surface extending between first and second rim
                    flanges;
                a tire mounted to the rim tire mounting surface, the tire having a tire cavity,
                    first and second sidewalls extending respectively from first and second
                    tire bead regions to a tire tread region;
                the first sidewall having at least one bending region operatively bending
                    within a rolling tire footprint responsive to a bending strain, whereby the
                    bending region in a bending condition within said rolling tire footprint
                    having a bending strain neutral axis, a compression side of the neutral
                    zone, and an elongation side of the neutral zone;
                a sidewall groove positioned within the compression side of the neutral axis
                    of the one said bending region of the first tire sidewall;
                an air tube positioned within the sidewall groove in contacting engagement
                    with opposite groove surfaces at least partially surrounding the air tube,
                    the sidewall groove operatively bending within the bending region
                    responsive to the bending strain within the rolling tire footprint to
                    compress the air tube from an expanded diameter to a flat diameter
                    adjacent the rolling tire footprint, whereby forcing evacuated air from a
                    flattened air tube segment along the air passageway.




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                                            A px00042
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   9.    Claim 2 recites:

         2. The tire assembly of claim 1, wherein the air tube and the sidewall groove
            are located within a sidewall region of the first tire sidewall above an
            upper boundary of the rim.

   10.   Claim 3 recites:

         3. The tire assembly of claim 2, wherein the groove surfaces contact the air
            tube and bend within a footprint of a rotating tire to operatively close an
            air tube segment within the tire footprint.

   11.   Claim 4 recites:

         4. The tire assembly of claim 3, wherein the air tube comprises an annular
            body extending substantially a circumference of a tire first sidewall.

   12.   Claim 5 recites:

         5. The tire assembly of claim 4, wherein the sidewall groove is annular and
            located proximally above the upper boundary of the rim.

   13.   Claim 6 recites:

         6. The tire assembly of claim 1, wherein the groove extends into an annular,
            substantially axially extending, sidewall surface.

   14.   Claim 7 recites:

         7. The tire assembly of claim 6, wherein the annular sidewall surface
            comprises a substantially axially oriented surface of a tire chafer
            protrusion located in non-contacting relationship with the rim, the
            groove extending into the annular sidewall surface in substantially a
            radial direction.

   15.   Claim 8 recites:

         8. The tire assembly of claim 1, wherein the sidewall groove includes a
            sidewall groove opening operatively sized to closely admit the air tube.

   16.   Claim 9 recites:

         9. The tire assembly of claim 8, wherein substantially the entirety of the air
            tube resides within the sidewall groove.


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   17.   Claim 10 recites:

         10. The tire assembly of claim 9, wherein first and second angled groove
            surfaces define opposite sides of the sidewall groove, each angled groove
            surface comprising first and second tube contacting surfaces adjoining at
            an angled intersection, and wherein the tube contacting surfaces of the
            first and second angled groove surfaces operatively contact the air tube
            at space apart intervals surrounding and substantially circumscribing the
            air tube.

   18.   Claim 11 recites:

         11. The tire assembly of claim 10, wherein the first and second angled
            groove surfaces converge and join at an inward terminal groove end and
            operatively flex inwardly about the terminal groove end to constrict the
            sidewall groove and flatten a footprint segment of the air tube within the
            groove.

   19.   Claim 12 recites:

         12. The tire assembly of claim 11, wherein an inward portion of the groove
            at the terminal groove end is substantially U-shaped.

   20.   Claim 13 recites:

         13. The tire assembly of claim 12, wherein an inward portion of the groove
            at the terminal groove end is substantially U-shaped.

   21.   Claim 14 recites:

         14. The tire assembly of claim 13, wherein the first and second angled
            groove surfaces converge toward the inward portion of the groove.

   22.   Claim 15 recites:

         15. The tire assembly of claim 14, wherein the groove extends into an
            annular, substantially axially extending, sidewall surface.

   23.   Claim 16 recites:

         16. The tire assembly of claim 15, wherein the annular sidewall surface
            comprises a substantially axially oriented surface of a tire chafer
            protrusion located in non-contacting relationship with the rim and the
            groove extending into the annular sidewall surface in substantially a
            radial direction.
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       24.     Claim 17 recites:

               17. The tire assembly of claim 1, wherein the sidewall groove is positioned
                  within the compression side of the neutral axis of the one said bending
                  region of the first tire sidewall at a substantially maximum distance from
                  the neutral axis.

       25.     Claim 18 recites:

               18. A self-inflating tire assembly comprising:
               a rim having a tire mounting surface extending between first and second rim
                   flanges;
               a tire mounted to the rim tire mounting surface, the tire having a tire cavity,
                   first and second sidewalls extending respectively from first and second
                   tire bead regions to a tire tread region;
               the first sidewall having at least one bending region operatively bending
                   within a rolling tire footprint responsive to a bending strain, whereby the
                   bending region in a bending condition within said rolling tire footprint
                   having a bending strain neutral axis, a compression side of the neutral
                   zone, and an elongation side of the neutral zone;
               a sidewall groove extending into an outward facing side of the sidewall and
                   positioned within the compression side of the neutral axis of the one said
                   bending region of the first tire sidewall, the sidewall groove being at least
                   partially open to the outward facing side of the sidewall;
               an enclosed air conducting air tube positioned within the sidewall groove in
                   contacting engagement with opposite groove surfaces at least partially
                   surrounding the air tube, the sidewall groove operatively bending within
                   the bending region responsive to the bending strain within the rolling tire
                   footprint to compress the air tube between the opposite groove surfaces
                   from an expanded diameter to a flat diameter adjacent the rolling tire
                   footprint, whereby forcing evacuated air from a flattened air tube
                   segment along the air passageway.

       26.     Claim 19 recites:

               19. The tire assembly of claim 18, wherein the sidewall groove and the air
                  tube therein are recessed within the first tire sidewall outward facing
                  side.

(Id. at 10:29-12:38.)




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         27.       Coda has abandoned any claim that Hrabal is the co-inventor of the '586 Patent (or

any other patent), 9 seeking only that Hrabal be declared the sole inventor of the '586 Patent and

that he be substituted for Losey and Benedict.

         B.       Facts Relevant to Conception and Inventorship

         28.      Hrabal testified about sitting at a traffic light one day and noticing the deformation

in a tire sidewall. That gave him the idea to experiment with self-inflating tires and, in particular,

to test whether a peristaltic pump powered by the compression of the deformation was capable of

generating sufficient pressure to inflate a tire. (Doc. No. 355, Tr. at 369-70.)

         29.      Around 2001, Hrabal attached a peristaltic pump with a check valve to the

circumference of a bicycle tire and turned the loaded bicycle tire on a stand; the assembly achieved

pumping sufficient to overcome the resistance of the check valve. (Id. at 369-74 (Hrabal: "[I]n the

experiment I spin the tire and I saw that the balloon is inflating."); see also Exs. P-522 and P-523

(undated photographs of the bicycle tire prototype).) From this experiment, Hrabal "learned that

peristaltic pump on the tire makes sense." (Id. at 372.)

         30.      Around 2001 or 2002, Hrabal made his "first attempt to place the hose into the tire

itself,]" by carving a groove into "the bottom part of the bead" of the tire; but he later discovered




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   In the first amended complaint, Count One is captioned as a "correction of inventorship" claim. (See Doc. No. 53,
First Amended Complaint.) Therein, Coda alleges that "Hrabal is not named as an inventor in the '586 Patent[,]" (id.
,r 118), that "Mr. Losey and Mr. Benedict are, through error, named in the '586 Patent as inventors[,]" (id. ,r 120), and,
"[i]n the alternative, Mr. Hrabal contributed to the conception of at least one of the inventions claimed in the '586
Patent[]" (id. ,r 121). Despite the allegation in ,r 121, in post-trial briefing Coda has advanced no co-inventorship
argument. (See Doc. No. 378, at 8 ("Hrabal is the rightful sole inventor of the '586 [P]atent").) It is unavailing that, in
its objections to Goodyear's proposed findings of fact and conclusions of law, Coda claims that "the Court should
nonetheless find that Mr. Hrabal is at least a co-inventor of the '586 [P]atent." (See Doc. No. 384-1, at 29; see also id.
at 39; 40; 164-65.) This one-line assertion in a reply brief is too little, too late, in light of the narrower argument in
Coda's opening brief. Notably, even Coda's earlier brief filed without leave (see Doc. No. 373) raises no co-
inventorship argument.

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that "the bead is too rigid ... for operation of the peristaltic pump in this location." (Id. at 372-73;

see also Ex. P-525 (undated photograph of this "first attempt").)

        31.     Around the end of 2003, Hrabal built a testing rig so as to simulate a tire under the

load of a vehicle's weight; this allowed him to observe how different parts of a tire behave as the

tire rotates under load. (Id. at 374-82; see also Exs. P-548 and P-552 (photographs of physical

exhibits).)

        32.     By 2007 or 2008, through testing on his various prototypes, Hrabal claims to have

determined an "optimal location" for a tube-in-groove pump. (Id. at 330, 333-34.)

        33.     Coda's SIT prototype was a physical exhibit during the jury trial. (See Ex. P-886

(photograph of the physical exhibit).) Hrabal testified that he completed the prototype before 2009

and that a video of it being tested was publicly disclosed on Coda's website prior to 2009. (Doc.

No. 356, Tr. at 605-06.)

        34.     Hrabal described how he created the prototype by affixing an epoxy extension to

the tire sidewall and another epoxy extension to the wheel rim and placed a tube between the two

extensions to act as a peristaltic pump as the tire sidewall extension pinched the hose against the

rim extension. He used this "extension" method because, not being a tire manufacturer, he did not

have the ability to make a groove in the tire itself. (Doc. No. 355, Tr. at 332-33, 335; Doc. No.

356, Tr. at 605, 608.)

        35.     Hrabal testified that the "optimal location for the tube in groove peristaltic pump"

is not visible on his prototype (Doc. No. 355, Tr. at 333-34), but he claimed that it was "behind

this extension ... in the tire sidewall inside." (Id. at 334.) Hrabal testified that the sidewall and

rim extensions of the prototype "are working like scissors" in which "you have to push your object

towards the axis of the scissors." (Id. at 334.)
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         36.      Coda presented no evidence to independently corroborate any of Hrabal's

testimony regarding his alleged conception of the relevant technology or to authenticate his

undated photographs. 10

         37.      Benedict credibly testified that the '586 Patent described the opposite principle of

Hrabal's "scissor effect":

         Q.       Dr. Benedict, were you in court when Mr. Hrabal was describing the scissor
                  effect?

         A.       Yes.

         Q.       And do you recall him saying if you want to cut something you have to push
                  your object towards the axis of the scissors?

         A        Yes.

         Q.       Are you using that idea in your patent?

         A.       No. Actually we're using the opposite idea. You want to be as far out as you
                  can. You don't want to be in at the pivot point.

(Doc. No. 361, Tr. at 1882.)

         38.      Benedict explained that the '586 Patent's disclosure that "the sidewall groove is

positioned within the compression side of the bending region a maximum distance from the neutral

axis" means that "when you have bending, this point that's furthest away from the neutral axis gets

the most compression. And this point furthest away on the other side gets the most extension. And

then the neutral axis has neither. So if you're looking to pinch a tube by closing the slot, you want




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  Although Coda introduced at trial a non-disclosure agreement dated July 29, 2009, between itself and MPR, a third-
party engineering firm purportedly hired by Coda to help it create a technical marketing analysis for Coda's SIT
technology, the agreement was not executed by Coda, but only by MPR. (See Ex. P-627.) As already noted above, the
Court will not permit Coda's improper attempt to belatedly introduce by way of post-trial briefing additional evidence
relating to its alleged relationship with MPR.

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to put it in the compression region as far as away from the neutral axis as you can so you get the

motion you need to pinch that tube closed." (Id. at 1881-82.)

        39.    The term "bending region" has been a point of disagreement in this case. Although

Hrabal never used this term, Coda insists that the "optimal location" for the peristaltic pump that

Hrabal identified to Goodyear is "in the bending region," but, based upon the testimony of Hrabal

and others, the Court finds Coda's position unconvincing.

        40.    Notably, and importantly, Hrabal offered no testimony that convinced this Court

that he was the inventor of any of the claims of the '586 Patent. Nor did he testify that he had

conceived of each and every limitation of each and every claim of the '586 Patent, or how or when

he supposedly conceived of those features. Although Hrabal baldly testified: "I'm a inventor of

the self-inflating tire" (Doc. No. 355, Tr. at 317), he also admitted that others had experimented

with (and patented) the use of a peristaltic pump to self-inflate a tire. (Id. at 330.) In fact, some

such experimentation occurred before 2009. (Doc. No. 356, Tr. at 580-81.)

V.      CONCLUSIONS OF LAW

        A.     35 U.S.C. § 256 (Correction of Named Inventor)

        1.     Section 256 of Title 35 permits correction of inventorship of a patent, without

invalidating the patent, "[w ]henever . . . through error an inventor is not named in an issued

patent[.]" Where, as here, that determination is requested of a district court by way of a lawsuit,

the court "may order correction of the patent on notice and hearing of all parties concerned and the

Director shall issue a certificate accordingly."

        2.     "Because issued patents are presumed to correctly name their inventors, the burden

of proving nonjoinder of inventors is a heavy one, which must be demonstrated by clear and

convincing evidence." Meng v. Chu, Nos. 2014-1746, 2015-1390, 2016 WL 1321127, at *4 (Fed.
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Cir. Apr. 5, 2016) (quotation marks and citation omitted); see also Hess v. Adv. Cardiovascular

Sys., Inc., 106 F.3d 976,980 (Fed. Cir. 1997) ("[O]ne claiming that the inventor listed in the patent

derived the invention from the claimant's work must show derivation by clear and convincing

evidence[.]" (citing Amax Fly Ash Corp. v. United States, 514 F.2d 1041, 1047 (Ct. Cl. 1975))).

         B.       Law of Inventorship

         3.       Conception is "the touchstone of inventorship." Burroughs Wellcome Co. v. Barr

Labs., Inc., 40 F.3d 1223, 1227 (Fed. Cir. 1994). "The definition of conception in patent law has

remained essentially unchanged for more than a century. It is the formation in the mind of the

inventor, of a definite and permanent idea of the complete and operative invention, as it is hereafter

to be applied in practice. At that point, all that remains to be accomplished, in order to perfect the

art or instrument, belongs to the department of construction, not creation." Dawson v. Dawson, 710

F.3d 1347, 1352 (Fed. Cir. 2013) (internal quotation marks and citations omitted); see also Sewall

v. Walters, 21 F.3d 411,415 (Fed. Cir. 1994) ("Conception is complete when one of ordinary skill

in the art could construct the [claimed] apparatus without unduly extensive research or

experimentation.").

         4.       "Conception, and consequently inventorship, are questions of law[.]" Sewall, 21

F.3d at 415.

         5.       Since the application for what is now the '586 Patent was filed on December 21,

2009 (Ex. P-8, at 1), to prevail on its claim that Hrabal was the '586 Patent's sole inventor, 11 Coda



11
  As already noted, Coda has abandoned any claim that Hrabal was the co-inventor of the '586 Patent. Had it not done
so, Coda would had to have established that Hrabal "contribute[ d] in some significant manner to the conception of the
invention." Fina Oil & Chem. Co. v. Ewen, 123 F.3d 1466, 1473 (Fed. Cir. 1997) (citations omitted). As such, "each
inventor must contribute to the joint arrival at a definite and permanent idea of the invention as it will be used in
practice." Burroughs Wellcome Co., 40 F.3d at 1229. "Inventors may apply for a patent jointly even though ... each
did not make a contribution to the subject matter of every claim of the patent." 35 U.S.C. § 116. But, "[a] contribution
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must show that, by December 21, 2009, Hrabal conceived a "definite and permanent" idea of the

complete and operative inventions claimed in the '586 Patent, including "every feature or limitation

of the claimed invention." REG Synthetic Fuels, LLC v. Neste Oil Oyj, 841 F.3d 954, 962 (Fed.

Cir. 2016) (citation omitted). "An idea is definite and permanent when the inventor has a specific,

settled idea, a particular solution to the problem at hand, not just a general goal or research plan

he hopes to pursue." Burroughs Wellcome Co., 40 F.3d at 1228.

         6.       Any testimony in support of a claim of inventorship must be corroborated; the

putative inventor's oral testimony alone will not suffice. Eli Lilly & Co. v. Aradigm Corp., 376

F.3d 1352, 1358 (Fed. Cir. 2004). "What is required is 'corroborating evidence of a

contemporaneous disclosure that would enable one skilled in the art to make the invention.'"

Thompson v. Haynes, 305 F.3d 1369, 1384 (Fed. Cir. 2002) (quoting Burroughs Wellcome, 40

F.3d at 1228)); see also Spansion, Inc. v. Int'! Trade Comm'n, 629 F.3d 1331, 1356 (Fed. Cir.

2010) ("Because it is a mental act, an inventor's oral testimony regarding conception must be

corroborated by evidence which shows that the inventor disclosed to others his completed thought

expressed in such clear terms as to enable those skilled in the art to make the invention." (quotation

marks and citations omitted)).

         7.        Evidence from a non-testifying third party cannot corroborate a putative inventor's

testimonial assertions. Shu-Hui Chen v. Bouchard, 347 F.3d 1299, 1309-10 (Fed. Cir. 2003); see

also id. at 1308 (finding third-party notebooks could not corroborate inventorship of plaintiff

because of"the failure of the notebooks' alleged author [one Jianmei Wei] to testify; the fact that

it was not established on the record that those notebooks were actually the notebooks of Wei,


of information in the prior art cannot give rise to joint inventorship because it is not a contribution to conception." Eli
Lilly & Co. v. Aradigm Corp., 376 F.3d 1352, 1362 (Fed. Cir. 2004).
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except by the circular testimony of [plaintiff], whose activity was what was intended to be

corroborated by the notebooks").

        8.      "That rule [of corroboration] addresses the concern that a party claiming

inventorship might be tempted to describe his actions in an unjustifiably self-serving manner .... "

Singh v. Brake, 317 F.3d 1334, 1341 (Fed. Cir. 2003).

        9.      "[Corroboration] is evaluated under a rule of reason analysis, which requires that

an evaluation of all pertinent evidence must be made so that a sound determination of the

credibility of the inventor's story may be reached." Linear Tech. Corp. v. Impala Linear Corp.,

379 F.3d 1311, 1327 (Fed. Cir. 2004) (internal citations and quotation marks omitted) (emphasis

in original).

        Corroborating evidence may take many forms. Reliable evidence of corroboration
        preferably comes in the form of records made contemporaneously with the
        inventive process. Circumstantial evidence of an independent nature may also
        corroborate. Additionally, oral testimony from someone other than the alleged
        inventor may corroborate.

Id. (internal citations omitted).

        10.     "[A]n inventor's conception can be corroborated even though no one piece of

evidence in and of itself establishes that fact and even through circumstantial evidence." NFC

Tech., LLC v. Mata!, 871 F.3d 1367, 1372 (Fed Cir. 2007) (internal quotation marks and citations

omitted); see also E.I. du Pont De Nemours & Co. v. Unifrax I LLC, 921 F.3d 1060, 1077 (Fed.

Cir. 2019) ("[O]ur case law does not require that evidence have a source independent of the

inventors on every aspect of conception and reduction to practice; such a standard is the antithesis

of the rule of reason." (quotation marks and citations omitted)); Fleming v. Escort Inc., 774 F.3d

1371, 1377 (Fed. Cir. 2014) ("[Defendant] is correct that none of the corroborating evidence



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constitutes definitive proof of [plaintiff's] account or discloses each claim limitation as written.

But the corroboration requirement has never been so demanding.").

       C.      Law of Claim Construction

        11.    "[A ]n inventorship analysis, like an infringement or invalidity analysis, begins as a

first step with a construction of each asserted claim to determine the subject matter encompassed

thereby." Trovan, Ltd. v. Sokymat SA, 299 F.3d 1292, 1302 (Fed. Cir. 2002); see also Egenera,

Inc. v. Cisco Sys., Inc., 972 F.3d 1367, 1376 (Fed. Cir. 2020) ("[I]nventorship is a legal conclusion

premised on underlying factual findings, and one that depends on claim construction." (citing

among authority Trovan, 299 F.3d at 1302)).

        12.    The first step of claim construction 1s to review "the words of the claims

themselves, both asserted and nonasserted, to define the scope of the patented invention." Vitronics

Corp. v. Conceptronic, 90 F.3d 1576, 1582 (Fed. Cir. 1996). As a second step, "it is always

necessary to review the specification to determine whether the inventor has used any terms in a

manner inconsistent with their ordinary meaning." Id.

        13.    Claim construction begins with the principle that the language of the claims, which

is "highly instructive" and entitled to significant weight, should generally be given its ordinary and

customary meaning. Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (en bane).

Generally, claim terms are given "the meaning that the term would have to a person of ordinary

skill in the art in question at the time of the invention, i.e., as of the effective filing date of the

patent application." Id. at 1313. This "ordinary and customary meaning" is a meaning in context:

"not only in the context of the particular claim in which the disputed term appears, but in the

context of the entire patent, including the specification." Id. at 1312-13; see also Eon Corp. IP

Holdings LLCv. Silver Spring Networks, Inc., 815 F.3d 1314, 1320 (Fed. Cir. 2016). Where claim
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terms do not have a particular meaning in the relevant field of art, claim construction requires

"little more than application of the widely accepted meaning of commonly understood words."

Phillips, 415 F.3d at 1314.

        14.    While courts may deviate from the ordinary and customary meaning in some

circumstances, there is a "heavy presumption that a claim term carries its ordinary and customary

meaning." CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366 (Fed. Cir. 2002). The

standard for deviating from that meaning is "exacting" and requires "a clear and unmistakable

disclaimer." Thorner v. Sony Computer Entm 't Am. LLC, 669 F.3d 1362, 1366-67 (Fed. Cir.

2012); see also Epistar Corp. v. Int'! Trade Comm 'n, 566 F.3d 1321, 1334 (Fed. Cir. 2009)

(requiring "expressions of manifest exclusion or restriction, representing a clear disavowal of

claim scope" to deviate from the ordinary and customary meaning).

        15.    The other exception to applying the ordinary and customary meaning to the claim

terms is where a patentee acts as its own lexicographer. Thorner, 669 F.3d at 1365 (citing Vitronics

Corp., 90 F.3d at 1580). "To act as its own lexicographer, a patentee must 'clearly set forth a

definition of the disputed claim term' other than its plain and ordinary meaning." Id. (quoting CCS

Fitness, 288 F.3d at 1366).

        16.    "Markman [v. Westview Instruments, Inc., 52 F.3d 967 (Fed. Cir. 1995), aff'd, 517

U.S. 370, 116 S. Ct. 1384, 134 L. Ed. 2d 577 (1996)] does not require a district court to follow any

particular procedure in conducting claim construction. It merely holds that claim construction is

the province of the court, not a jury. To perform that task, some courts have found it useful to hold

hearings and issue orders comprehensively construing the claims in issue. Such a procedure is not

always necessary, however." Ballard Med. Prods. v. Allegiance Healthcare Corp., 268 F.3d 1352,

1358 (Fed. Cir. 2001) (an infringement case where the plaintiff/appellant claimed the district court
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erred by "fail[ing] to conduct a detailed, limitation-by-limitation construction of each of the

asserted claims").

        17.    "[I]nventorship is a claim-by-claim question." Egenera, Inc., 972 F.3d at 1372. But

"[i]f the district court considers one issue to be dispositive, the court may cut to the heart of the

matter and need not exhaustively discuss all the other issues presented by the parties. District courts

have wide latitude in how they conduct the proceedings before them, and there is nothing unique

about claim construction that requires the court to proceed according to any particular protocol

.... " Ballard, 268 F.3d at 1358. "As long as the trial court construes the claims to the extent

necessary to determine [the relevant issues], the court may approach the task in any way that it

deems best." Id.

        18.    A court need not construe every claim term; it need only construe terms that are

disputed and whose construction impacts the ultimate determination. US. Surgical Corp. v.

Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997).

        19.    The '586 Patent itself defines specific terms and this Court is bound by those

definitions to the extent they affect the ultimate determination. Where the '586 Patent is silent as

to the meaning of terms, this Court accords such terms their ordinary and customary meaning.

       E.      Inventorship of the '586 Patent

       20.     "The invention [of the '586 Patent] relates generally to self-inflating tires and more

specifically, to a tire assembly incorporating a pump mechanism." (Ex. P-8, the '586 Patent, at 1:

5-7 [P-0008 _ 0015].)

       21.     Benedict and Losey are presumed to be the true and correct inventors of the '586

Patent. Caterpillar v. Sturman Indus., Inc., 387 F.3d 1358, 1377 (Fed. Cir. 2004) ("Patent issuance

creates a presumption that the named inventors are the true and only inventors.").
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       22.     Where, as here, a plaintiff seeks to be declared the sole inventor of a patent on the

basis of conception, the plaintiff is required to "'show possession of every feature recited in the

c[laims], and that every limitation of the c[laims] must have been known to the inventor at the time

of the alleged conception."' James v. J2 Cloud Servs., LLC, 823 F. App'x 945, 949 (Fed. Cir.

2020) (quoting Coleman v. Dines, 754 F.2d 353,359 (Fed. Cir. 1985)).

       23.     The '586 Patent has two independent claims (Claim 1 and Claim 18) and seventeen

dependent claims. As already noted, Coda has abandoned any claim of co-inventorship relating to

the '586 Patent. Therefore, if Coda is unable to establish conception by Hrabal of every limitation

in either or both of the independent claims, the Court need proceed no further because that fact

would already preclude Hrabal from claiming sole inventorship of the '586 Patent.

       24.     As noted above, Claim 1 of the '586 Patent states as follows:

               1. A self-inflating tire assembly comprising:
               a rim having a tire mounting surface extending between first and second rim
                   flanges;
               a tire mounted to the rim tire mounting surface, the tire having a tire cavity,
                   first and second sidewalls extending respectively from first and second
                   tire bead regions to a tire tread region;
               the first sidewall having at least one bending region operatively bending
                   within a rolling tire footprint responsive to a bending strain, whereby the
                   bending region in a bending condition within said rolling tire footprint
                   having a bending strain neutral axis, a compression side of the neutral
                   zone, and an elongation side of the neutral zone;
               a sidewall groove positioned within the compression side ofthe neutral axis
                   of the one said bending region of the first tire sidewall;
               an air tube positioned within the sidewall groove in contacting engagement
                   with opposite groove surfaces at least partially surrounding the air tube,
                   the sidewall groove operatively bending within the bending region
                   responsive to the bending strain within the rolling tire footprint to
                   compress the air tube from an expanded diameter to a flat diameter
                   adjacent the rolling tire footprint, whereby forcing evacuated air from a
                   flattened air tube segment along the air passageway.

(Ex. P-8 at 10: 29-54 [P-0008_0019] (emphasis added).)


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       25.     As noted above, Claim 18 states as follows:

               18. A self-inflating tire assembly comprising:
               a rim having a tire mounting surface extending between first and second rim
                   flanges;
               a tire mounted to the rim tire mounting surface, the tire having a tire cavity,
                   first and second sidewalls extending respectively from first and second
                   tire bead regions to a tire tread region;
               the first sidewall having at least one bending region operatively bending
                   within a rolling tire footprint responsive to a bending strain, whereby the
                   bending region in a bending condition within said rolling tire footprint
                   having a bending strain neutral axis, a compression side of the neutral
                   zone, and an elongation side of the neutral zone;
               a sidewall groove extending into an outward facing side of the sidewall and
                   positioned within the compression side of the neutral axis of the one said
                   bending region ofthe first tire sidewall, the sidewall groove being at least
                   partially open to the outward facing side of the sidewall;
               an enclosed air conducting air tube positioned within the sidewall groove in
                   contacting engagement with opposite groove surfaces at least partially
                   surrounding the air tube, the sidewall groove operatively bending within
                   the bending region responsive to the bending strain within the rolling tire
                   footprint to compress the air tube between the opposite groove surfaces
                   from an expanded diameter to a flat diameter adjacent the rolling tire
                   footprint, whereby forcing evacuated air from a flattened air tube
                   segment along the air passageway.

(Id. at 12: 7-35 [P-0008_0020] (emphasis added).)

       26.     Although the applicant for the '586 Patent attempted to act as a lexicographer, only

two of the patent's twenty (20) defined terms ("footprint" and "groove") are found in Claim 1

and/or Claim 18.

       27.     The '586 Patent's definition of the term "groove" is not relevant to either Claim 1

or Claim 18 because the definition is directed solely to "an elongated void area in a tread" (id. at

2:24 [P-0008_0015] (emphasis added)), whereas both Claim 1 and Claim 18 refer to only "a

sidewall groove." Therefore, the Court will accord this term in Claim 1 and Claim 18 its ordinary

and customary meaning.



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       28.     The '586 Patent defines the term "footprint" to mean "the contact patch or area of

contact of the tire tread with a flat surface at zero speed and under normal load and pressure." (Id.

at 2:31-33 [P-0008_0015].) This patent definition of "footprint" is little more than a statement of

the plain and ordinary meaning of "footprint" to a person having ordinary skill in the art of tire

manufacturing. Such a person would understand "footprint" to mean the tire tread's area of contact

with a flat surface. That is the meaning afforded by the Court.

       29.     The term "bending region" appears in both Claim 1 and Claim 18 but is not

specifically defined in the patent. Therefore, the Court will give it an ordinary and customary

meaning, informed by the Detailed Description of the Patent.

       30.     The "bending region" is claimed as part of the tire sidewall "having a bending strain

neutral axis, a compression side of the neutral zone, and an elongation side of the neutral zone"

(Ex. P-8, at 10:39-42; see also id. FIG-9A.)

       31.     The '586 Patent claims the location of the groove as "positioned within the

compression side of the neutral axis of the one said bending region of the first tire sidewall." (Id.

at 10:43-45; see also id. at 9:26-32 (referencing FIG-9A and explaining that "[f]or placement of

the groove and air tube, a bending region of the sidewall is selected that will experience bending

strain when that region is adjacent to the tire footprint. The compression side 182 of the region 174

is satisfactory for placement of the groove and tube assembly 188 since a compression of the side

182 of the region 174 will cause the groove to close around the air tube.").)

       32.     As already noted, Hrabal never specifically used the term "bending region," but

(unconvincingly) insists that his concept of"placing a pump ... in the sidewall close to, and above,

the rim where the tire cyclically deforms in response to deformation[,] (Doc. No. 223-20, at 27

(TS 24)) expresses the "bending region" concept.
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       33.     But Benedict, who is a tire engineer, coherently and convincingly testified that the

novel feature of the '586 Patent-a feature that the Court finds Hrabal did not conceive of (or even

understand)-was "[a] tube closed by a compression of bending." (Doc. No. 357, Tr. at 857.) He

further testified that "bending is the key" and "cyclic deformations" are not necessarily the same

as "bending." (Id.) This is because "cyclic deformations of a lower sidewall could be normal. They

don't have to be bending." (Id.)

       34.     Robert Losey, the co-inventor with Benedict of the '586 Patent (and who never

attended any meeting with Coda or Hrabal, who learned about the meetings long after applying for

the patent, and who never discussed the meetings with Benedict (Doc. No. 357, Tr. at 934-35))

corroborated Benedict's testimony stating that, from "[his] knowledge of tire mechanics, [he] had

a general idea for a location[,]" (id. at 937), and they then "found the location in the tire where it

was far away from the neutral bending axis so that there was a lot of compressive forces that could

pinch a tube[.] ... [without] destroy[ing] the tube or damag[ing] the tube. And it was-it's a tube

in a groove in that specific location." (Id. (emphasis added).)

       35.     Benedict also distinguished Hrabal's explanation of his (Hrabal's) "scissor effect,"

that is, getting the most compression by placing the groove close to the neutral point (i.e., the

fulcrum of the scissors) from what the '586 Patent requires and claims, that is, positioning the

groove "furthest away from the neutral axis [to] get[] the most compression." (Doc. No. 361, Tr.

at 1881-82.)

       36.     Although both Hrabal and the '586 Patent would locate the pump assembly in a

groove in the tire sidewall, it is the optimal location within the sidewall that is key, not just the

general fact of locating the groove in the sidewall. The Court concludes that Hrabal's optimal



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location, to the extent it can even be discerned and/or corroborated on this record, 12 is not the same

as the optimal location claimed in the '586 Patent, which requires the groove to be within the

compression side of the neutral axis of a bending region.

         37.      The '586 Patent discloses many other features but, because a putative inventor like

Hrabal (Coda) seeking to be substituted as the sole inventor (and having abandoned any co-

inventorship claim) must establish every limitation of every claim of the patent, the Court, as

already noted, may properly focus on one limitation which, if not shown to have been conceived

by Hrabal, precludes recovery on any claim of sole inventorship. See, e.g., Ballard, 268 F.3d at

1358 (finding that if one issue is dispositive, a district court need not discuss all the other issues).

         38.      As already noted, the '586 Patent discloses, inter alia, "a sidewall groove positioned

within the compression side of the neutral axis of the one said bending region of the first tire

sidewall[.]" Benedict explained that "if you're looking to pinch a tube by closing the slot, you

want to put it in the compression region as far as away from the neutral axis as you can so you get

the motion you need to pinch that tube closed." (Doc. No. 361, Tr. at 1881-82.)

         39.      Although Hrabal claims that he orally disclosed this very invention to Goodyear in

2009, prior to the issuance of the '586 Patent, there is no independent evidence to support that

assertion. In fact, Hrabal's description of what he disclosed to Goodyear during two meetings in

January and June of 2009 has been vague, evasive, and at times incomprehensible, demonstrating

a lack of understanding of key concepts in the '586 Patent.


12
   To attempt to corroborate its assertion that Hrabal was first to conceive of the relevant "optimal location," Coda
relies heavily on the belatedly presented MPR exhibits that have been rejected by the Court. But even if those
documents were considered, they do not offer proof that Hrabal's alleged "optimal location" was the same as the
optimal location in the '586 Patent as explained by Benedict. Nor does Hrabal's own testimony offer any clarity.
Hrabal testified that, although his "optimal location" was not visible on his prototype, which employed epoxy
extensions to simulate a tube-in-groove, it was "behind the extension ... in the tire sidewall inside." (Doc. No. 355,
Tr. at 333-34.) This is simply not specific enough to prove anything.

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         40.      In any event, Hrabal's testimony at trial regarding his invention that he claims to

have disclosed to Goodyear relies upon a "scissor effect" that would require any compression or

pinching to occur closest to the pivot point or axis of the "scissors." As noted by Benedict in his

testimony, this is the opposite of what the '586 Patent discloses in the one limitation in both Claim

1 and Claim 18 that the Court has focused on for purposes of this analysis. 13 Again, Hrabal's

assertion that his "scissor effect" mechanism is claimed in the '586 Patent reflects Hrabal's

misunderstanding of that patent and is simply incorrect.

         41.      To be even more specific, Coda claimed that one of its trade secrets related to "the

optimal location for placement of a pump in a tire for tire manufacturers, namely, in the sidewall

close to, and above, the rim where the tire cyclically deforms in response to deformation." (See

Doc. No. 223-20, at 27.) Coda claims here that this is part of what it disclosed to Goodyear, which

Goodyear then patented in the '586 Patent. But, as explained previously, this fails to describe the

invention described in the '586 Patent. Benedict's testimony clarifies that Hrabal's "scissor effect"

idea of getting as close as possible to the axis is the opposite of what the '586 Patent discloses. (See

Doc. No. 361, at 1882 ("You want to be as far out as you can. You don't want to be in at the pivot

point.").)

         42.      In light of Coda's failure to establish that Hrabal conceived of one of the salient

features (if not the salient feature) of the invention disclosed in the '586 Patent-much less that he

was first to conceive it-there is no basis upon which to find in Coda's favor on the claim for


13
   Claim 17 throws additional light on this limitation. It claims "[t]he tire assembly of claim 1, wherein the sidewall
groove is positioned within the compression side of the neutral axis of the one said bending region of the first tire
sidewall at a substantially maximum distance from the neutral axis." (Ex. P-8, U.S. Patent No. 8,042,586 (emphasis
added).) Although Claim 17 is a dependent claim from Claim 1 (and the Court has determined no need to focus on the
dependent claims), its additional limitation exactly corroborates what Benedict credibly emphasized as the important
feature of this limitation in the '586 Patent, namely, that the compression region needs to be as far away from the
neutral axis as possible, not as Coda claims, that the compression region needs to occur closest to the neutral axis.

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correction of inventorship in Count One of the first amended complaint and the Court need not

separately examine any other parts of the relevant patent.

        43.     The Court also specifically rejects Coda's argument that Goodyear is merely

improperly requiring Coda or Hrabal to use certain exact phrases to describe the optimal location

(i.e., "compression side of the neutral axis" and/or "bending region"). (See Doc. No. 384, at 15-

16.) Coda's problem is not the failure to use any particular phrase(s). The fatal problem is Coda's

failure to prove that in the 2009 meetings Hrabal disclosed to Goodyear an actual "optimal

location" that he alone had discovered before anyone else, much less where such location might

have been in a tire.

        44.     Coda also seeks an order of equitable assignment of ownership of the '586 Patent

both because "[t]he jury verdict makes plain that the '586 [P]atent was obtained using Coda's

misappropriated trade secret information[,]" (Doc. No. 378, at 9), and "given that it was obtained

as a direct result of the seed Mr. Hrabal planted within Goodyear in the 2009 meetings and

Goodyear's subsequent willful and malicious misappropriation." (Doc. No. 384, at 7.) The Court

has separately set aside the jury's verdict of misappropriation and there is no evidence that Hrabal

was responsible for planting any "seed" within Goodyear, since Goodyear was already engaged in

research on its own self-inflating tire technology (albeit unsuccessfully) when Hrabal made his

alleged disclosures.

        45.     In summary, Coda has failed to prove by clear and convincing evidence that, before

December 21, 2009, Hrabal conceived a definite and permanent idea of the complete and operative

inventions claimed in the '586 Patent, including every feature or limitation of the claimed

inventions.



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VI.      ORDER

         From the outset of this case, Coda's alleged trade secrets and patent conceptions have been

ill-defined moving targets. Hrabal's evasive testimony at trial only further evinced that he did not

fully understand the concepts and mechanics for which he claimed trade secret misappropriation,

particularly as it pertained to the optimal location and bending region concepts of the invention.

This is most evident when Hrabal included in his "optimal location" a "scissor effect" concept that

was the opposite of the concept described in the '586 Patent.

         For the reasons set forth herein, the Court finds in favor of defendants Goodyear and

Benedict on Coda's claim for correction of inventorship as to the '586 Patent and that claim (Count

One) is dismissed, as is the claim for joint inventorship as to the '254 Patent (Count Two) that

Coda abandoned. All requests for injunctive and/or declaratory relief (Count Five) are also

dismissed.



         IT IS SO ORDERED.

 Dated: March 31, 2023
                                                 HONORAitE~RA LIOI
                                                 UNITED STATES DISTRICT JUDGE




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 1
                           UNITED STATES DISTRICT COURT
 2                          NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
 3

 4      CODA DEVELOPMENT s.r.o. CODA
        INNOVATIONS s.r.o., et al.,
 5
                      Plaintiffs,               Case No. 5:15CV1572
 6                                              Akron, Ohio
                vs.                             Friday, September 16, 2022
 7                                              8:45 a.m.
        THE GOODYEAR TIRE & RUBBER
 8      COMPANY, et al . ,
 9                    Defendants.
10
11                             TRANSCRIPT OF TRIAL
                       VOLUME 10, PAGES 2654 THROUGH 2789
12                       BEFORE THE HONORABLE SARA LIOI
                          UNITED STATES DISTRICT JUDGE
13
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 9                                Lori A. Callahan, Rfv1R, CRR
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        Proceedings recorded by mechanical stenography; transcript
24      produced by computer- aided transcription.
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                                 Appx00065
                                                                          CODA_DIR0000004
                        Case: 23-1880 Doc#:
                Case : 5:15-cv-01572-SL Document: 15 : Page:
                                            365 Filed        1467 ofFiled:
                                                       09/16/22      136. 10/18/2023
                                                                           Pagel D # : 24075
                                                                                           2660


                1                   MS. QUADRINO:      Thank you, Your Honor.
                2             Just two points.       We note that the Court has included
                3      an instruction on the duty of confidentiality, which is
                4      largely derived from the nondisclosure agreement present in
08 : 5 1:4 4    5      this case.
                6             Coda goes not object to this instruction.             We just
                7      wish to note for the record that this is an issue on which
                8      defendants have filed a motion for summary judgment.               There
                9      were legal arguments presented to the Court based on the
08 : 5 1: 56 10        terms of that nondisclosure agreement, and by our agreeing
               11      to including an instruction on this in the jury
               12      instructions, we are not waiving the legal positions that we
               13      took previously.
               14                    THE COURT:    Very well.
08 : 52 : 06 15                     MS. QUADRINO:      Secondly, based on our prior
               16      discussions, we understand that Your Honor is likely not to
               17      include an instruction on reasonable royalty damages.
               18             Coda objects to the exclusion of an instruction on an
               19      alternative form of damages based on a reasonable royalty.
08 : 52 : 2 120        Pursuant to the Ohio Uniform Trade Secrets Act, that
               21      provides in lieu of damages, measured by any other methods,
               22      the damages caused by misappropriation may be measured by
               23      imposition of liability for a reasonable royalty that is
               24      equitable under the circumstances, considering the loss to
08 : 52 : 38   25      the complainant, the benefit to the misappropriator or both



                                                Appx00066
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                                                       09/16/22      136. 10/18/2023
                                                                           Pagel D # : 24076
                                                                                           2661


                1      for the misappropriator's unauthorized disclosure or use of
                2      a trade secret.       That's Revised Code 1333.63.
                3              Coda is entitled to present alternative theories of
                4      damages to the jury.        This Court confirms plainitff's
08 : 52 : 57    5      ability to present this theory of damages in its ruling
                6      denying defendant's motion in limine seeking to exclude Coda
                7      from presenting alternative theory of damages to the jury
                8      and specifically finding that, quote, "Shirley Webster's
                9      expert report satisfies the notice requirement with respect
08 : 53 : 11   10      to a damages theory based on reasonable royalties, no matter
               11      that she may have characterized those as actual losses."
               12      That's the hearing transcript from August 17, page 10, line
               13      14 to 17.
               14              Ample evidence has been presented to the jury in the
os : 53 : 2s   15      form of documents and fact and expert witness testimony to
               16      enable the jury to calculate reasonable royalty damages .
               17      And we object to excluding that instruction at this time.
               18                    THE COURT :    Thank you, Ms. Quadrino .
               19              And those are the only two objections then?
08 : 53 : 43   20                   MS. QUADRINO:      Yes.
               21                    THE COURT :    Mr. Castanias.
               22                   MR. CASTANIAS:       Thank you, Your Honor.        Yes.
               23              The Goodyear defendants object to gi ving the damages
               24      question to the jury, the punitive damages question to the
08 : 54 : 00   25      jury.    Pardon me.



                                                Appx00067
                                                                                         CODA_DIR0000004
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                                                                            Pagel D # : 24077
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                 1               Ohio Revised Code 1333.63(B) says, "The Court shall
                 2      award punitive damages up to treble and actual damages ."
                 3      And the framers of the Uniform Trade Secrets Act, which was
                 4      adopted by Ohio, explicitly said it in their notes to this
08 : 54 : 2 1    5      draft that this was to be the allocution of responsibilities
                 6      between Judge and jury, and this is to be the same
                 7      allocution responsibilities as under 35, United States Code,
                 8      Section 284, the Patent Acts Enhanced Damages Provision.
                 9               I think that's adequate to set forth the grounds for
08 : 54 : 36 10         our objection .       And the way that our -- the instruction
                11      and --
                12                     THE COURT :   On alternative damages.
                13                     MR. CASTANIAS :    -- jury form would read, so I'm
                14      not going to belabor the point .
08 : 54 : 4 9 15                       THE COURT :   Very well.     And I just want to
                16      indicate relative to that decision by the Court, since I now
                17      think the exchange is complete on that one , is that I was
                18      persuaded by 2004 Southern District Ohio decision, Newark
                19      versus Sauter, and until the Federal Circuit, the Supreme
08 : 55:17 20           Court would indicate otherwise, I'm going to follow that
                21      law.
                22               All right.     Your next point .
                23                     MR. CASTANIAS:     That's all from the Goodyear
                24      defendants .
08 : 55 : 25    25                     THE COURT :   Okay .   So just stay in place both of



                                                  Appx00068
                                                                                          CODA_DIR0000004
                        Case: 23-1880 Doc#:
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                                                                      136. 10/18/2023
                                                                            Pagel D # : 24078
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                 1      you.
                 2              Relative to the damage alternative of reasonable
                 3      royalty, I would indicated that Ms. Webster prepared a very
                 4      extensive report.       In that report, to be sure, she insisted
08 : 55 : 53     5      that it was a reasonable -- I'm sorry, that her damage
                 6      calculation was based upon actual loss.
                 7              I heard the parties' arguments during the motion in
                 8      limine, questioned whether it was actual loss, even wrote my
                 9      opinion in that fashion.
08 : 56 :1 6 10                 When I heard the entirety of the evidence, it was just
                11      reaffirmed in my mind that truly the plaintiffs, being the
                12      master of their case, and the way they wanted to present
                13      their evidence, presented actual loss.            It was err for me to
                14      say that was that alternative theory.           It might have been
08 : 56 : 37 15         actual loss that had to do with licensing, but it was an
                16      actual loss calculation.
                17              The evidence in trial primarily addressed that, and
                18      the record is clear as to what it is, so I'm not going to go
                19      through all the evidence.        We 're too close to the time when
08 : 56 : 54 20         we need to bring the jurors into the courtroom.
                21              But I think it would be inappropriate and there would
                22      be no guidance for the jury here as to how shoul d they
                23      decide to go with a reasonable royalty cal culati on, how that
                24      would ever be calculated, given the lack of evidence
08 : 57 : 2 1   25      relative to some of that porti on of that damage calculation



                                                 Appx00069
                                                                                          CODA_DIR0000004
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                 1      in the Court's estimation.
                 2               In any event, the plaintiffs, through Ms. Webster's
                 3      report, made it very clear that they were pursuing an actual
                 4      damage claim.      I'm at this date finally taking them at their
08 : 57 : 5 1    5      word because those how the evidence was presented even at
                 6      trial.
                 7               And so that's the basis in summary for the Court's
                 8      ruling.
                 9               The two calculations are different.         And I think it
os , ss , os 10         would be very confusing for the jury to hear -- or to
                11      receive a jury instruction that if you think the actual loss
                12      calculation, which is based on an ideal, absolutely ideal
                13      situation where there would be an exclusive license and lots
                14      of sublicenses, and lots of sales of the product, to say
08 : 58 : 4 1   15      that that calculation somehow is insufficient, which is what
                16      the standard -- or what the jury instruction would indicate
                17      doesn't make any sense based upon the evidence.
                18               And I believe based upon Coda's argument that they're
                19      one and the same, they're not one and the same.
08 : 59:17 20                    But in any event, that, I think, would be confusing to
                21      the jury.
                22               So with that, you can add anything you want to the
                23      record.     I want to go back and finalize jury instructions.
                24               Anything further?
08 : 59 : 3 1   25                    MS. QUADRINO:     No, Your Honor.



                                                 Appx00070
                                                                                          CODA_DIR0000004
               Case: 23-1880                           Document: 15                           Page: 151                 Filed: 10/18/2023
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(12) U n ite d              S t a t es Patent                                               (10) Patent N o .:                   US 8,042,586 B2
        L o sey et al.                                                                      (45) Date of Paten t:                             Oct. 25, 2011

(54)     SELF-INFLATING TIRE ASSEMBLY                                                         4,922,984 A • 5/1990           Dosjoub et al. ..........              152/415
                                                                                              5,052,456 A • 10/ 1991         Dosjoub                                152/415
(75)     Inventors: Robert Allen Losey, Kent, OH (US);                                        7, 117,73 1 B2 • 10/2006       Hrabal ................. ..          .. 73/146
                                                                                              7,225,845 B2 • 6/2007          Ellmann                                152/426
                    Robert Leon Benedict, 'lallmadge, OH
                    (US)                                                                              PORElGN PATENT DOCUMENTS
                                                                                       DE               3433318 Al '' 3/1986
(73)     Assignee: The Goodyear Tire & Rubber                                          RU               2106978 Cl * 3/1998
                   Company, Akron, OH (US)                                             WO          WO 03049958 Al '' 6/2003
                                                                                       WO         WO 2005012009 Al * 2/2005
( *)     Notice:        Subject to any disclaimer, the term ofthis                     WO         WO 2007134556 Al * 1 U2007
                                                                                       WO         WO 2010008338 Al * 1/2010
                        patent is extended or adjusted under 35
                        U.S.C. 154(b) by O days.                                                            OTHER PUBLICATIONS
                                                                                       Machine Translation of DE 3433318 Al.•
(21)     Appl. No.: 12/643,243
                                                                                        * cited by examiner
(22)     Filed:         Dec. 21, 2009
                                                                                       Primary Examiner Joe Morano, N
(65)                       Prior Publication Data                                      Assistant Examiner - Kip T Kotter
         US 2011/0146868 Al                 Jun. 23, 2011                              (74) Attorney, Agent, or Firm - Richard B. O'Planick

(51 )    Int. Cl.                                                                      (57)                         ABSTRACT
         B60C 23/12                        (2006.01)                                   A self-inflating tire assembly includes an air tube mounted
(52)     U.S. Cl. .. .... .. ................................ 152/426; 152/415         within a tire sidewall groove. The air tube is in contacting
(58)     Field of Classification Search .......... .... .. .. 152/415,                 engagement with opposite angled groove surfaces surround-
                                              152/419, 423, 424,425, 426               ing the air tube. A segment of the air n,be is flattened from an
         See application file for complete search history.                             expanded diameter to a flat diameter by bending and com-
                                                                                       pression of the groove in a rolling tire footprint to force air
(56)                       References Cited                                            evacuated from the flattened segment along a tube air pas -
                                                                                       sageway. The sidewall groove extends into an annular, axially
                   U.S. PATENT DOCUMENTS                                               extending, sidewall surface such as an axially oriented sur-
        1,050,886 A *        l / 1913 Wetherell .                       152/4 26       face of a tire chafer protmsion located in non-contacting
        1,134,361 A *       411915 Wetherell .... ..............        152/426        relationship with the rim.
        3,304,981 A *        2/ 1967 Sheppard ....... ,... ......... 152/426
        3,833,041 A *        9/1974 Glad et al.                  .. ... 152/509                          19 Claims, 13 Drawing Sheets




                                                                                                                                       PLAINTIFF'S EXHIBIT



                                                                                                                                                            P-8
                                                                                                                                                  5:15-cv-01572-SL




                                                                                                                                        Exhibit                              7
                                                                                                                                        Witness : ROBERT LOSEY
                                                                                                                                        Date:        7m20
                                                                                                                                        Co llrl RePorler,   DINA MANCILLAS




                                                                                                                                                                             GY00025572
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                                                                        Appx00071
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                             FIG-1




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                                                                           P-0008_0002
                                 Appx00072
                                                                         CODA_DIR0000005
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          See FIG-3A---,
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                                                                              \__See FIG-3B

                                            FIG-2




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     FIG-3A                    64
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                                                           ROTATION
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     FIG-3C                                    76
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                                     Exhaust




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                           FIG-4A




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                            FIG-4B




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     FIG-5A
     PRIOR ART




                                                     FIG-5
                                                    PRIOR ART




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                                 Appx00077
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                                                       SEE FIG-6A



                                                           126
                                                         42




                                                    FIG-6




                                                                           GY00025579
                                                                            P-0008_0008
                                 Appx00078
                                                                          CODA_DIR0000005
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     FIG-6A                   --w1--1




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                                   Appx00079
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     FIG-7A

                             172




    FIG-7B                        W2




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                                          Appx00081                                                                                                        GY00025582
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                                               FIG-BA




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                                              Appx00082
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                        FIG-9A

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                                       Appx00083
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                         FIG-9B


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                                 Appx00084
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                                                      US 8,042,586 B2
                               1                                                                     2
         SKLF-INFLATING TIRE ASSEMBLY                                                         DEFINITIONS

               FIELD OF THE INVENTION                                   "Aspect ratio" of the tire means the ratio of its section
                                                                     height (SI-I) to its section width (SW) multiplied by 100
   ]11e invention relates generally to self-inflating tires and,     percent for expression as a percentage.
more specifically, to a tire assembly incorporating a pump              "Asymmetric tread" means a tread lhal has a tread paliern
mechanism.                                                           not sy1mnetrical aboutthe center plane or equatorial plane EP
                                                                     of the tire.
            BACKGROUND OF THE INVENTION                                 "Axial" and "axially" means lines or directions that are
                                                                  10 parallel to me axis of rotation of the tire.
   Normal air diffusion reduces tire pressure over time. The            "Chafer" is a narrow strip of material placed around the
natural state of tires is under inflated . .Accordingly, drivers     outside of a tire bead to protect the cord plies from wearing
must repeatedly act to maintain tire pressures or they will see      and cutting against therimanddistributethe flexing above the
                                                                     rim.
reduced foe] economy, tire life and reduced vehicle braking
                                                                  15    "Circumferential" means lines or directions extending
and handling performance. Tire Pressure Monitoring Sys-              along the perimeter of the surface of the a1111ular tread per-
tems have been proposed to warn drivers when tire pressure is        pendicular to the axial direction.
significantly low. Such systems, however, remain dependant              "Equatorial Centerplane (CP)" means the plane perpen-
upon the driver taking remedial action when warned to re-            dicular to the tire's axis of rotation and passing through the
inflate a tire to recommended pressure. It is a desirable, there- 20 center of the tread .
fore, to incorporate a self-inflating feature within a tire that        " Footprint" means the contact patch or area of contact of
will self-inflate the tire in order to compensate for any reduc-     the tire tread witl1 a tlat surface at zero speed and under nomial
tion in tire pressure over time without a need for driver inter-     load and pressure.
vention.                                                                "Groove" means an elongated void area in a tread that may
                                                                  25 extend circumferentially or laterally about the tread in a
               SUlvIMARY OF THE INVENTION                            straight, curved, or zigw g manner. Circumferentially and
                                                                     laterally extending grooves sometimes have common por-
   According to an aspect of the invention, a self-inflating tire    tions. The "groove width" is equal to tread surface area occu-
assembly includes a rim having a tire mounting surface               pied by a groove or groove portion, the width of which is in
extending between first and second rim flanges ; a tire 30 question, divided by the length of such groove or groove
mounted to the rim tire mounting surface, the tire having a tire     portion: thus, the groove width is its average width over its
cavity, and first and second sidewalls extending respectively        length. Grooves may be of varying depths in a tire. The depth
from first and second tire bead regions to a tire tread region.      of a groove may vary around the circumference of the tread,
The first sidewall includes a bending region operatively bend-       or the deptl1 of one groove may be constant but vary from the
ing within a rolling tire footprint responsive to a bending 35 depth of another groove in the tire. If such narrow or wide
strain. A sidewall groove is positioned within a compression         grooves are substantially reduced depth as compared lo wide
side of a neutral axis of the bending region and an air lube is      circumferential grooves which the interconnect, they are
                                                                     regarded as fonning "tie bars" tending to maintain a rib-like
positioned within the sidewall groove in contacting engage-
                                                                     character in tread region involved.
ment with opposite groove surfaces at least partially sur- 40           "Inboard side" means the side of the tire nearest the vehicle
rounding the air tube. The sidewall groove operatively bends         when the tire is monnted on a wheel and the wheel is mounted
within the compression side of the bending region responsive         on the vehicle.
to a bending strain within the rolling tire footprint to compress       "Lateral" means an axial direction.
the air tube from an expanded diameter to a flat diameter               "Lateral edges" means a line tangent to the axially outer-
adjacent the rolling tire footprint, whereby forcing evacuated 45 most tread contact patch or footprint as measured under nor-
air from a flattened air tube segment along the air passageway.      mal load and tire inflation, the lines being parallel to the
   In another aspect, the sidewall groove is positioned within       equatorial centerplane.
the compression side of the bending region a maximun1 dis-              "Net contact area" means the total area of ground contact-
tance from the neutral axis.                                         ing tread elements between the lateral edges around the entire
   In another aspect, first and second angled groove surfaces 50 circumference of the tread divided by the gross area of the
define opposite sides of the sidewall groove. Each angled            entire tread between the lateral edges.
groove defining surface includes first and second tube con-             "Non-directional tread" means a tread that has no preferred
tacting surfaces adjoining at an angled intersection. TI1e tube      direction of forward trnvel and is not required to be positioned
contacting surfaces of the first and second angled groove            on a vehicle in a specific wheel position or positions to ensure
surfaces operatively contact tl1e air tube at spaced apart inter- 55 mat the tread pattern is aligned with the prefeITed direction of
vals surrounding and substantially circumscribing the air            travel. Conversely, a directional tread pattern has a preferred
tube.                                                                direction of travel requiring specific wheel positioning.
   The first and second angled groove surfaces, in yet another          "Outboard side" means me side of tl1e tire farthest away
aspect of the invention, converge and join at an inward termi-       from the vehicle when the tire is mounted on a wheel and the
nal groove end and operatively flex inwardly about the tenni- 60 wheel is mounted on the vehicle.
nal groove end to constrict the sidewall groove and flatten a           "Peristaltic" means operating by means of wave-like con-
footprint segment of the air tube within the groove.                 tractions that propel contained matter, such as air, along tubu-
   Pursuant to another aspect of the invention, the sidewall         lar pathways.
groove extends into an annular, axially extending, sidewall             "Radial" and "radially" means directions radially toward
surface such as an axialJy oriented smface of a tire chafer 65 or away from the axis of rotation of the tire.
protrusion localed in non-contacting relationship with the              "Rib" means a circumferentially extending strip of rubber
rim.                                                                 on the tread which is defined by at least one circumferential




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groove and either a second such groove or a lateral edge, the          tire mounts in conventional fashion to a pair of rim mow1ting
strip being laterally undivided by full-depth grooves.                 surfaces 18, 20 adjacent outer rim flanges 22, 24. The rim
   "Sipe" means small slots molded into the tread elements of          flanges 22, 24, each have a radially outward facing surface 26.
the tire that subdivide the tread surface and improve traction,        A rim body 28 supports the tire assembly as shown. The tire
sipes are generally narrow in width and close in the tires             is of conventional construction, having a pair of sidewalls 30,
footprint as opposed to grooves that remain open in the tire's         32 extending from opposite bead areas 34, 36 tu a crown or
footprint.                                                             tire tread region 38. The tire and rim enclose a tire cavity 40.
   "Tread element" or "traction element" means a rib or a                 As seen from FIGS. 2 and 3A, B, and C, the peristaltic
block demenl defined by h,wing a shape adjacent grooves.               plllllp assembly 14 includes an annular air tube 42 that
   "Tread Arc Width" means th e arc length of the tTead as
                                                                    10 encloses an annular passageway 43. The tube 42 is formed of
measured between the lateral edges of the tread.
                                                                       a resilient, flexible material such as plastic or rubber com-
        BRIEF DESCRIPTION OF THE ORAWINGS                              pounds that are capable of withstanding repeated deformation
                                                                       cycles wherein the tu be is deformed into a flattent.."C! condition
   The invention will be described by way of example and               subject to external forc e and, upon removal of such force,
with reference to the accompanying drawings in which:               15 returns to an original condition generally circular in cross-
   FIG. 1 is an isometric view of tire, rim and tubing with            section. The tube is of a diameter sufficient to operatively pass
peristaltic plllllp and inlet valve.                                   a volume of air sufficient for the purposes described herein
   FIG. 2 is a side view of tire with location of tubing and           and allowing a positioning of the rnbe in an operable location
valves and showing user set valve location.                            within the tire assembly as will be described.
   FIG. 3A is an enlarged fragmentary view ofpump foroutlet 20            The peristaltic pump assembly 14 further includes an inlet
to tire cavity.                                                        device 44 and an outlet device 46 spaced apart approximately
   FIG. 3B is enlarged fragmentary view of inlet and filter.           180 degrees at respective locations within the air tube 32 . TI1e
   FIG. 3C is an enlarged fragmentary view of inlet and filter         outlet device 46 bas a T-shaped configuration in which
in the exhaust mode.                                                   T-sleeves 48, 50 join at one end to an outlet sleeve 52. An
   FIG. 4A is a side view of tire, rim, tubing, and valves 25 internal outlet passageway 54 extends through the outlet
showing operation of the pump to cavity flow when the tire             sleeve 52 and is in air flow communication with the tire cavity
rotates.                                                               40. Situated within an axial chamber of each of the '!~sleeves
   PIG. 413 is a side view of the tire, rim, tubing, and valves        48, 50 is a valve unit 56 positioned opposite and in air-flow
showing operation of flow hack nut of the filter (cleaning)            communication with the outlet passageway 54 of the outlet
when the tire rotates.                                              30 sleeve 42. The valve 11nit 56 is of a conventional type com-
   FIG. 5 is an enlarged section view ofa prior art flattened air      mercially available, and includes a pair ofone-way ball valves
tube and rim location.                                                 60, 62 , each seated within a respective ball valve chamber 64.
   FIG. SA is an enlarged section view of the prior art air tube       The ball valves 60, 62 are spring biased (not shown) in con-
and rim location with the air tube in an restored original             ventional manner into a normally closed configuration clos-
diameter condition.                                                 35 ing off the outlet passageway 54. When air from the passage-
   FIG. 6 is a st..>c tion view of the air tube, tire, and rim         way 43 impinges on the ball valves 60, 62 with a suJflcient
assembly with the air tube located within a configured side-           pressure to overcome the tire cavity biasing pressure, the ball
wall groove pursuant to the invention.                                 valves move rearward and the T-outlet is open to the passage
   FIG. 6A is an enlarged section view of the air tube within          of air from passageway 43 out of the outlet passageway 54.
the configured groove of FIG. 6 with the tube in an un-flat 40 The magnitude ofbia s necessary for the air from passageway
condition.                                                             43 to overcome can be set so as to regulate the flow of air out
   FIG. 6B is an enlarged section view of the air tube within          of1he outlet device 46 by also incorporating a biasing spring
the configured groove of FIG. 6 with the t11be in a flattened          (not shown) against each ball valve 60, 62, biasing with the
condition.                                                             tire cavity pressure the ball valves into a closed position. ·111e
   FIG. 7 A is an enlarged section view of an air tube located 45 air from tube passageway 43 must be of sufficient pressure to
within an alternatively configured sidewall groove with the            overcome the tire cavity pressure and biasing spring pressure
air tube in an un-flattened condition.                                 for the ball valves to move into an open position, whereby
   FIG. 7B is an enlarged section view of the air tube in a            starting a flow of air into the tire cavity 40.
flattened condition within the alternatively configurt.."C! groove        The inlet device 44 is similarly ofT-shaped configuration
of FIG. 6.                                                          50 having a pair of co-axial inlet sleeves 70, 72 co-aligned with
   FIG. 8 is a sectional view of an air tube, rolling tire, and rim    an inlet portal sleeve 74. An air passageway 76 extends
assembly illustrating the location of the tire footprint relative      through the inlet portal sleeve 74 and permits the flow of air
to the air tube.                                                       into and out of the air passageway of the tube 42 , via passage-
   FIG. 8A is an enlarged view of the identified region of FIG.        way 78. A filter 80 may be positioned within the inlet portal
8, showing a flattened air tube and sidewall groove within a 55 sleeve 74. Filter 80 is composed of a porous filtering agent of
tire sidewall.                                                         a type conventionally available. So positioned within the
   FIG. 9A is a schematic representation of a bending region           sleeve 74, the filter 80 purifies air entering the tube passage-
of a tire sidewall adjacent a rolling tire footprint.                  way 43 , identified in FIG. 3B as "outside air". A back flow of
   FTG. 9R is a schematic representation ofa tire transforming         air out of passageway 43 , through the filter 80 within sleeve
from an original configuration into a bending configuration 60 7 4, operates to self-clean the filter by forcing our particles
adjacent a rolling tire footprint, whereby forming multiple            trapped within the porous filtering medium. An insert T-body
bending regions.                                                       82 resides within the inlet device 44 and serves to line the
                                                                       sleeves 70, 72.
     DETAJLED DESCRIPTION OF TH E INVENTION                               As will be appreciated from FIGS. 3A-C and 4A, the inlet
                                                                    65 device 44 and the outlet device 46 are positioned within the
   Referring tu FIGS. 1 and 2, a lire assembly 10 indudes a            circular air tube 42 generally 180 degrees apart. The lire
tire 12, a peristaltic pump assembly 14, and a tire rim 16. The        rotates in a direction of rotation 88, causing a footprint 100 to




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be formed against the ground surface 98. A compressive force            assembly 14 will fonction in like manner in a (clockwise)
104 is directed into the tire from the footprint 100 and acts to        reverse direction of rotation to that shown at numeral 88 . The
flatten a segment of the air tube passageway 43 as shown at             peristaltic pump is accordingly hi-directional and equally
numeral 106. Flattening of the segment of the passageway 43             functional with the tire assembly moving in a forward or a
forces air from the segment along tube passageway 43 in the             reverse direction of rotation.
direction shuwn by arruw 84, luwanl the outlet device 46.                  One lucatiun uf the peristaltic pump assembly within the
    As the tire continues to rotate in direction 88 along the           tire assembly 10 will be understood from FIGS . 5 and SA. As
ground surface 98, tl1e tube 42 will be sequentially flattened          shown, the peristaltic pump assembly 14 is positioned
or squeezed opposite the tire footprint segment by segment in           between the rim flange surface 26 and a lower bead region 34
a direction opposite to the direction of tire rotation 88. The 10 of the tire 12. So positioned, the air tube 42 is radially inward
sequential flattening of the tube passageway 43 segment by              from the tire footprint 100 and is thus positioned to be flat-
segment causes evacuated air from the flattened segments to             tened by forces directed from the tire footprint as described
be pumped in the direction 84 within t11be passageway 43 to             above. The segment or the tu be 42 opposite the footprint of a
the outlet device 46. When the air flow is sufficient against           rolling tire will flatten from the compressive force directed
ball valve 60, ilie valve will open and allow air to flow through 15 from the footprint, whereby pressing the tube segment against
the outlet device 46 to the tire cavity as shown at 86. As              the rim flange surface 26. The positioning of the tube 42 is
referenced by arrow 86, air exiting the outlet device sleeve 52         specifically shown as between a chafer 120 of the tire at the
is routed to the tire cavity 40 and serves to re-inflate the tire to    bead region 34 and the rim surface 26 . The cliametric sizing of
a desired pressure level. "I11e tire cavity pressure acts against       the peristaltic pump air tube 42 is selected to span the circum-
the ball valves 60, 62 in combination with any ancillary 20 ference of the rim flange surface 26.
biasing spring (not shown) which must be overcome by the air               The tube 42 is closed by contact between the tire and the
pressure within the tube passageway 43 in order for the ball            rim surface 26. While such a locati on is feasible, an exact
valve to open.                                                          placement of the tube 42 is required. In addition, possible
    With the tire rotating in direction 88, flattened tube seg-         chafing may occur to the tube 42 from friction with ilie rim
ments are sequentially refilled by air 92 flowing into the inlet 25 surface 26. Such chafing may over time cause a degradation
device 44 along the passageway 43 in the direction 90 as                or failure of the tube 42. In addition, such a location may
shown by FIGS. 3B and 4A. The inflow of air from the inlet              prove sensitive to rim variations that can make the above-
device 44 in direction 90 continues until the outlet device 46,         mentioned exact placement of the tube 42 problematic. Plac-
rotating counterclockwise as shown with the tire rotation 88,           ing the tube 42 against the rim surtace 26 can further create
passes the tire footprint.100 . FIG. 3C and FIG. 4B show the 30 the risk that the connection will strike the tire valve stem.
orientation of the peristaltic pump assembly 14 in such a                  A preferred location for the air tube assembly 14 is as
position. In the position shown, the tube 42 continues to be            shown in FIGS. 6, 6A,6B, 8, and 8A. The tube 42 is located
sequentially flattened segment by segment opposite the tire             within a groove 126 in the sidewall 30 of the tire 12. The tube
footprint by compressive force l 04 as shown at numeral 106.            42 as will be explained is closed by compression strain bend-
Ajr is pumped in the clockwise direction 94 to the inlet device 35 ing the sidewall groove 126 within a rolling tire footprint. The
44 where it is evacuated ur exhausted fru m the passageway              location uf the tube 42 in the sidewall 30 a1fords the user
43. Passage of exhaust air 96 from the inlet device 44 is               freedom of placement and avoids contact between the tube 42
through the filter 80 which acts to self-clean the filter of            and the rim 16. The higher placement of the tube 42 in the
accumulated debris or particles within the porous medium.               sidewall groove 126 uses the deformation of the sidewall as it
With the evacuation of pumped air out of the inlet device 44, 40 passes through tl1e tire footprint to close the tube and provide
the outlet device is in the closed position and air does not flow       the pumping action rather than pinching the tube as shown in
to the tire cavity. When the tire rotates further in counter-           FIGS. 5 and SA.
clockwise direction 88 until the inlet device 44 passes the tire           The configuration and operation of the groove 126 to flat-
footprint 100 (as shown in Fl(i-S. 3A, 3B, and4A), the airflow          ten the tube 42 is shown in FKi-S. 6A and 613. ·111e groove 126
resumes to the outlet device 46, opening the ball valve within 45 is defined by parallel entryway sidewalls 128, 130 at a groove
the outlet device 46, and causing the pumped air to flow out            entryway opening 132 having a nominal width Wl . The width
(86) to the tire cavity 40.                                             Wl is sufficient to closely admit the tube 42 with interference
    FIG. 4B illustrates that the tube 42 is flattened 102 segment       but without constricting the air passageway 43 extencling
by segment as the tire rotates in direction 88. A flattened             through the tube 42. An interior generally triangular shaped
segment 111 moves counterclockwise in direction 88 with the 50 groove portion 134 is defined between convergent groove
tire as an adjacent segment 112 moves opposite the tire foot-           sidewalls 136, 138. The sidewalls 136, 138 intersect entryway
print. Accordingly, the progression of squeezed or flattened            sidewalls 130, 128, respectively at an obtuse angle. The side-
tube segments can be seen lo move in a clockwise direction,             walls 136, 138 converge inwardly at an angle a of approxi-
counter to the tire rotation in direction 88. As segment 111            mately ninety degrees and contact the sides of the tube 42 in
moves away from the footprint 100, the compression forces 55 ilie position shown by FIG. 6A. The sidewalls 136, 138 then
within the tire from the footprint region are eliminated and the        converge inwardly to an inward U-shaped groove flex reg-ion
segment 111 is free to resiliently reconfigure into an unflat-          140 of a narrower width W2 defined between sidewalls 162,
tened state as segment 111 refills wiili air from passageway            164. The sidewalls 162, 164 intersect respectively sidewalls
43. In the original non-flattened configuration segments of the         136,138 at an obtuse angled junction designated by numerals
tube 42 are generally circular in section.                           60 166, 168. The sidewalls 162, 166 extend to an inward radius
    'Ih e above-described cycle is then repeated for each tire          end 142 ofthe U-shaped groove flex region 140. In the tube-
revolution, half of each rotation resulting in pumped air going         expanded condition of FIG. 6A, the contact of surfaces 136,
to the tire cavity and half of the rotation the pumped air is           138 and 128, 130 against ilie tube 42 is sufllcient to hold the
directed back out the inlet device filter 80 to self-clean the          tube pump assembly 14 within the groove 126.
filter. It will be appreciated that while the direction of rotation 65     The location of the pump assembly 14 witl1in ilie tire side-
88 of the tire 12 is shown in FIGS. 4A and 4B to be counter-            wall is distanced from the rim 16 as shown. A preforred
clockwise, the subject tire assembly and its peristaltic ptunp          location of the pump assembly tube 42 is within a groove 126




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positioned in a generally axially extending chafer surface          groove or channel 148 in a non-compressed configuration.
144. The chafer 120 extends from the rim 16 and the location        The groove entryway opening 154 has a relatively wider
of the groove 126 within the surface 144 allows a separation        width dimension Wl that is smaller than the nominal
of the tube 42 from the rim while efficiently transferring tube     expanded diameter of the tube 42. Accordingly, the tube 42
closing forces from sidewall deformation to the tube 42. As         may be press inserted through the opening 154 and be subse-
will be apparent from a rnmbined consideration of FIGS. 4B,         quently captured wi thin the groove 148.
68, 8, and 8A, the tube 42 positioned within groove 126 is             FIG. 78 shows the groove 148 in a compressed configura-
closed or flattened by compression due to tire sidewall 30          tion subject to compression forces F3. As with the groove 126
bending in the tire footprint 100. The force F from the foot-       described previously, bending of the groove 148 causes sur-
print imposes an axial directed force Fl into the sidewall 30 10 faces 150/160 and 152/158 to press inward against tl1e cir-
which acts to close the groove 126 from the open configura-         cumference ofairtube42, causing a segment of the air tube 42
tion of FIG. 6A to the closed configuration of FIG. 68. As a        within a ti re footprint to evenly flatten in a controlled fashion.
result, the entryway opening 132 of the groove 126 constricts       The surfaces 150/160 and 152/158 are angled to distribute
to a width dimension W3 and the groove sidewalls 128, 130           compressive force against the circwnference of the tube 42. In
and 136, 138 are forced inward. Inward pressure from the 15 the compressed state, the opening W2 is reduced to a nar-
sidewalls 128, 130 and 136, 138 against the tube 42 causes the      rower width dimension as shown. The angles a and~ as well
affected segment of the tube 42 to flatten and thereby pump air     as tile groove dimensions Wl and W2 identified in the groove
evacuated therefrom along unaffected segments of the air            configuration ofFIGS. 6A, 6B and the configurationofFIGS.
passageway 43 . Surfaces 128, 130 and 136, 138 extend from          7A, 78 will be suitably correlated to the diameter of the tube
the narrower inward groove surfaces 162, 164 defining 20 42 selected. The angles and groove widths fi.mctionally suf-
groove portion 134. Compression forces F2 act to close the          ficient to cause the groove sidewalls to engage the tube 42
groove 126 as surfaces 162, 164 and the respective sw-faces         within the groove may be readily determined as a function of
128, 130, 136, 138 extending therefrom pivot inwardly about         the diameter of the tube 42 employed.
the radiussed end 142 of the groove portion 140. The angled            From the forgoing, it will be appreciated that the subject
relationship and profile of the surfaces 128, 130 to respective 25 invention provides a bi-directionally peristaltic prnnp for a
counterparts 136, 138 and 162, 164, extending from the              self-inflating tire in which a circular air tube 42 flattens seg-
inward U-shaped groove portion 134, act to close such sur-          ment by segment and closes in the tire footprint 100. The air
faces inward evenly about the circumference of the tube 42          inlet T-device 44 may include a filter 80 and be self-cleaning.
within the groove 126. Accordingly, tl1e compression forces         The outlet T-device 46 employs a va lve unit that may be
F2 transferred into the tube 42 by the surfaces 128, 130, 136, 30 configured as two one-way valves such as, but not limited to,
138 are distributed about the circumference of the tube, caus-      the ball valves 60, 62. The peristaltic pump assembly 14
ing an even and symmetrical flattening of the tube 42. An even      pumps air under rotation of the tire in either direction, one half
and efficient pwnping of evacuated air from the affected tube       ofa revolu tion pumping air to the tire cavity 40 and the other
segment results. The affected segment of the tube 42 that is        halfofa revolution pumping air back out of the inlet device 44
flattened is only that segment within the tire footprint 100. As 35 (filter 80). The peristaltic pwnp assembly 14 may be used
the tire continues lo rotate, as described previously, each         with a secondary tire pressure monitoring system (TPMS)
flattened segment will resume its original configuration as         (not shown) of conventional configuration that serves as a
represented in FIG. 6A as an adjacent segment within the tire       system fault detector. The TPMS may be usl.'Cl to detect any
footprint is flattened.                                             fault in the self-inflation system of the tire assembly and alert
   It will be seen from FIGS. 6A and 68 that the surface pairs 40 the user of such a condition.
128/136 and 130/138 fonn a continuous obtuse-angled sur-               From the foregoing, it will be appreciated that the subject
face along each side of the groove 126, the angled surface at       invention achieves a self-inflating tire assembly 10 including
each side angling away from the center of the groove. The           the rim 16, tire 12; and air tube assembly 14 located within the
angled surface along each side ofthe groove adj oins continu-       tire sidewall groove 126. The air tube 42 is in contacting
ously at intersections 166, 168 witli the sidewalls 162, 164 of 45 engagement with opposite angled groove surfaces (128/136
the U-shaped narrow im1er groove portion. Compressive               and 130/138) surrollllding the air tube 42. The air passageway
forces F2 on the groove 126 causes the angled smfaces               43 of a footp rint segment of the air tube 43 is flattened from an
formed by surface pairs 128/136 and 130/138 to flex inward          expanded diameter to a tlat diameter by compression of the
toward the groove center about the terminal end 170 of the          groove in a rolling tire footprint to force air evacuated from
U-shaped narrow groove portion 140. The spring flexure of 50 the flattened segment along the air passageway 43 .
the angled surfaces about the terminal end 170 clamps the              It will be further noted that each of the surfaces 128, 130,
surface pairs about the circumference of a segment of the tube      136, 138 of the angled groove defining surfaces (128/136 and
42 and causes the segment to flatten inwardly. TI1e spring          130/138) adjoining at an angled intersection and operatively
force applied by the angled surfaces on the flattened groove        contact the air tube 42 at spaced apart intervals surrounding
segment is released when the compressive forces F2 are 55 and substantially circwnscribing the air tube 42. An efficient
removed from the groove 126. At this point, the grooved             and even collapse of the footprint segment of the air tube 42
surfaces formed by adjoining surfaces by the UJbe segment           by convergence of the contacting surfaces is thereby facili -
128/136 and 130/138 flex outwardly to an original ori entation      tated. The first and second angled groove surfaces (128/136
along the sides of the groove 126, releasing the flattened tube     and 130/138) converge and join at an inward terminal groove
segment to reconfigure into a non-flat configuration.            60 end 170 and operatively flex inwardly about the terminal
   FIGS. 7A and 7B show an altematively configured groove           groove end 170 to constrict the sidewall groove 126 and
148 defined between angled adjoining surfaces 150/160 and           flatten a foo tprint segment of the air tube 42 within the groove
152/158. The angled sides of the groove 148 extend to a             126.
terminal end 172 of a radiussed inward portion of the groove           The sidewall groove 126 extends in a radial direction (FIG.
148. The surfaces 150, 152 diverge at an angle~ ofapproxi- 65 6) preferably but not necessarily into an annular, axially
mately sixty degrees tu a mid-sectionufthe tube and converge        extending, sidewall surface such as an axially oriented sur-
at a like angle a to the terminal end 172. FIG. 7A shows the        face 144 of a tire chafer protrusion 120. So located, the tube




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is in non-contacting, separated relationship with the rim 16         groove segment adjacent the tire footprint will commensu-
and protected from potentially damaging contact with the rim         rately cause a bending and flattening of an air tube segment
hy the intervening chafer protrusion 120. Such a location ,          within the bending groove segment, whereby pumping evacu-
while protecting the tube 42, still exposes the groove 126 to        ated air from the flattened air n1be segment along the air n1be
adequate compression forces within the tire footprint. The           passageway. Positioning the groove and air tube within a
compression forces genernled within the lire footprint operate       bending region of the sidewall thus operates to utilize the
to close the groove 126 upon a foo tprint n1be segment within        bending compression slrain within Lhe region tu elfeel a bend-
the groove. Flattening of the footprint tube segment pumps           ing and collapse of the groove segment within the bending
evacuated air along the air passageway 43 to the tire cavity or      region.
to an outlet portal.                                              10
                                                                        Utilizing the bending strain within a bending region of a
   FIGS. 9A and 98 illustrate in schematic representation the
                                                                     sidewall avoids the need to compress the air tube by pinching
placement of the groove and air tube within a tire. As will be
                                                                     the air tube against a relatively hard barrier such as the tire
appn.."Ciated, the sidewalls of a rolling tire generally bend and
undergo a geometric transformation from bending strain               assembly rim. Potential damage to the air tube from contact
introduced into the sidewalls as the tire rolls against a ground 15 with the rim is thus avoided and the structural integrity of the
surface. The bending strain within sidewall regions adjacent         air n1be is preserved throughout the lifo cycle of the tire.
to a tire footprint causes the radius of curvature within certain       Variations in the present invention are possible in light of
such sidewall regions of the sidewalls to bend to a greater          the description of it provided herein. While certain represen-
extent. In a bending region 174 of a sidewall, the region            tative embodiments and details have been shown for the pur-
transfonns from the unstrained configuration shown at 176 20 pose ofillustrating the subject invention, it will be apparent to
into the bending configuration shown at 178. In the bending          those skilled in this art that various changes and modifications
condition, the region 174 will have a neutral axis 180 that is       can be made therein without departing from the scope of the
not under strain; a compression side 182 of the neutral axis         subject invention. It is, therefore, to be understood that
180 of the region 174 that is uncler compression, and an             changes can be made in the particular embodiments described
elongation side of the neutral axis 180 of the region 174 that 25 which will be within the full intended scope of the invention
under elongation. For placement of the groove and air tube, a        as defined by the following appended claims.
bending region of the sidewall is selected that will experience
bending strain when that region is adjacent to the tire foot-           What is claimed is:
print. The compression side 182 of the region 174 is satisfac-          1. A self-inflating tire assembly comprising:
tory for placement of the groove and tube assembly 188 since 30         a rim having a tire mounting surface extending between
a compressionofthe side 182 of the region 174 will cause the                first and second rim flanges;
groove to close around the air tube. To the contrary, the               a tire mounted to the rim tire mounting smface, the tire
elongation side 184 of the region 174 is unsatisfactory for                 having a tire cavity, first and second sidewalls extending
such a side under elongation strain, will cause the groove to               respectively from first and second tire bead regions to a
widen rather than close, and not result in a flattening of the 35           tire tread region;
lube. Placement of the groove am.I Lube <1ssembly 188 should            the first sidew<1ll hav ing al least one bending region opera-
further be placed within the compression side 182 of the                    tively bending within a rolling tire footprint responsive
region 178 at a location farthest removed from the neutral axis             to a bending strain, whereby the bending region in a
180, for such a location will experience the greatest compres-              bending condition within said rolling tire footprint hav-
sion strain. Location oftl1e groove and t11be 188 farthest from 40          ing a bending strain neutral axis, a compression side of
the neutral axis 180 of the selected bending region 174 will                the neutral wne, and an elongation side of the neutral
accordingly expose the groove to maximum closing due to a                   zone;
maximum compression force and bending imposed upon the                  a sidewall groove positioned within the compression side
tire region surrounding the groove. As a result, etncient and               of the neutral axis of the one said bending region of the
complete closing and collapse of the groove will be effected, 45            first tire sidewall:
causing an equally efficient and complete flattening of the air         an air tube positioned within the sidewall groove in con-
tube within the groove.                                                     tacting engagement with opposite groove surfaces at
   FIG. 9B illustrates in schematic fonn three sidewall                     least partially surrounding the air tube, the sidewall
regions of a sidewall that undergo curvature bending trans-                 groove operatively bending within the bending region
formation when adj acent to a tire footprint. The original tire 50          responsive to the bending strain within the rolling tire
shape 190 is shown and configuration 192 is superimposed to                 footprint to compress the air tube from an expanded
show tire defom1ation adjacent to a tire footprint. Three bend-             diameter to a flat diameter adjacent the rolling tire foot-
ing regions 194, 196, 198 (for the purpose of illustration) are             print, whereby forcing evacuated air from a flattened air
identified that will undergo strain-induced radius of curvature             tube segment along the air passageway.
transfonnation adjacent a rolling tire footprint. Other regions 55      2. The tire assembly of claim 1, wherein the air n1 be and the
are available and may be selected for groove and air tube            sidewall groove are located within a sidewall region of the
placement if desired. As shown, bulging of the tire into the         first tire sidewall above an upper boundary of the rim.
configuration 178 causes the regions 194, 196, 198 to bend to           3. The tire assembly of cfoim 2, wherein the groove sur-
a greater extend (i.e. at a reduced radius) than within the          faces contact the air tube and bend within a footprint of a
original configuration 176. Each region 194, 196, 198 will 60 rotating tire to operatively close an air tube segment within
have a neutral, tmstrained axis, a compression side of the axis,     the tire footprint.
and an elongation side of the axis as explained above in                4. 'The tire assembly of claim 3, wherein the air tube com-
reference to FIG. 9A. A groove and tube assembly 200, 202,           prises an annular body extending substantially a circumfer-
or 204 will be positioned to the compression side 182 of the         ence of a tire first sidewall.
region selected, so that the compression of the compression 65          5. The tire assembly of claim 4, wherein the sidewall
si<le 182 will act lo bend and constrict a segment Dflhe groove      groove is annular an<l located proximally above the upper
adjacent to the tire footprint. Bending and constriction of the      boundary of the rim.




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  6. The tire assembly of claim 1, wherein the groove extends     relationship with the rim and the groove extending into the
into an annular, substantially axially extending, sidewall sur-   annular sidewall surface in substantially a radial direction.
face.                                                                17. The tire assembly of claim 1, wherein the sidewall
   7. The tire assembly of claim 6, wherein the arnrnlar side-    groove is positioned within the compression side of the neu-
wall surface comprises a substantially axially oriented sur-      tral axis of the one said bending region of the first tire sidewall
face of a tire chafer prolrusiun lm:ated in non-contacting        at a substantially maximum distance from the neutral axis.
relationship with the rim, the groove extending into the annu-       18. A self-inflating tire assembly comprising:
lar sidewall surface in substantially a radial direction.            a rim having a tire mounting surface extending between
   8. The tire assembly of claim 1, wherein the sidewall                first and second rim flanges;
groove includes a sidewall groove opening operatively sized 10       a tire mounted to the rim tire mounting surface, the tire
to closely admit the air t·ube.                                         having a tire cavity, first and second sidt,•walls extending
   9. The tire assembly of claim 8, wherein substantially the           respectively from first and second tire bead regions to a
entirety of the air tube resides within the sidewall groove.            tire tread region;
   10. The tire assembly of claim 9, wherein first and second        the first sidewall having at least one bending region opera-
angled groove smfaces define opposite sides of the sidewall 15          tively bending within a rolling tire footprint responsive
groove, each angled groove surface comprising first and sec-            to a bending strain, whereby the bending region in a
ond tube contacting surfaces adj oining at an angled intersec-          bending condition within said rolling tire footprint hav-
tion, and wherein the tube contacting surfaces of the first and         ing a bending strain neutral axis, a compression side of
second angled groove smfaces operatively contact the air tube           the neutral zone, and an elongation side of the neutral
at space apart intervals surrounding and substantially circum- 20       zone;
scribing the air tube.                                               a sidewall groove extending into an outward facing side of
   11. The tire assembly of claim 10, wherein the first and             the sidewall and positioned within the compression side
second angled groove surfaces converge and join at an inward            of the neutral axis of the one said bending region of the
terminal groove end and operatively flex inwardly about the             first tire sidewall, the sidewall groove being at least
terminal groove end to constrict the sidewall groove and 25             partially open to the outward facing side of the sidewall ;
flatten a footprint segment oftbe air tube within the groove.        an enclosed air conducting air tube positioned within the
   12. The tire assembly of claim 11, wherein the groove                sidewall groove in contacting engagement with opposite
narrows toward the terminal groove end.                                 groove surfaces at least partially surrounding the air
   13 . The tire assembly of claim 12, wherein an inward                n1be, the sidewall groove operatively bending within the
portion of the groove at the terminal groove end is substan- 30         bending region responsive to the bending strain within
tially U-shaped.                                                        the rolling tire footp rint to compress the air tube between
   14. The tire assembly of claim 13, wherein the first and             the opposite groove smfaces from an expanded diameter
second angled groove surfaces converge toward the inward                to a flat diameter adjacent the rolling tire footprint ,
portion of the groove.                                                  whereby forcing evacuated air from a flattened air tube
   15 . The tire assembly of claim 14, wherein the groove 35            segment along the air passageway.
ex tends into an annular, substantialJy axially extending, side-     19. The tire assembly of claim 18, wherein the sidewall
wall surface.                                                     groove and the air tube therein are recessed within the firsttire
   16. The tire assembly of claim 15, wherein the annular         sidewall outward facing side.
sidewall surface comprises a substantially axially oriented
surface of a tire chafer protrusion located in non-contacting                               * * * * *




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                     CERTIFICATE OF COMPLIANCE

      1.     This brief complies with the type-volume limitation of Circuit Rule

32(b)(1) because it contains 13,579 words.

      2.     This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements to Fed. R. App. P. 32(a)(6) because the

brief has been prepared in 14-point, proportionally-spaced Times New Roman font.



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